Case 2:24-cv-01073-JRG             Document 1     Filed 12/24/24      Page 1 of 347 PageID #: 1




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION


 RADIAN MEMORY SYSTEMS LLC,

                      Plaintiff,

                         v.                               Civil Action No.: 2:24-cv-1073

 SAMSUNG ELECTRONICS CO., LTD.,                           JURY TRIAL DEMANDED
 AND SAMSUNG ELECTRONICS
 AMERICA, INC.,

                  Defendants.



                  PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Radian Memory Systems LLC (“Radian”) files this complaint under

35 U.S.C. § 271 against Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.,

(collectively, “Samsung” or “Defendants”) for infringement of U.S. Patent Nos. 11,544,183 (“the

’183 Patent”); 11,709,772 (“the ’772 Patent”); 11,681,614 (“the ’614 Patent”); 11,740,801 (“the ’801

Patent”); 11,347,657 (“the ’657 Patent”); 11,347,656 (“the ’656 Patent”); and 11,307,995 (“the ’995

Patent”) (each, an “Asserted Patent,” and collectively, the “Asserted Patents”). Radian, on personal

knowledge as to its own acts, and upon information and belief as to all others based on investigation,

alleges as follows:

                                        THE PARTIES

   A. Radian

       1.      Radian Memory Systems LLC (“Radian”) is a Texas limited liability company

having its principal place of business at 6275 West Plano Parkway, Suite 500, Plano, Texas 75093.

Radian is the owner and assignee of patents previously owned by Radian Memory Systems Inc.
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24        Page 2 of 347 PageID #: 2




(“Radian Inc.”).

   B. Samsung

       2.      Defendant Samsung Electronics Co., Ltd. (“SEC”) is a foreign corporation

organized and existing under the laws of the Republic of Korea. SEC has a principal place of

business located at 129 Samsung-ro, Yeongtong-Gu, Suwon-Si, Gyeonggi-Do, 443-742, Republic

of Korea.

       3.      Defendant Samsung Electronics America, Inc. (“SEA”) is a wholly owned

subsidiary corporation of Samsung Electronics Co., Ltd. and is organized and existing under the

laws of New York with a principal place of business at 85 Challenger Road, Ridgefield Park, New

Jersey 07660. Samsung Electronics America, Inc. has offices and other facilities in Texas,

including within this District, at least at 6625 Excellence Way, Plano, Texas 75023; 12100

Samsung Boulevard, Austin, Texas 78754; 1301 E. Lookout Drive, Richardson, Texas 75082,

1000 Klein Road, Plano, Texas 75075; 2601 Preston Road, Suite #1214, Frisco, Texas 75034;

6625 Declaration Way, Plano, Texas 75023; 6105 Tennyson Parkway, Plano, Texas 75203; 1005

Placid Avenue, Suite #120, Plano, Texas 75074; and 6555 Excellence Way, Suite #00100, Plano,

Texas 75023.

       4.      Samsung Electronics America, Inc. may be served through its registered agent for

service of process, CT Corporation System, 1999 Bryan St., Suite. 900, Dallas, Texas 75201.

                    FACTUAL BACKGROUND AND ALLEGATIONS

       5.      Radian presents its claims and allegations herein in conjunction and/or in the

alternative. To the extent that certain claims or allegations may be inconsistent with one another,

such allegations should be understood to be made in the alternative.

       6.      In the interest of providing detailed averments of infringement, Radian has


                                                2
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24     Page 3 of 347 PageID #: 3




identified below at least one claim of each of the Asserted Patents to demonstrate infringement.

However, the selection of claims should not be considered limiting, and additional claims of the

Asserted Patents that are infringed by Samsung will be disclosed in compliance with the Court’s

schedule.

        A. Overview

        7.     Radian Memory Systems pioneered a new paradigm for managing flash storage

media that it called Cooperative Flash Management (“CFM”). The company began research and

development efforts for the technology in 2010 to overcome the inefficiencies of flash translation

layers (or “FTLs”)—the foundation of most flash memory solid-state drive (or flash “SSD”) ever

produced before—while still providing the ease of integration and data center reliability of FTL-

based implementations that had not otherwise been possible. Radian’s innovations have been

adopted and deployed in the industry, including by Samsung.

        8.     At the time of the inventions, next generation data centers needed storage solutions

that were deterministic, had low latency, and were cost-effective. Flash SSDs were a key building

block in realizing this type of storage solution. Flash SSDs at the time were based on a FTL that

provided an abstraction to manage the flash memory and communicate with host systems (e.g., an

operating system on a server). However, the abstraction provided by the FTLs was redundant and

inefficient, so much so that it led to expensive overhead, unpredictable latency spikes, suboptimal

performance, and premature wear-out of the flash media. These drawbacks undermined the

potential for superior performance and cost-savings that could have come from flash SSD solutions

at the time.

        9.     NAND flash memory is a non-volatile media that has specific characteristics and

attributes. Using NAND as part of a storage solution means that those attributes and programming


                                                3
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 4 of 347 PageID #: 4




operations specific to NAND have to be managed. This management was typically performed by

the SSD at the cost of the inefficiencies described above. At the same time, a host had components

like file systems, block virtualization managers, or object/key value stores, that provided the

capabilities to manage storage media. But if the host tried to either program data into or read data

directly from raw NAND flash, it would need significant customization to its own system software

based on the specifics of the SSD hardware that it was attempting to access. That would make the

host dependent on a particular set of SSD hardware or a particular SSD configuration. The host

would also have to expend its own resources to take on lower-level NAND maintenance and

management operations that would otherwise be handled by the SSD.

       10.     Users, such as storage system array suppliers or operators of data centers, were

faced with a dilemma. They could either invest significant time and money into customizing their

host software and SSD hardware to avoid redundancies and inefficiencies from FTLs. But doing

so would then leave them exposed to the SSD hardware becoming obsolete in the future, which

would necessitate a new round of significant resource expenditure to customizing their system

software for the next generation of hardware. The other option was to adapt the host system’s

usage of the SSD storage systems to the “one size fits all” regime dictated by off-the-shelf SSDs.

But as described above, that would cause the overall system to incur significant costs in terms of

inefficiencies and suboptimal performance.

       11.     Against this backdrop, Radian introduced CFM, a type of software-defined flash

(or “SDF”), and its Symphonic-branded CFM implementation. Symphonic abstracted some of the

lower-level flash attributes for the host and provided for a redistribution of host and SSD

responsibilities. This enabled the SSD to avoid the inefficiencies of the conventional FTL while

providing improved quality-of-service, performance, cost, endurance, and data center class

                                                 4
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24     Page 5 of 347 PageID #: 5




product functionalities.

       12.     Radian’s technological innovations provided step-change improvements in SSD

solutions. Radian began to introduce and promote its technology to the industry, including

sponsoring trade shows, hosting exhibit booths, providing technology presentations, and

demonstrations at industry conferences. Radian’s innovations were recognized and praised in the

industry. Major industry publications such as EE Times, The Register, Tom’s Hardware, and CRN

covered these efforts. Radian also won the award for “Most Innovative Technology” at the

industry’s largest conference.

       13.     Eventually, the industry converged on Radian’s solutions. This included industry-

wide non-volatile memory standard specifications, such as the NVM Express Zoned Namespaces

Command Set Specification, that was published with interfaces and commands based on Radian’s

technology and inventions. Despite this, however, Radian itself was cast out by the industry.

Perhaps this was retaliation for Radian’s refusal to join the NVMe industry standard organization

and associated Technical Working Groups, which would have required Radian to give the industry

royalty-free licenses to any of its patents that were practiced by implementations of the standards

specifications. Samsung was a key participant in the industry, serving not only as a member of the

NVMe industry standard organization, but also as a member of the specific Technical Working

Group for the Zoned Namespaces Specification.

       14.     The inventions within Radian’s various innovations are protected by Radian’s

patent portfolio, including the Asserted Patents in this case. Samsung infringes the Asserted

Patents as more fully described below.

       B. Background on Conventional Solid-State Drives (“SSDs”)

       15.     This section provides background on conventional SSDs. While some of these


                                                5
Case 2:24-cv-01073-JRG          Document 1         Filed 12/24/24     Page 6 of 347 PageID #: 6




features appear in the Accused Instrumentalities, not all of them do. In fact, Radian’s inventions

have improved SSDs such that conventional SSD elements, such as FTL tables, and processes,

such as device-level garbage collection can be reduced or eliminated.

        16.     Memory devices are components used in computing systems to store and access

data. A solid-state drive (“SSD”) is a memory device that includes, among other components, a

plurality of flash memory chips where the data is stored. In addition, an SSD contains a memory

controller responsible for managing data access, read/write operations, and communications

between the flash memory and a host. 1

        17.     In the context of data storage, the host is typically a computing device, such as a

computer or server, executing an operating system which accesses and uses the SSD for data

storage and retrieval. 2

        18.     SSDs are a worthwhile upgrade from their traditional mechanical counterparts.

        19.     An SSD will transform your computing experience with its revolutionary random

access speeds, its multi-tasking prowess, and its outstanding durability and reliability.

        20.     A Hard Disk Drive (“HDD”) works by way of a mechanical drive head that must

physically move to access locations on a rapidly spinning magnetic disk.

        21.     An SSD has no moving parts and is therefore capable of accessing any location on

the drive with equally fast speed and precision.




1
  See generally Ex. H, STORAGE NETWORKING INDUSTRY ASS’N, What is an SSD?, available at:
https://www.snia.org/education/what-is-ssd..
2
   Id.; see also Ex. I, SAMSUNG, Samsung Solid State Drive White Paper, available at:
https://download.semiconductor.samsung.com/resources/white-
paper/Samsung_SSD_White_Paper.pdf, at 6, 7, 22, 24, 30 (“Samsung SSD White Paper”).
                                             6
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24     Page 7 of 347 PageID #: 7




       22.        SSDs are over 100 times faster than HDDs in accessing data.

       23.        SSDs deliver consistent performance thanks to their use of integrated circuits

instead of physical spinning platters.

       24.        While rotating disks must wait for spindles, motors, heads, and arms to physically

locate data locations, SSDs can access any location with lightning speed.

       25.        While rotating disks must wait for spindles, motors, heads, and arms to physically

locate data locations, SSDs can access any location without having to wait for movement of

physical parts.

       26.        An SSD benefits from massive latency advantages.

       27.        The ability to access any drive location without a performance penalty means you

can have more applications open at the same time with less lag.

       28.        SSD users also experience dramatic improvements in boot time, shutdown,

application loads, web browsing, application installations, and file copies.

       29.        Fast sequential speeds allow for quick file copies and smoother performance when

working with large files, like videos.

       30.        An SSD can offer up to a 200x improvement in input/output operations per second

(“IOPS”) over a traditional HDD.

       31.        An SSD can withstand more than 40 times the vibration (20G) than an HDD (0.5G)

and up to 1500G of shock (compared to less than 350Gs for a typical HDD).

       32.        The three most crucial components of any SSD are the NAND flash memory, the

controller, and the firmware.

       33.        The NAND flash memory does the critical task of storing data.

       34.        The controller and the firmware work together to accomplish the complex and

                                                  7
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24      Page 8 of 347 PageID #: 8




essential tasks of managing data storage and maintaining the performance and lifespan of the SSD.

        35.     Using the control program contained in the drive firmware, the controller (an

embedded microchip) executes automated signal processing, wear-leveling, error correcting code

(ECC), bad block management, and garbage collection algorithms, communicates with the host

device (e.g. a PC), and facilitates data encryption, among other tasks.

        36.     The controller also performs NAND maintenance such as scrubbing.

        37.     Redundantly stored in NAND flash, the firmware may be updated manually to

improve or extend functionality when the SSD manufacturer releases an update.

        38.     The NAND flash itself is a kind of digital repository, while the controller functions

as the command center for everything the SSD does – from actually reading and writing data to

executing the garbage collection and wear-leveling algorithms that keep the drive clean and

speedy.

        39.     NAND flash memory stores data in an array of memory cells made from floating-

gate transistors.

        40.     Each cell has a finite lifetime, measured in terms of Program/Erase (P/E) cycles

and affected by both process geometry (manufacturing technique) and the number of bits stored in

each cell.

        41.     Data can be written into or read from NAND cells.

        42.     A write request or a write command is a request or command from the host OS to

“write” or program data into the SSD.

        43.     A read request or a read command is a request or command from the host OS to

“read” or access data from the SSD.

        44.     Physical NAND writes are not required to correspond directly to the space the host

                                                  8
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 9 of 347 PageID #: 9




system requests.

       45.     Utilizing a Flash Translation Layer (“FTL”), SSDs implement a logical to physical

mapping system called Logical Block Addressing (“LBA”).

       46.     The SSD assigns a physical address to each LBA written to the SSD by the host.

The LBA can be used to locate the data regardless of the data’s physical location. The FTL

maintains a table containing the mapping of the LBAs to their physical locations in the underlying

NAND.

       47.     FTLs require extra free space in an SSD.

       48.     FTLs often require significant DRAM to support their translation tables.

       49.     FTL tables require extra free space in an SSD.

       50.     The complexity of NAND storage necessitates some extra management processes,

including bad block management, wear leveling, garbage collection (GC), and Error Correcting

Code (ECC), all of which is managed by the device firmware through the SSD controller.

       51.     These management processes include NAND maintenance such as scrubbing.

       52.     The data stored in NAND flash is represented by electrical charges that are stored

in each NAND cell.

       53.     Advanced wear-leveling code ensures that NAND cells wear out evenly (to prevent

early drive failure and maintain consistent performance), while garbage collection algorithms

preemptively prepare fresh storage space (to improve write performance).

       54.     Garbage collection algorithms preemptively prepare fresh storage space to

consolidate valid data and make space for new writes.

       55.     Improved Error-Correcting Code (ECC) is able to detect and recover from errors at

the bit level caused by the natural wear out of individual NAND cells.

                                                9
Case 2:24-cv-01073-JRG             Document 1     Filed 12/24/24     Page 10 of 347 PageID #: 10




         56.     Over-provisioning sets aside a certain portion of a conventional SSD’s capacity

 exclusively to the controller.

         57.     Over-provisioning ensures that the SSD controller always has swap space available

 to accomplish its tasks.

         58.     As a precautionary measure, some vendors choose to pre-set a certain amount of

 mandatory over-provisioning at the factory.

         59.     There is the option to manually set aside additional space for even further improved

 performance (e.g. under demanding workloads).

         60.     The additional free space has the added benefit of providing the controller with

 unused capacity to use as a kind of non-official over-provisioning space.

         61.     Increased SSD capacity leads to increased performance and endurance.

         62.     Flash SSDs are capable of simultaneously accessing multiple NAND dies. This is

 referred to as parallelization.

         63.     NAND can be: single-level cell (“SLC”), which has 1 bit per cell; multi-level cell

 (“MLC”), which has 2 bits per cell; triple-level cell (“TLC”), which has 3 bits per cell; or quad-

 level cell (“QLC”), which has 4 bits per cell.

         64.     MLC offers higher data density than SLC. TLC offers higher data density than

 MLC. QLC offers higher data density than TLC.

         65.     Increasing the number of NAND chips in an SSD allows for more parallelization,

 helping to overcome the inherently slow program times that MLC NAND suffers compared to its

 SLC predecessor.

         66.     Samsung’s fully integrated manufacturing approach means that it has intimate

 knowledge of every nuance of each component of an SSD.

                                                  10
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24      Page 11 of 347 PageID #: 11




        67.     Samsung’s fully-integrated manufacturing approach means that it has intimate

 knowledge of every nuance of each component of its data center and enterprise SSDs.

        68.     In order to ensure that an SSD stays in prime working condition, the SSD controller

 must manage complex performance and lifetime optimization algorithms.

        69.     Data is stored in a unit called a “page,” which is finite in size and can only be

 written to when it is empty.

        70.     Each page belongs to a group of pages collectively known as a “block.”

        71.     In order to write to a page that already contains data, it must first be erased.

        72.     While data is written in pages, it can only be erased in blocks.

        73.     An erase block can also be called an erase unit.

        74.     Hard disks are not subject to the same write/erase limitations that SSDs are – they

 can easily overwrite data in an existing location without erasing it first.

        75.     HDDs can overwrite data in an existing location without erasing it first.

        76.     Since SSD blocks cannot be overwritten, the SSD writes the new data to the next

 available page and simply marks the old data as “invalid.”

        77.     Once a block is full of pages that all contain invalid data, that block is considered

 free and may be erased.

        78.     As an SSD is filled with more and more data, there will naturally be fewer free

 blocks readily available.

        79.     The SSD is then forced to actively consolidate valid data and prepare free blocks

 in order to write new data and perform maintenance.

        80.     This process of moving and consolidating data takes time, which is perceived as

 decreased performance, and requires free space.

                                                   11
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 12 of 347 PageID #: 12




            81.   This process of moving and consolidating data takes time, which results in

 decreased performance, and requires free space.

            82.   This is why over-provisioning, which guarantees a certain amount of free swap

 space to use for garbage collection and other maintenance activities, is so important for SSD

 performance – it allows the garbage collection algorithm to prepare free space in advance through

 data consolidation.

            83.   There are two methods of garbage collection, one that takes place in the background

 (when the SSD sits idle) and one that takes place in the foreground (when the SSD is working with

 data).

            84.   Samsung’s SSDs actively manage data and create free blocks on demand.

            85.   TRIM is an optional command by which the operating system (“OS”) can notify

 the SSD when data is no longer valid.

            86.   TRIM helps to make garbage collection more efficient by preparing invalid data for

 deletion.

            87.   In addition to maintenance at the drive level, the SSD must also perform

 maintenance at the chip level.

            88.   In every NAND cell, each page contains a few extra bytes of extra capacity that the

 SSD controller uses to store a “parity bit.”

            89.   Error-correcting code (“ECC”) uses this parity bit to compensate for other bits that

 may fail during normal operation of the drive.

            90.   When the controller detects a read failure, it will invoke ECC to try and recover

 from it.

            91.   If recovery is not possible, the firmware’s bad block management feature will retire

                                                   12
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 13 of 347 PageID #: 13




 the block and replace it with one of several free “reserved blocks.”

        92.     “Bad blocks” can be made during read, program, or erase operations and are

 actively managed to guarantee expected SSD performance.

        93.     “Bad blocks” can be identified during read, program, or erase operations and are

 actively managed to guarantee expected SSD performance.

        94.     “Bad blocks” can be marked during read, program, or erase operations and are

 actively managed to guarantee expected SSD performance.

        95.     NAND flash memory suffers from the following limitation: each cell has a finite

 lifespan and can only withstand a limited number of program/erase cycles (called “P/E” cycles).

        96.     The specific amount of P/E cycles depends on the process technology (e.g. 27nm,

 21nm, 19 nm, etc.) and on the program mechanism (e.g. SLC, MLC).

        97.     In order to overcome this limitation, the SSD firmware employs a wear-leveling

 algorithm that guarantees that write operations are spread evenly among all NAND cells.

        98.     Using this technique, no single cell should be unduly stressed and prematurely fail.

        99.     If too many cells were to fail, the entire block would have to be retired.

        100.    There are only a limited number of reserved blocks, however, so this event should

 be avoided to prolong overall drive life.

        101.    Maintenance procedures like wear-leveling and garbage collection, which are

 created to deal with the unique properties of NAND flash memory, work together to help ensure

 that an SSD performs well over extended use. Together, these algorithms actually increase write

 activities to the NAND, which reduces overall lifespan.

        102.    The key in designing a great SSD is finding the optimum balance among lifespan,

 performance, and reliability.

                                                 13
Case 2:24-cv-01073-JRG           Document 1         Filed 12/24/24    Page 14 of 347 PageID #: 14




           103.   Samsung’s unique, integrated approach to SSD manufacturing affords it full control

 of every component.

           104.   Over-provisioning, the practice of allocating a specific, permanent amount of free

 space on an SSD, is a widely used method for improving both SSD performance and endurance.

           105.   An SSD controller is responsible for the massive task of managing all data traffic

 and storage for the drive.

           106.   NAND technology’s intrinsic complexities require a lot of extra work behind the

 scenes.

           107.   Each NAND cell has a limited lifespan.

           108.   Each NAND cell can only endure so many data reads/writes before it wears out or

 is no longer usable.

           109.   As NAND process technology advances, the chips themselves become increasingly

 smaller. As they shrink, the chips also become less reliable at holding data.

           110.   As NAND process technology advances, the topology of the chips shrinks,

 allowing for more space on a same-sized chip. As more space is fit into the same-sized chip, the

 chips also become less reliable at holding data.

           111.   Overwriting old data on NAND requires an erase of the entire NAND block (this

 same block may contain other data that is still valid).

           112.   The controller is constantly moving data around to ensure that the cells wear evenly

 and to preemptively prepare “free blocks” to use for future data writes.

           113.   Over-provisioning is a way to set aside a minimum amount of free space,

 inaccessible to the user or the OS, which the SSD controller can utilize as a kind of “work bench.”

           114.   Over-provisioning can also be thought of as a pool, where only a percentage of

                                                    14
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 15 of 347 PageID #: 15




 erase blocks can contain valid data. For instance, the pool may contain 120 erase blocks, but only

 a capacity of 100 erase blocks is advertised to the host, and most of the 120 erase blocks contain

 some valid data at any given moment. As erase blocks go bad, the pool shrinks to less than 120

 erase blocks. Here, the 20 extra erase blocks in the pool over the 100 advertised to the host (20/100

 or 20%) is the overprovisioning ratio.

        115.    A different over-provisioning ratio is recommended by usage applications and

 workload.

        116.    Activities that produce frequent read/write requests, especially random read/writes,

 put extra stress on the SSD, which in turn increases write amplification.

        117.    Write amplification refers to the phenomenon by which physical NAND writes

 outnumber logical write requests from the host.

        118.    Write amplification reflects the number of physical NAND writes for each logical

 write request or command sent by the host. Write amplification occurs because while a host might

 request that a piece of data be stored one time, the underlying SSD might copy (i.e., write) that

 same piece of data multiple times as it is managing the NAND flash, including through processes

 like garbage collection.

        119.    Heavy workloads wear out NAND cells faster, which increases the need for Bad

 Block management so that the controller can retire worn out cells.

        120.    Retiring a NAND cell requires the controller to copy all of the cell’s valid data to a

 new block, taken from a limited number of “reserved” blocks.

        121.    Heavy workloads wear out NAND cells faster, which increases the need for Bad

 Block management so that the controller can retire worn out blocks.

        122.    Retiring a NAND block requires the controller to copy all of the block’s valid data

                                                   15
Case 2:24-cv-01073-JRG          Document 1         Filed 12/24/24    Page 16 of 347 PageID #: 16




 to a new block, taken from a limited number of “reserved” blocks.

        123.    Working in tandem with bad block management, and reducing the need to use it

 altogether, is wear-leveling, which ensures that no single cell is written to more than others.

        124.    Working in tandem with bad block management is wear-leveling, which ensures

 that no single block is written to more than others.

        125.    To ensure free blocks are available, garbage collection algorithms consolidate good

 data and erase blocks of invalid data.

        126.    Over-provisioning helps with garbage collection, wear-leveling and bad block

 management by effectively increasing the size of the controller’s “work bench,” thus giving it

 extra free space to use while it consolidates and moves data or retires worn out cells.

        127.    Over-provisioning helps with garbage collection, wear-leveling and bad block

 management by effectively increasing the size of the controller’s “work bench,” thus giving it

 extra free space to use while it consolidates and moves data or retires worn out blocks.

        128.    Writing data to an SSD is not a simple one-to-one operation. There are complex

 processes taking place behind the scenes at all times.

        129.    Over-provisioning has a direct effect on SSD performance under sustained

 workloads and as the drive is filled with data.

        130.    Guaranteeing free space to accomplish the NAND management tasks like garbage

 collection, wear-leveling, and bad block management means the SSD does not have to waste time

 preparing space on demand, a process that requires additional time as data is copied, erased, and

 recopied.

        131.    An added benefit is that over-provisioning makes all of the SSD maintenance

 procedures more efficient, reducing the write amplification factor (“WAF”) by ensuring there’s

                                                   16
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24    Page 17 of 347 PageID #: 17




 room to work.

        132.     Samsung has complete control of both the NAND and the controller/firmware

 combination.

        133.     Samsung has complete control of both the NAND and the controller/firmware

 combination in its data center and enterprise products.

        134.     Having full control over the NAND, controller and firmware has major implications

 both for performance and reliability.

        135.     Samsung has intimate knowledge of every nuance of the NAND, controller, and

 firmware.

        136.     Samsung has intimate knowledge of every nuance of the NAND, controller, and

 firmware in its data center and enterprise products.

        137.     Samsung controls all of the most crucial design elements of an SSD: NAND,

 Controller, DRAM, and Firmware.

        138.     Samsung controls all of the most crucial design elements of its data center and

 enterprise SSDs: NAND, Controller, DRAM, and Firmware.

        139.     Samsung designs and manufactures every major SSD component.

        140.     Samsung designs and manufactures every major SSD component in its data center

 and enterprise SSDs.

    C. Over-provisioning in Conventional SSDs

        141.     As with the previous section, this section provides background on over-

 provisioning in conventional SSDs. As a result of Radian’s inventions, some of these features or

 elements can be reduced or eliminated such that they do not appear in the Accused

 Instrumentalities.


                                                 17
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 18 of 347 PageID #: 18




        142.      Over-provisioning is the technology that assigns a certain portion of a conventional

 SSD’s capacity exclusively to the controller to allow the SSD to perform garbage collection more

 efficiently, helping to maintain steady state performance (i.e., sustained performance) and extend

 the SSD’s endurance and lifetime.

        143.      The ratio of over-provisioning in conventional SSDs is calculated in percentages

 by dividing the over-provisioning capacity by the user capacity.

        144.      For example, in a total 512 GB SSD, if the over-provisioning is 112 GB and the

 user space is 400 GB, then its over-provisioning ratio is 28% (112 GB / 400 GB).

        145.      A data center operator or a hyperscaler may calculate the ratio of over-provisioning

 in conventional SSDs in percentages by dividing the sum of the over-provisioning capacity at the

 SSD level and the over-provisioning capacity at the data center or hyperscale system level by the

 user capacity.

        146.      For example, using that approach, in a total 512 GB SSD, if the over-provisioning

 is 112 GB at the SSD level, and the over-provisioning is an additional 88 GB at the data center or

 hyperscale system level, and the user space is 400 GB, then its over-provisioning ratio is 39% (200

 GB / 512 GB).

        147.      Under a heavy workload (for example, a server, data center or heavy workload

 client PC applications), a minimum of 6.7% over-provisioning is recommended and over 20% and

 even 50% has been used.

        148.      Activities that produce frequent read/write requests, especially random read/writes,

 put extra stress on the SSD, which in turn increases write amplification (a phenomenon by which

 physical NAND writes outnumber logical write requests from the host).

        149.      Over-provisioning has a direct effect on the SSD's random performance as the drive

                                                   18
Case 2:24-cv-01073-JRG         Document 1         Filed 12/24/24   Page 19 of 347 PageID #: 19




 is filled with data.

         150.    Guaranteeing free space to accomplish the NAND management tasks (garbage

 collection, wear-leveling, bad block management) means the SSD does not have to waste time

 preparing space on demand, a process that requires additional time as data is copied, erased and

 recopied.

         151.    An added benefit is that over-provisioning makes all of the SSD maintenance

 procedures more efficient, reducing the Write Amplification Factor by ensuring there is room to

 work, which improves the SSD’s lifetime.

         152.    An SSD with 20% OP would have a much longer lifetime, and have better

 performance, than an SSD with 10% OP.

         153.    Some SSDs are already over-provisioned by the manufacturer and users cannot

 access or control the over-provisioning ratio.

         154.    Samsung has made SSDs which are already over-provisioned.

         155.    Samsung has made SSDs for which users cannot access or control the pre-set over-

 provisioning ratio.

         156.    Samsung has made SSDs for data centers with an over-provisioning ratio of 6.7%.

         157.    Samsung has made SSDs for data centers with an over-provisioning ratio of 15%.

         158.    Samsung has made SSDs for data centers with an over-provisioning ratio of 20%.

         159.    Samsung has made SSDs for data centers with an over-provisioning ratio of 28%.

         160.    Samsung has made SSDs for data centers with an over-provisioning ratio of 33%.

         161.    Samsung has made SSDs for data centers with an over-provisioning ratio of 35%.

         162.    Samsung has sold SSDs for data centers with an over-provisioning ratio of 6.7%.

         163.    Samsung has sold SSDs for data centers with an over-provisioning ratio of 15%.

                                                  19
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 20 of 347 PageID #: 20




         164.   Samsung has sold SSDs for data centers with an over-provisioning ratio of 20%.

         165.   Samsung has sold SSDs for data centers with an over-provisioning ratio of 28%.

         166.   Samsung has sold SSDs for data centers with an over-provisioning ratio of 33%.

         167.   Samsung has sold SSDs for data centers with an over-provisioning ratio of 35%.

         168.   Samsung has marketed SSDs for data centers with an over-provisioning ratio of

 6.7%.

         169.   Samsung has marketed SSDs for data centers with an over-provisioning ratio of

 15%.

         170.   Samsung has marketed SSDs for data centers with an over-provisioning ratio of

 20%.

         171.   Samsung has marketed SSDs for data centers with an over-provisioning ratio of

 28%.

         172.   Samsung has marketed SSDs for data centers with an over-provisioning ratio of

 33%.

         173.   Samsung has marketed SSDs for data centers with an over-provisioning ratio of

 35%.

    D. Performance Measurements of SSDs

         174.   SSD capacities are marketed in megabytes (“MB”), gigabytes (“GB”), terabytes

 (“TB”), petabytes (“PB”), zetabytes (“ZB”), and so forth. These annotations suggest a capacity

 that is in decimal form (i.e., 10x), such that, for example, 1 MB indicates 1,000,000 bytes (or 106

 bytes). This convention can be used when generally referring to data storage capacity, such as in

 marketing or when describing or discussing SSD capacities in general. When specifying the

 capacities precisely in a technical sense, SSD capacities are denoted as mebibytes (“MiB”),


                                                 20
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24      Page 21 of 347 PageID #: 21




 gibibytes (“GiB”), tebibytes (“TiB”), pebibytes (“PiB”), zebibytes (“ZiB”), and so forth . These

 annotations specify a capacity that is in binary form (i.e., 2x), such that, for example, 1 MiB means

 1,048,576 bytes (or 220 bytes). This convention can be used when precise calculations are

 important.

          175.   Sequential read speeds are reported in megabytes per second (MB/s) and indicate

 how fast the SSD will be at completing tasks like accessing applications using large sequential

 files.

          176.   Sequential read speeds are reported in megabytes per second (MB/s) and indicate

 how fast the SSD will be at completing tasks like accessing large multimedia files, transcoding,

 game level loading, some types of game play, watching and editing video.

          177.   Sequential read is the speed at which the drive can read data from contiguous

 memory spaces.

          178.   Sequential write speeds, also reported in megabytes per second (MB/s), indicate

 how fast the SSD will be at tasks like writing or storing large sequential files.

          179.   Sequential write speeds, also reported in megabytes per second (MB/s), indicate

 how fast the SSD will be at tasks like application installation and document backup.

          180.   Sequential write is the speed at which the drive can write data to contiguous

 memory spaces.

          181.   Random read speeds, reported in input/output operations per second (“IOPS”),

 indicate how fast the SSD will be at completing tasks that read small data structures from random

 locations.

          182.   Random read speeds, reported in input/output operations per second (“IOPS”),

 indicate how fast the SSD will be at completing tasks like antivirus scans, searching for email in

                                                  21
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 22 of 347 PageID #: 22




 Outlook, web browsing, application loading, PC booting, or working in Microsoft Word.

           183.   Random read is the speed at which the drive can read data from non-contiguous

 memory spaces.

           184.   Random write speeds, also reported in IOPS, indicate how fast the drive will be

 able to complete tasks that write small data structures to random locations.

           185.   Random write speeds, also reported in IOPS, indicate how fast the drive will be

 able to complete tasks like downloading email, compressing files, or browsing the web.

           186.   Random write is the speed at which the drive can write data to non-contiguous

 memory spaces.

           187.   Idle time is the period of time when an SSD is not handling requests to read or write

 data.

           188.   Latency is the response time of the SSD, or the time between when you initiate a

 request to read or write data and when the SSD completes the request.

           189.   Latency is the response time of the SSD, or the time between when you initiate a

 request to read or write data and when the SSD starts to complete the request.

           190.   Latency is reported in microseconds (µs) or milliseconds (ms).

           191.   Queue depth/concurrent IOs is the outstanding (pending) number of IO requests

 that must be handled by the drive.

           192.   Queue depth/concurrent IOs is the outstanding (pending) number of IO requests

 that are issued to the drive.

           193.   Bandwidth is the amount of data that can be transferred in a given time.

           194.   Bandwidth is reported in megabytes per second (MB/s) or gigabytes per second

 (GB/s).

                                                   22
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24     Page 23 of 347 PageID #: 23




     E. Zoned Namespaces (“ZNS”)

        195.    In March 2018, at the Open Compute Project (“OCP”) Summit, Microsoft gave a

 presentation titled, “Denali: The Next-Generation High-Density Storage Interface.” This

 presentation discussed the need for improving the efficiency of flash in enterprise and cloud-based

 applications and outlined concepts for a new type of storage interface optimized to do so. With

 this presentation, Microsoft announced Project Denali, which was expected to be a new standard

 for SSDs designed with cloud-based applications in mind, and which would strive to maximize

 flexibility. Led by Microsoft, this OCP initiative led to the creation of a working group within the

 NVM Express (“NVMe”) organization that later developed the ZNS specification.

        196.    In 2020, NVMe introduced the NVMe Zoned Namespace (“ZNS”) Command Set

 Specification. 3 The ZNS Specification describes an architecture for SSDs that divides the memory

 space into distinct zones that are accessible to the host and are to be erased as a whole. 4 It was

 promoted as being able to greatly increase storage efficiency, reduce write amplification, optimize

 read/write performance, and extend the lifespan of an SSD. 5

        197.    The NVM Express Base Specification defines an interface for host software to

 communicate with a non-volatile memory subsystem (NVM subsystem).




 3
   See Ex. J, Matias Bjørling, New NVMe™ Specification Defines Zoned Namespaces (ZNS) as Go-
 To Industry Technology, NVM EXPRESS, available at: https://nvmexpress.org/new-nvmetm-
 specification-defines-zoned-namespaces-zns-as-go-to-industry-technology/; NVM EXPRESS,
 NVMe Zoned Namespaces (ZNS) Command Set Specification, available at
 https://nvmexpress.org/specification/nvme-zoned-namespaces-zns-command-set-specification/.
 4
   See Ex. K, Billy Tallis, The Next Step in SSD Evolution: NVMe Zoned Namespaces Explained,
 available at: https://www.anandtech.com/print/15959/nvme-zoned-namespaces-explained; NVM
 EXPRESS, NVMe Zoned Namespaces (ZNS) Command Set Specification, available at
 https://nvmexpress.org/specification/nvme-zoned-namespaces-zns-command-set-specification/.
 5
   Id.
                                                23
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 24 of 347 PageID #: 24




           198.   The Zoned Namespace Command Set Specification defines additional functionality

 for the Zoned Namespace Command Set.

           199.   The Zoned Namespace Command Set is based on the NVM Command Set (which

 is defined in the NVM Command Set Specification).

           200.   The Command Set Identifier (CSI) value for the Zoned Namespace Command Set

 is 02h.

           201.   A namespace is a set of resources that may be accessed by a host and is defined in

 the NVM Express Base Specification and in the NVM Command Set Specification, as modified

 by the Zoned Namespace Command Set Specification.

           202.   A namespace has an associated namespace identifier that a host uses to access that

 namespace.

           203.   A zoned namespace is a namespace that is associated with the Zoned Namespace

 Command Set.

           204.   A zoned namespace is divided into a set of equally sized zones, which are

 contiguous non-overlapping ranges of logical block addresses.

           205.   Each zone has an associated Zone Descriptor that contains a set of attributes.

           206.   A Zone Management Receive command may be used to retrieve one or more Zone

 Descriptors.

           207.   The host may use the Zone Management Receive command to determine the

 current write pointer for a zone.

           208.   The Zone Management Receive command returns a data buffer that contains

 information about zones. That information includes characteristics of the zone, the state of the

 zone, the capacity of the zone, and other information defined in the Zoned Namespace Command

                                                  24
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24     Page 25 of 347 PageID #: 25




 Set Specification. The host uses this command to determine the current settings for this

 information.

         209.    The Data Pointer field specifies the location of a data buffer where data is

 transferred from.

         210.    The Starting LBA field specifies an LBA in the lowest numbered zone that the Zone

 Receive Action operates on.

         211.    The Zone Management Receive command Zone Receive Action field specifies

 what action to perform.

         212.    The Report Zones action returns the Report Zones data structure.

         213.    The Zone Descriptors of the Report Zones data structure shall: a) report only Zone

 Descriptors of zones for which the ZSLBA value is greater than or equal to the ZSLBA value of

 the zone specified by the SLBA value in the command; b) match the criteria in the Zone Receive

 Action Specific field; and c) be sorted in ascending order by the ZSLBA value of each zone.

         214.    The Extended Report Zones action returns the Extended Report Zones data

 structure.

         215.    The Zone Descriptors and Zone Descriptor Extensions of the Extended Report

 Zones data structure shall: a) report only Zone Descriptors and Zone Descriptor Extensions of

 zones for which the ZSLBA value of is greater than or equal to the ZSLBA value of the zone

 specified by the SLBA value in the command; b) match the criteria in the Zone Receive Action

 Specific field; and c) be sorted in ascending order by the ZSLBA value of each zone.

         216.    Reset Zone Recommended is a Zone Attribute.

         217.    If the Reset Zone Recommended bit is set to “1”, then the controller recommends

 that this zone be reset.

                                                 25
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 26 of 347 PageID #: 26




        218.    Reset Zone Recommended Time Limit is Zone Attribute Information that indicates

 additional information associated with the Reset Zone Recommended attribute for the zone.

        219.    If the Reset Zone Recommended bit is set to “1”, then the value in the Reset Zone

 Recommended Time Limit field selects a field in the I/O Command Set specific Identify

 Namespace data structure for the Zoned Namespace Command Set that indicates amount of time

 before the NVM subsystem may perform a vendor specific action on a zone after the Reset Zone

 Recommended bit is set to “1” in the Zone Attributes field for that zone.

        220.    The Zone Starting Logical Block Address (“ZSLBA”) field contains the 64-bit

 address of the lowest logical block for the zone.

        221.    The Write Pointer field is the logical block address where the next write operation

 for this zone should be issued.

        222.    The Zone Management Send command requests an action on one or more zones.

        223.    The Zone Management Send command with a Zone Send Action of Reset Zone

 sets the write pointer to the ZSLBA for that zone.

    F. Radian’s Innovations

        224.    Radian’s founders began working in 2010 on solutions and technology to solve the

 inefficiencies of flash management in data center storage applications, specifically by reducing

 overhead and write amplification.

        225.    Radian is responsible for the creation and development of Cooperative Flash

 Management (“CFM”), a novel system-driven approach to flash management.

        226.    Previously, flash memory management could be performed via the use of a flash

 translation layer (“FTL”), a system that, while reliable, suffered from general inefficiencies. Later

 developments gave rise to software-defined flash (“SDF”). Basic SDF devices, while configurable


                                                  26
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24      Page 27 of 347 PageID #: 27




 for more efficient operations, require massive development efforts and are significantly more

 complex to integrate and maintain than a FTL SSD implementation.

        227.    CFM, the flash management technology developed by Radian, redistributes flash

 management responsibilities between the host and the device. Based on a revolutionary new SSD

 firmware architecture, host-side capabilities can be leveraged to eliminate redundant functionality,

 such as different levels of space management, and redundant processes such as device-level

 garbage collection, to offer dramatically higher performance and more efficient utilization of flash

 storage.

        228.    Radian frequently presented its innovative approach to the rest of the industry.

        229.    For example, Radian gave a presentation at the Flash Memory Summit on replacing

 the flash translation layer (“FTL”), the conventional approach to managing flash memory, with

 CFM. Among other virtues of CFM, this presentation stressed how CFM provided a “Goldilocks”

 type alternative to the extremes of FTL and “true” SDF, offering the advantages of both without

 their respective downsides.

        230.    Later that year, at the 2015 SNIA Storage Developer Conference (SDC), Radian

 gave a presentation on the integration of CFM in data center or hyperscale systems.

        231.    On August 11, 2015, Radian presented its Symphonic CFM at the Flash Memory

 Summit, where it won Most Innovative Software Technology. At this presentation Radian

 described the advantages and relative trade-offs between different flash management solutions.

        232.    Additionally, on September 21, 2016, Radian gave a presentation on software-

 defined flash, and the utility of CFM, at the SNIA Storage Developer Conference.

        233.    Radian would go on to exhibit at FMS every year from 2015 through 2019.

        234.    On August 14, 2019, Radian submitted an entry again to the Flash Memory Summit

                                                 27
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24     Page 28 of 347 PageID #: 28




 for its Zoned Flash technology. At that conference, Radian gave a presentation on its

 implementation of Zoned Flash, building on the prior success of its Symphonic CFM, and publicly

 demonstrating Zoned Flash operating in a system—an industry first—and under industry standard

 performance benchmark measurements. Radian’s implementation of Zoned Namespaces firmware

 won Most Innovative Technology in the SSD Firmware category at this FMS 2019.

         235.    Soon after, on September 18, 2019, at the SNIA Storage Developer Conference,

 Radian presented its Zoned Flash technology and demonstrated Zoned Flash SSDs operating in

 Dual Port mode and Multi-Drive Volumes—another industry first.

         236.     Radian did not just give presentations, either; it embraced head-to-head

 comparisons between its products and other solutions in the field. Radian also supplied functional

 evaluation units under confidentiality agreements for review and testing by potential customers or

 partners.

         237.    On August 7, 2019, at the Flash Memory Summit, Radian demonstrated a

 benchmark comparison between its RMS-350 NVMe SSD with its Cooperative Zoned Flash

 implementation and a production-released FTL-based NVMe SSD.

         238.    Additionally, in February 2020, Radian provided a live demonstration of IBM’s

 software-defined log-structured array storage management stack using Radian’s Zoned Flash SSD

 for the first time.

         239.    This demonstration proved the benefits of Radian’s technology over existing state-

 of-the-art SSDs. Compared to a near-identical FTL-based SSD with the same configurations, IBM

 Research observed block level improvements of 3x in throughput, 50x in tail latencies, and an

 estimated 3x improvement in wear out, as well as system-level improvements of 65% in

 transactions per second (“tps”), over 22x in tail latencies, and an estimated 3x improvement in

                                                 28
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24      Page 29 of 347 PageID #: 29




 wear out.

        240.     However, Radian’s advances in the field were also not confined to one-off

 demonstrations.

        241.     On July 21, 2020, Radian announced that, in an industry first, it had integrated its

 RMS-350 U.2 Zoned Flash SSD with the Storage Performance Development Kit (SPDK), a set of

 tools and libraries for writing high-performance storage applications. At the same time, Radian

 announced that it had successfully qualified the RMS-350 under the JESD218 testing

 requirements.

        242.     On September 2, 2020, Radian announced that its RMS-350 ZNS SSD passed

 compliance testing with a third-party test suite for the NVMe ZNS Command Set, the first in the

 industry to do so, and merely months after the first working draft of the ZNS specification was

 released by NVMe.

        243.     This was despite the fact that Radian was never provided with a working draft of

 the ZNS specification prior to the publication of the final specification.

    G. Radian and Samsung

        244.     Radian first reached out to Samsung in 2015 to discuss its patented-protected

 technology.

        245.     Since 2015, Radian has discussed its technology with a number of individuals at

 Samsung.

        246.     At the August 2015 Flash Memory Summit, Radian gave a presentation titled,

 “Replacing the FTL with Cooperative Flash Management.”

        247.     Conference participants attended Radian’s presentation at the August 2015 Flash

 Memory Summit.


                                                  29
Case 2:24-cv-01073-JRG        Document 1      Filed 12/24/24     Page 30 of 347 PageID #: 30




        248.   Conference participants visited Radian’s exhibit booth at the August 2015 Flash

 Memory Summit.

        249.   Conference participants spoke and interacted with Radian representatives at the

 August 2015 Flash Memory Summit.

        250.   Samsung employees attended the August 2015 Flash Memory Summit.

        251.   Samsung employees who attended the August 2015 Flash Memory Summit did so

 within the scope of their employment at Samsung.

        252.   At the September 2015 SNIA Storage Developer Conference, Radian gave a

 presentation titled, “Integrating Cooperative Flash Management with SMR Technology for

 Optimized Tiering in Hybrid Systems.”

        253.   Conference participants attended Radian’s presentation at the September 2015

 SNIA Storage Developer Conference.

        254.   Conference participants visited Radian’s exhibit booth at the September 2015 SNIA

 Storage Developer Conference.

        255.   Conference participants spoke and interacted with Radian representatives at the

 September 2015 SNIA Storage Developer Conference.

        256.   Samsung employees attended the September 2015 SNIA Storage Developer

 Conference.

        257.   Samsung employees who attended the September 2015 SNIA Storage Developer

 Conference did so within the scope of their employment at Samsung.

        258.   At the September 2016 SNIA Storage Developer Conference, Radian gave a

 presentation titled, “Software-Defined Flash: Trade-Offs of FTL, Open-Channel, and Cooperative

 Flash Management.”

                                              30
Case 2:24-cv-01073-JRG       Document 1       Filed 12/24/24     Page 31 of 347 PageID #: 31




        259.   Conference participants attended Radian’s presentation at the September 2016

 SNIA Storage Developer Conference.

        260.   Conference participants visited Radian’s exhibit booth at the September 2016 SNIA

 Storage Developer Conference.

        261.   Conference participants spoke and interacted with Radian representatives at the

 September 2016 SNIA Storage Developer Conference.

        262.   Samsung employees attended the September 2016 SNIA Storage Developer

 Conference.

        263.   Samsung employees who attended the September 2016 SNIA Storage Developer

 Conference did so within the scope of their employment at Samsung.

        264.   At the August 2019 Flash Memory Summit, Radian gave a presentation titled, “Fast

 Integration and Furious Performance with Zoned Flash Drives.”

        265.   Conference participants attended Radian’s presentation at the August 2019 Flash

 Memory Summit.

        266.   Conference participants visited Radian’s exhibit booth at the August 2019 Flash

 Memory Summit.

        267.   Conference participants spoke and interacted with Radian representatives at the

 August 2019 Flash Memory Summit.

        268.   Samsung employees attended the August 2019 Flash Memory Summit.

        269.   Samsung employees who attended the August 2019 Flash Memory Summit did so

 within the scope of their employment at Samsung.

        270.   At the September 2019 SNIA Storage Developer Conference, Radian gave a

 presentation titled, “Zoned Flash SSDs in Advanced Storage Systems.”

                                              31
Case 2:24-cv-01073-JRG       Document 1       Filed 12/24/24     Page 32 of 347 PageID #: 32




        271.   Conference participants attended Radian’s presentation at the September 2019

 SNIA Storage Developer Conference.

        272.   Conference participants visited Radian’s exhibit booth at the September 2019 SNIA

 Storage Developer Conference.

        273.   Conference participants spoke and interacted with Radian representatives at the

 September 2019 SNIA Storage Developer Conference.

        274.   Samsung employees attended the September 2019 SNIA Storage Developer

 Conference.

        275.   Samsung employees who attended the September 2019 SNIA Storage Developer

 Conference did so within the scope of their employment at Samsung.

        276.   Samsung is a member of the NVM Express (“NVMe”) organization.

        277.   Samsung is a Promoter-level member of NVMe.

        278.   In NVMe, the Promoter level of membership is the top tier of membership.

        279.   Samsung employees represent Samsung at NVMe meetings.

        280.   When Samsung employees attend NVMe meetings, they do so within the scope of

 their employment at Samsung.

        281.   Samsung employees collaborate with employees of other companies that are

 members of NVMe.

        282.   When Samsung employees collaborate with employees of other companies that are

 members of NVMe, they do so within the scope of their employment at Samsung.

        283.   Samsung first learned of Radian in 2010.

        284.   Samsung was a member of NVMe at the time it learned of Radian.

        285.   Samsung became a member of NVMe after it learned of Radian.

                                              32
Case 2:24-cv-01073-JRG        Document 1       Filed 12/24/24   Page 33 of 347 PageID #: 33




        286.   Samsung was a member of NVMe when ZNS specification was first published.

        287.   Samsung employees were authors on the ZNS specification.

        288.   When Samsung employees authored portions of the ZNS specification, they did so

 within the scope of their employment at Samsung.

        289.   Samsung employees contributed material to the ZNS specification.

        290.   When Samsung employees contributed material to the ZNS specification, they did

 so within the scope of their employment at Samsung.

        291.   Samsung employees contributed materials to the ZNS specification after Samsung

 learned about Radian.

        292.   When Samsung employees contributed materials to the ZNS specification after

 Samsung learned about Radian, they did so within the scope of their employment.

        293.   Samsung employees contributed materials to the ZNS specification after Samsung

 learned about Radian’s technology.

        294.   When Samsung employees contributed materials to the ZNS specification after

 Samsung learned about Radian’s technology, they did so within the scope of their employment.

        295.   Samsung employees contributed materials to the ZNS specification after Samsung

 learned about Radian’s patented technology.

        296.   When Samsung employees contributed materials to the ZNS specification after

 Samsung learned about Radian’s patented technology, they did so within the scope of their

 employment.

        297.   Employees of companies that were NVMe members tried to pressure Radian to

 become a member of NVMe.

        298.   Executives of companies that were NVMe members tried to pressure Radian to

                                               33
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24      Page 34 of 347 PageID #: 34




 become a member of NVMe.

        299.    NVMe requires that, effective upon NVMe’s adoption of a final specification, its

 members grant to each other member a non-exclusive, non-transeferable, non-sublicensable,

 world-wide license in, to, and under any of that member’s patent claims that are necessary to

 implement a compliant portion of that specification. Members are also required to grant this license

 on a royalty free basis.

        300.    NVMe’s policies state that, effective upon NVMe’s adoption of a final

 specification, its members must grant to each other member a non-exclusive, non-transeferable,

 non-sublicensable, world-wide license in, to, and under any of that member’s patent claims that

 are necessary to implement a compliant portion of that specification. NVMe’s policies also state

 that members must grant this license on a royalty free basis.

        301.    NVMe did not provide Radian with any working drafts of the ZNS specification

 before it was publicly released.

        302.    Radian developed a ZNS SSD before any NVMe member company did.

        303.    Samsung knew that Radian developed a ZNS SSD before any NVMe Member

 company did.

        304.    Radian developed an SSD that complied with the ZNS specification before any

 NVMe Member company did.

        305.    Samsung knew that Radian developed an SSD that complied with the ZNS

 specification before any NVMe Member company did.

        306.    Radian developed an SSD that was certified by an independent lab as complying

 with the ZNS specification before any NVMe Member company did.

        307.    Samsung knew that Radian developed an SSD that was certified by an independent

                                                 34
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24        Page 35 of 347 PageID #: 35




 lab as complying with the ZNS specification before any NVMe Member company did.

        308.    Radian developed a ZNS SSD before Samsung did.

        309.    Samsung knew that Radian developed a ZNS SSD before Samsung did.

        310.    Radian developed an SSD that complied with the ZNS specification before

 Samsung did.

        311.    Samsung knew that Radian developed an SSD that complied with the ZNS

 specification before Samsung did.

        312.    Radian developed an SSD that was certified by an independent lab as complying

 with the ZNS specification before Samsung did.

        313.    Samsung knew that Radian developed an SSD that was certified by an independent

 lab as complying with the ZNS specification before Samsung did.

        314.    Radian is not a member of the NVMe.

        315.    Radian has never been a member of NVMe.

        316.    Samsung has not taken a license to practice Radian’s patents.

        317.    Samsung has no implied license to practice Radian’s patents.

        318.    Samsung has no right to practice Radian’s patents.

        319.    Samsung has no authority to practice Radian’s patents.

    H. Samsung and ZNS

        320.    On June 2, 2021, Samsung issued a press release announcing the debut of the




                                                35
Case 2:24-cv-01073-JRG        Document 1         Filed 12/24/24   Page 36 of 347 PageID #: 36




 PM1731a, its first ZNS SSD. 6

        321.   In the press release, Samsung included quotes from Dr. Sangyeun Cho.

        322.   Dr. Cho was the Senior Vice President of the Memory Software Development Team

 at Samsung Electronics.

        323.   According to Samsung, this new SSD leveraging ZNS technology “will maximize

 available user capacity and offer an extended lifespan in storage server, data center and cloud

 environments.” 7

        324.   In its press release, Samsung also discussed the main benefits of ZNS, which

 include achieving a write amplification factor close to 1, enabling the device to last up to four

 times longer than conventional NVMe SSDs, and eliminating the need for overprovisioning to free

 up more memory space for data storage. 8

        325.   Samsung engaged in a joint effort with Western Digital to establish the Zoned

 Storage Technical Work Group in December 2021, and signed a memorandum with Western

 Digital in March 2022 for a collaboration to standardize and drive the adoption of Zoned Storage

 solutions, which include ZNS SSD solutions. 9




 6
   See Ex. L, SAMSUNG, Samsung Introduces Its First ZNS SSD With Maximized User Capacity
 and Enhanced Lifespan, available at: https://semiconductor.samsung.com/news-
 events/news/samsung-introduces-its-first-zns-ssd-with-maximized-user-capacity-and-enhanced-
 lifespan/.
 7
   Id.
 8
   Id.
 9
   See Ex. M, SAMSUNG, Samsung and Western Digital Begin Far-Reaching Collaboration To
 Drive Standardization of Next-generation Storage Technologies for Broader Ecosystem Support
 and Customer Adoption, available at: https://news.samsung.com/global/samsung-and-western-
 digital-begin-far-reaching-collaboration-to-drive-standardization-of-next-generation-storage-
 technologies-for-broader-ecosystem-support-and-customer-adoption
                                                 36
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24     Page 37 of 347 PageID #: 37




        326.    Samsung has also been promoting the ZNS technology in industry meetings. For

 example, during the September 2020 SNIA Storage Developer Conference, Samsung’s principal

 software engineer Javier González and staff engineer Kanchan Joshi gave a presentation on behalf

 of Samsung explaining ZNS and its use cases. 10 In the same year, in another industry conference

 called Open Compute Project, Javier González gave another presentation that introduced the

 benefits of ZNS on behalf of Samsung. 11 During the 2022 SDC, Samsung gave a presentation

 titled, “A New Adapter for Zoned Namespace SSDs” through its engineer Hui Qi. 12 In that

 meeting, Samsung explained the benefits of ZNS by comparing a ZNS SSD with a conventional

 SSD, and called for efforts to “build[] ZNS ecosystem together.” 13

        327.    Samsung has incorporated ZNS technology into a significant portion of its SSD

 products (the “Accused Instrumentalities”). Samsung’s Accused Instrumentalities include the




 10
    Ex. N, Samsung, ZNS: Enabling In-place Updates and Transparent High Queue-depths,
 STORAGE NETWORKING INDUSTRY ASS’N, available at:
 https://snia.org/sites/default/files/SDC/2020/050-Gonz%C3%A1lez-Joshi-ZNS-Enabling-In-
 place-Updates.pdf
 11
    Ex. O, Sched, Zoned Namespaces: From Archival to I/O Predictability - presented by
 Samsung, available at: https://2020ocpvirtualsummit.sched.com/event/bYb0/on-demand-zoned-
 namespaces-from-archival-to-io-predictability-presented-by-samsung.
 12
    Ex. P, Hui Qi, A New Adapter for Zoned Namespace SSDs, available at:
 https://www.sniadeveloper.org/sites/default/files/SDC/2022/pdfs/SNIA-SDC22-Hui-A-New-
 Adapter-for-ZNS-SSD.pdf
 13
    Id.
                                                 37
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24     Page 38 of 347 PageID #: 38




 PM1731a, PM1733,14 PM1735, 15 PM9731a, 16 and PB SSD 17 products, as well as other Samsung

 SSD products that implement ZNS, including any products rebranded for other companies or made

 directly for partners or other companies under a white label or private label. 18 Additionally,

 Accused Instrumentalities include other Samsung SSD products that implement functionalities

 substantially similar to those in ZNS, even if not marketed as a ZNS SSD or an SSD that

 implements ZNS or complies with the ZNS specification.

        328.      The Accused Instrumentalities make use of commands defined in a NVMe

 specification.

        329.      The Accused Instrumentalities receive commands defined in a NVMe specification.

        330.      The Accused Instrumentalities respond to commands defined in a NVMe

 specification.

        331.      The Accused Instrumentalities are capable of using commands defined in a NVMe




 14
     See Ex. Q, SAMSUNG, Samsung PM1733 NVMe SSD Product Brief, available at:
 https://download.semiconductor.samsung.com/resources/brochure/PM1733%20NVMe%20SSD.
 pdf (the “Samsung PM1733 Product Brief”).
 15
    Samsung markets the PM1735 with the PM1733. See Ex. R, SAMSUNG, PM1733/PM1735
 Enterprise SSD, available at: https://semiconductor.samsung.com/us/ssd/enterprise-ssd/pm1733-
 pm1735/.
 16
    See Ex. S, Jonghyeok Park, VLDB Lab ZNS Guide Samsung ZNS SSD, GITHUB, available at:
 https://github.com/JonghyeokPark/ZNS.
 17
    See Ex. T, Patrick Kennedy, Samsung PB SSD at 128TB for 60PB All-flash Racks, available at:
 https://www.servethehome.com/samsung-pb-ssd-at-128tb-for-60pb-all-flash-racks-intel-inspur/;
 https://semiconductor.samsung.com/emea/news-events/tech-blog/samsung-electronics-presents-
 next-generation-memory-solutions-to-settle-challenges-in-the-big-data-era-at-fms-2022/
 (describing PB SSD and other products being presented at the 2022 Flash Memory Summit).
 18
    See, e.g., Ex. U, SUPPLY SERVER, HPE PM1733 P16456-002 SSD 3.84 TB PCIe 4.0 x4 (NVMe)
 Refurbished,            available        at:         https://www.serversupply.com/SSD%20W-
 TRAY/NVMe/3.84TB/HPE/P16456-002_348219.htm;                            see               also
 https://smrc.biz.samsung.com/about-us (describing partners such as NetApp in relation to ZNS
 SSDs).
                                               38
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24     Page 39 of 347 PageID #: 39




 specification.

        332.      The Accused Instrumentalities are capable of receiving commands defined in a

 NVMe specification.

        333.      The Accused Instrumentalities are capable of responding to commands defined in

 a NVMe specification.

        334.      The Accused Instrumentalities make use of Identify commands.

        335.      The Accused Instrumentalities receive Identify commands.

        336.      The Accused Instrumentalities respond to Identify commands.

        337.      The Accused Instrumentalities are capable of using Identify commands.

        338.      The Accused Instrumentalities are capable of receiving Identify commands.

        339.      The Accused Instrumentalities are capable of responding to Identify commands.

        340.      The Accused Instrumentalities make use of Write commands.

        341.      The Accused Instrumentalities receive Write commands.

        342.      The Accused Instrumentalities respond to Write commands.

        343.      The Accused Instrumentalities are capable of using Write commands.

        344.      The Accused Instrumentalities are capable of receiving Write commands.

        345.      The Accused Instrumentalities are capable of responding to Write commands.

        346.      The Accused Instrumentalities make use of Read commands.

        347.      The Accused Instrumentalities receive Read commands.

        348.      The Accused Instrumentalities respond to Read commands.

        349.      The Accused Instrumentalities are capable of using Read commands.

        350.      The Accused Instrumentalities are capable of receiving Read commands.

        351.      The Accused Instrumentalities are capable of responding to Read commands.

                                                 39
Case 2:24-cv-01073-JRG      Document 1      Filed 12/24/24    Page 40 of 347 PageID #: 40




       352.   The Accused Instrumentalities make use of Zone Management Receive commands.

       353.   The Accused Instrumentalities receive Zone Management Receive commands.

       354.   The Accused Instrumentalities respond to Zone Management Receive commands.

       355.   The Accused Instrumentalities are capable of using Zone Management Receive

 commands.

       356.   The Accused Instrumentalities are capable of receiving Zone Management Receive

 commands.

       357.   The Accused Instrumentalities are capable of responding to Zone Management

 Receive commands.

       358.   The Accused Instrumentalities make use of Zone Management Send commands.

       359.   The Accused Instrumentalities receive Zone Management Send commands.

       360.   The Accused Instrumentalities respond to Zone Management Send commands.

       361.   The Accused Instrumentalities are capable of using Zone Management Send

 commands.

       362.   The Accused Instrumentalities are capable of receiving Zone Management Send

 commands.

       363.   The Accused Instrumentalities make use of Zone Append commands.

       364.   The Accused Instrumentalities receive Zone Append commands.

       365.   The Accused Instrumentalities respond to Zone Append commands.

       366.   The Accused Instrumentalities are capable of using Zone Append commands.

       367.   The Accused Instrumentalities are capable of receiving Zone Append commands.

       368.   The Accused Instrumentalities are capable of responding to Zone Append

 commands.

                                            40
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 41 of 347 PageID #: 41




        369.    The Accused Instrumentalities make use of Report Zones data structures.

        370.    The Accused Instrumentalities send Report Zones data structures.

        371.    The Accused Instrumentalities are capable of using Report Zones data structures.

        372.    The Accused Instrumentalities are capable of sending Report Zones data structures.

        373.    The Accused Instrumentalities perform Reset Zone.

        374.    The Accused Instrumentalities are capable of performing Reset Zone.

        375.    The Accused Instrumentalities erase the erase units (or erase blocks) in a zone.

        376.    The Accused Instrumentalities are capable of erasing the erase units (or erase

 blocks) in a zone.

        377.    The Accused Instrumentalities update the write pointer in a zone.

        378.    The Accused Instrumentalities are capable of updating the write pointer in a zone.

        379.    The Accused Instrumentalities transition the state of a zone.

        380.    The Accused Instrumentalities are capable of transitioning the state of a zone.

    I. Radian’s Prevalence in Samsung’s Patent Prosecution

        381.    Radian patent applications, patent application publications, and issued patents have

 been cited in the prosecution of numerous Samsung patent applications, including both citations

 by examiners against Samsung as well as being identified and cited by Samsung itself.

        382.    USPTO examiners have cited a Radian patent application, patent application

 publication, or issued patent against multiple Samsung patent applications.

        383.    Samsung has cited a Radian patent application, patent application publication, or

 issued patent in the prosecution of multiple Samsung patent applications.

        384.    On February 29, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/055,689 (“Samsung’s ’689 Application”), entitled “Storage device and operating method of


                                                 41
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24     Page 42 of 347 PageID #: 42




 storage device,” which issued on April 16, 2019, as U.S. Pat. No. 10,261,697 (“Samsung’s ’697

 Patent”).

        385.    During the prosecution of Samsung’s ’697 Patent, the examiner cited Radian’s U.S.

 Pat. No. 9,652,376 (“Radian’s ’376 Patent”) against Samsung’s ’689 Application.

        386.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’689 Application.

        387.    On April 5, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/090,799 (“Samsung’s ’799 Application”), entitled “Heuristic interface for enabling a computer

 device to utilize data property-based data placement inside a nonvolatile memory device,” which

 issued on December 17, 2019, as U.S. Pat. No. 10,509,770 (“Samsung’s ’770 Patent”).

        388.    During the prosecution of Samsung’s ’770 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s U.S. Pat. Pub. No. 2014/0215129 (“the ’129 Publication”), which was the published

 application of Radian’s U.S. Pat. App. No. 13/767,723 (“the ’723 Application”), which later issued

 as Radian’s ’376 Patent.

        389.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        390.    On May 2, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/144,588 (“Samsung’s ’588 Application”), entitled “Data property-based data placement in a

 nonvolatile memory device,” which issued on October 4, 2022, as U.S. Pat. No. 11,461,010

 (“Samsung’s ’010 Patent”).

        391.    During the prosecution of Samsung’s ’010 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

        392.    Radian’s ’129 Publication was the published application of Radian’s ’723

                                                42
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24     Page 43 of 347 PageID #: 43




 Application, which later issued as Radian’s ’376 Patent.

        393.     The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        394.     On November 4, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/344,422 (“Samsung’s ’422 Application”), entitled “Smart I/O stream detection based on

 multiple attributes,” which issued on May 7, 2019, as U.S. Pat. No. 10,282,324 (“Samsung’s ’324

 Patent”).

        395.     During the prosecution of Samsung’s ’324 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’376 Patent.

        396.     The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

        397.     On April 4, 2020, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 16/844,995 (“Samsung’s ’995 Application”), entitled “Self-configuring SSD multi-protocol

 support in host-less environment,” which issued on May 14, 2024, as U.S. Pat. No. 11,983,138

 (“Samsung’s ’138 Patent”).

        398.     During the prosecution of Samsung’s ’138 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s U.S. Pat. No. 9,400,749 (“the ’749 Patent”).

        399.     Radian’s ’749 Patent, which was cited by Samsung Electronics Co., Ltd. is a

 continuation of Radian’s ’376 Patent, from which the ’183 Patent asserted by Radian in this action

 is descended.

        400.     On October 27, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/336,772 (“Samsung’s ’772 Application”), entitled “IO redirection methods with cost

 estimation.” The ’772 Application was published on May 4, 2017, as U.S. Pat. Pub. No.

                                                 43
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 44 of 347 PageID #: 44




 2017/0123700, and was ultimately abandoned.

        401.    During the prosecution of Samsung’s ’772 Application, Samsung Electronics Co.,

 Ltd. cited Radian’s ’376 Patent.

        402.    During the prosecution of Samsung’s ’772 Application, Samsung Electronics Co.,

 Ltd. also cited Radian’s U.S. Pat. No. 9,229,854 (“the ’854 Patent”).

        403.    Radian’s ’854 Patent, which was cited by Samsung Electronics Co., Ltd. is a

 descendant of Radian’s ’376 Patent.

        404.    The ’183 Patent asserted by Radian in this action is also a descendant of Radian’s

 ’376 Patent, which was also cited by Samsung Electronics Co., Ltd.

        405.    On February 17, 2017, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/046,435 (“Samsung’s ’435 Application”), entitled “Coordinated garbage collection of flash

 devices in a distributed storage system,” which issued on April 9, 2019, as U.S. Pat. No.

 10,254,998 (“Samsung’s ’998 Patent”).

        406.    During the prosecution of Samsung’s ’998 Patent, the examiner cited Radian’s ’129

 Publication and Radian’s ’854 Patent against Samsung’s ’435 Application.

        407.    Radian’s ’129 Publication was the published application of Radian’s ’376 Patent,

 and Radian’s ’854 Patent, which was cited against Samsung Electronics Co., Ltd., is a continuation

 of Radian’s ’376 Patent.

        408.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was also cited against Samsung’s ’435 Application.

        409.    On January 19, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/001,217 (“Samsung’s ’217 Application”), entitled “Mitigating GC effect in a raid

 configuration,” which issued on October 31, 2017, as U.S. Pat. No. 9,804,787 (“Samsung’s ’787

                                                44
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 45 of 347 PageID #: 45




 Patent”).

           410.   During the prosecution of Samsung’s ’787 Patent, the examiner cited Radian’s ’129

 Publication and Radian’s ’854 Patent.

           411.   Radian’s ’129 Publication, which was cited against Samsung’s ’435 Application,

 was the published application of Radian’s ’376 Patent.

           412.   Radian’s ’854 Patent, which was cited against Samsung’s ’435 Application, is a

 continuation of Radian’s ’376 Patent.

           413.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited against Samsung’s ’435 Application.

           414.   On November 20, 2015, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 14/947,931 (“Samsung’s ’931 Application”), entitled “Distributed multimode storage

 management,” which issued on April 17, 2018, as U.S. Pat. No. 9,946,642 (“Samsung’s ’642

 Patent”).

           415.   During the prosecution of Samsung’s ’642 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s U.S. Pat. Pub. No. 2014/0365719 (“the ’719 Publication”).

           416.   Radian’s ’719 Publication, which was cited by Samsung Electronics Co., Ltd., was

 the published application of Radian’s U.S. Pat. App. No. 14/466,167, which issued as Radian’s

 ’454 Patent.

           417.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’454

 Patent.

           418.   On November 13, 2015, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 14/941,512 (“Samsung’s ’512 Application”), entitled “Multimode storage management system,”

 which issued on June 4, 2018, as U.S. Pat. No. 9,990,304 (“Samsung’s ’304 Patent”).

                                                  45
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 46 of 347 PageID #: 46




           419.   During the prosecution of Samsung’s ’304 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’719 Publication.

           420.   Radian’s ’719 Publication issued as Radian’s ’454 Patent.

           421.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’454

 Patent.

           422.   On November 13, 2015, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 14/941,517 (“Samsung’s ’517 Application”), entitled “Selective underlying exposure storage

 mapping,” which issued on June 12, 2018, as U.S. Pat. No. 9,996,473 (“Samsung’s ’473 Patent”).

           423.   During the prosecution of Samsung’s ’473 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’719 Publication.

           424.   Radian’s ’719 Publication issued as Radian’s ’454 Patent.

           425.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’454

 Patent.

           426.   On November 13, 2015, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 14/941,525 (“Samsung’s ’525 Application”), entitled “Multimode storage device,” which issued

 on April 10, 2018, as U.S. Pat. No. 9,940,028 (“Samsung’s ’028 Patent”).

           427.   During prosecution of Samsung’s ’028 Patent, Samsung Electronics Co., Ltd. cited

 Radian’s ’719 Publication.

           428.   Radian’s ’719 Publication issued as Radian’s ’454 Patent.

           429.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’454

 Patent.

           430.   On December 28, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/392,353 (“Samsung’s ’353 Application”), entitled “Storage device including nonvolatile

                                                  46
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24     Page 47 of 347 PageID #: 47




 memory device and controller, operating method of storage device, and method for accessing

 storage device,” which issued on March 12, 2019, as U.S. Pat. No. 10,229,051 (“Samsung’s ’051

 Patent”).

        431.   During the prosecution of Samsung’s ’051 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

        432.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

        433.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        434.   On May 10, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/151,470 (“Samsung’s ’470 Application”), entitled “User configurable passive background

 operation,” which issued on September 10, 2019, as U.S. Pat. No. 10,409,719 (“Samsung’s ’719

 Patent”).

        435.   During the prosecution of Samsung’s ’719 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

        436.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

        437.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        438.   On June 17, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/186,250 (“Samsung’s ’250 Application”), entitled “Mechanism for SSDs to efficiently manage

 background activity with notify,” which issued on October 23, 2018, as U.S. Pat. No. 10,108,450

 (“Samsung’s ’450 Patent”).

                                                47
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24     Page 48 of 347 PageID #: 48




        439.   During the prosecution of Samsung’s ’450 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

        440.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

        441.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        442.   On August 19, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/242,433 (“Samsung’s ’433 Application”), entitled “Morphic storage device,” which issued on

 August 21, 2018, as U.S. Pat. No. 10,055,159 (“Samsung’s ’159 Patent”).

        443.   During the prosecution of Samsung’s ’159 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

        444.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

        445.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        446.   On August 2, 2018, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 16/053,686 (“Samsung’s ’686 Application”), entitled “Morphic storage device,” which issued on

 November 26, 2019, as U.S. Pat. No. 10,489,076 (“Samsung’s ’076 Patent”).

        447.   During the prosecution of Samsung’s ’076 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

        448.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

        449.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

                                                48
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24    Page 49 of 347 PageID #: 49




 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        450.      On January 20, 2017, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/411,962 (“Samsung’s ’962 Application”), entitled “Multi-mode NVMe over fabrics devices,”

 which issued on August 6, 2019 as U.S. Pat. No. 10,372,659 (“Samsung’s ’659 Patent”).

        451.      During the prosecution of Samsung’s ’659 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’749 Patent.

        452.      Radian’s ’749 Patent, which was cited by Samsung Electronics Co., Ltd. is a

 continuation of Radian’s ’376 Patent, from which the ’183 Patent asserted by Radian is descended.

        453.      On November 7, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/345,509 (“Samsung’s ’509 Application”), entitled “Self-configuring baseboard management

 controller (BMC),” which issued on October 4, 2022, as U.S. Pat. No. 11,461,258 (“Samsung’s

 ’258 Patent”).

        454.      During the prosecution of Samsung’s ’258 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’749 Patent.

        455.      Radian’s ’749 Patent, which was cited by Samsung Electronics Co., Ltd. is a

 continuation of Radian’s ’376 Patent, from which the ’183 Patent asserted by Radian is descended.

        456.      On April 23, 2020, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 16/857,172 (“Samsung’s ’172 Application”), entitled “Self-configuring SSD multi-protocol

 support in host-less environment,” which issued on October 12, 2021, as U.S. Pat. No. 11,144,496

 (“Samsung’s ’496 Patent”).

        457.      During the prosecution of Samsung’s ’496 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’749 Patent.

        458.      Radian’s ’749 Patent, which was cited by Samsung Electronics Co., Ltd. is a

                                                49
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24     Page 50 of 347 PageID #: 50




 continuation of Radian’s ’376 Patent, from which the ’183 Patent asserted by Radian is descended.

        459.     On January 10, 2017, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/403,088 (“Samsung’s ’088 Application”), entitled “System and method for supporting multi-

 path and/or multi-mode NMVe over fabrics devices,” which issued on February 19, 2019, as U.S.

 Pat. No. 10,210,123 (“Samsung’s ’123 Patent”).

        460.     During the prosecution of Samsung’s ’123 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’376 Patent.

        461.     The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

        462.     On November 7, 2016, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/345,507 (“Samsung’s ’507 Application”), entitled “Method for using BMC as proxy NVMeoF

 discovery controller to provide NVM subsystems to host,” which issued on July 9, 2019 as U.S.

 Pat. No. 10,346,041 (“Samsung’s ’041 Patent”).

        463.     During the prosecution of Samsung’s ’041 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’749 Patent.

        464.     Radian’s ’749 Patent, which was cited by Samsung Electronics Co., Ltd. is a

 continuation of Radian’s ’376 Patent, from which the ’183 Patent asserted by Radian in this action

 is descended.

        465.     On April 6, 2017, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/481,147 (“Samsung’s ’147 Application”), entitled “Flash-integrated high bandwidth memory

 appliance,” which issued on April 6, 2017, as U.S. Pat. No. 11,397,687 (“Samsung’s ’687 Patent”).

        466.     During the prosecution of Samsung’s ’687 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

                                                 50
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24     Page 51 of 347 PageID #: 51




        467.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

        468.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

        469.   On August 25, 2017, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 15/686,690 (“Samsung’s ’690 Application”), entitled “System and method for managing memory

 device.” The ’690 Application was published on December 20, 2018, as U.S. Pat. Pub. No.

 2018/0364937, and was ultimately abandoned.

        470.   During the prosecution of Samsung’s ’690 Application, the examiner cited

 Radian’s ’376 Patent.

        471.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’690 Application.

        472.   On July 10, 2019, Samsung Electronics Co., Ltd. filed German Pat. App. No. 10

 2019 118 631.5 (“Samsung’s ’631.5 Application”), entitled “Storage device that initiates

 maintenance work independently without command from the host and electronic system with the

 same.” Samsung’s ’631.5 Application was published on February 6, 2020, as German Pat. Pub.

 No. 10 2019 118 631 and remains pending.

        473.   During the prosecution of Samsung’s ’631.5 Application, the examiner cited

 Radian’s ’376 Patent.

        474.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’631.5 Application.

        475.   The examiner also cited Radian’s U.S. Pat. No. 9,542,118 (“the ’118 Patent”).

        476.   The ’656, ’657, and ’995 Patents asserted by Radian in this action are descendants

                                                51
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 52 of 347 PageID #: 52




 of Radian’s ’118 Patent, which was cited against Samsung’s ’631.5 Application.

           477.   The examiner also cited Radian’s U.S. Pat. No. 10,552,058 (“the ’058 Patent”).

           478.   Radian’s ’058 Patent issued from U.S. Pat. App. No. 15/211,927, and claims

 priority from U.S. Prov. Pat. App. No. 62/199,969 and U.S. Prov. Pat. App. No. 62/194,172.

           479.   The ’656, ’657, and ’995 Patents asserted by Radian in this action also claim

 priority from U.S. Prov. Pat. App. No. 62/199,969 and U.S. Prov. Pat. App. No. 62/194,172.

           480.   On June 25, 2020, Samsung Electronics Co. filed European Pat. App. No.

 20182197.2 (“Samsung’s ’197.2 Application”), entitled “Storage device and operating method of

 storage device,” which issued as European Pat. No. 3,771,983 (“Samsung’s ’983 Patent”).

           481.   During the prosecution of Samsung’s ’983 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’854 Patent.

           482.   Radian’s ’854 Patent, which was cited by Samsung Electronics Co., Ltd. is a

 continuation of Radian’s ’376 Patent.

           483.   During the prosecution of Samsung’s ’983 Patent, the examiner cited Radian’s ’376

 Patent.

           484.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’197.2 Application.

           485.   On September 1, 2020, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 17/009,684 (“Samsung’s ’684 Application”), entitled “Storage device block-level failure

 prediction-based data placement,” which issued on August 22, 2023, as U.S. Pat. No. 11,734,093

 (“Samsung’s ’093 Patent”).

           486.   During the prosecution of Samsung’s ’093 Patent, the examiner cited Radian’s U.S.

 Pat. 11,354,234 (“the ’234 Patent”).

                                                  52
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 53 of 347 PageID #: 53




           487.   Radian’s ’234 Patent, which was cited against Samsung’s ’684 Application, is a

 descendant of Radian’s ’376 Patent.

           488.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent.

           489.   On September 17, 2020, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 17/024,598 (“Samsung’s ’598 Application”), entitled “Systems and methods for processing

 commands for storage devices,” which issued on August 22, 2023, as U.S. Pat. No. 11,733,918

 (“the ’918 Patent”).

           490.   During the prosecution of Samsung’s ’918 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’129 Publication.

           491.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

           492.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited by Samsung Electronics Co., Ltd.

           493.   On October 2, 2020, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 17/062,467 (“Samsung’s ’467 Application”), entitled “Systems and methods for processing copy

 commands,” which issued on October 17, 2023, as U.S. Pat. No. 11,789,634 (“Samsung’s ’634

 Patent”).

           494.   During the prosecution of Samsung’s ’634 Patent, the examiner cited Radian’s ’129

 Publication.

           495.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

           496.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

                                                  53
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 54 of 347 PageID #: 54




 Patent, the published application of which was cited against Samsung’s ’467 Application.

           497.   On July 7, 2021, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No. 17/369,884

 (“Samsung’s ’884 Application”), entitled “Method of operating memory device and host device,

 and memory system including partitioning purge region responsive to purge information,” which

 issued on October 24, 2023, as U.S. Pat. No. 11,797,210 (“Samsung’s ’210 Patent”).

           498.   During the prosecution of Samsung’s ’210 Patent, the examiner cited Radian’s ’129

 Publication.

           499.   Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

           500.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited against Samsung’s ’884 Application.

           501.   On May 5, 2021, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 17/308,991 (“Samsung’s ’991 Application”), entitled “Systems, methods, and devices for data

 storage with specified data transfer rate,” which issued on August 15, 2023, as U.S. Pat. No.

 11,726,659 (“Samsung’s ’659 Patent”).

           502.   During the prosecution of Samsung’s ’659 Patent, the examiner cited Radian’s ’376

 Patent.

           503.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’991 Application.

           504.   On August 3, 2021, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 17/393,399 (“the ’399 Application”), entitled “Systems, methods, and apparatus for page

 migration in memory systems.” The ’399 Application was published on December 1, 2022 as U.S.

 Pat. Pub. No. 2022/0382478 and remains pending.

                                                  54
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 55 of 347 PageID #: 55




           505.   During the prosecution of Samsung’s ’399 Application, the examiner cited

 Radian’s U.S. Pat. No. 10,642,505 (“the ’505 Patent”).

           506.   Radian’s ’505 Patent, which was cited against Samsung’s ’399 Application, is a

 descendant of Radian’s ’376 Patent.

           507.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent.

           508.   During the prosecution of Samsung’s ’399 Application, the examiner also cited

 U.S. Pat. No. 11,347,639 (“the ’639 Patent”), another Radian patent.

           509.   Radian’s ’639 Patent, which was cited against Samsung’s ’399 Application, is a

 descendant of Radian’s ’376 Patent.

           510.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent.

           511.   During the prosecution of Samsung’s ’399 Application, the examiner also cited

 Radian’s U.S. Pat. No. 11,275,695 (“the ’695 Patent”),

           512.   Radian’s ’695 Patent, which was cited against Samsung’s ’399 Application, is a

 descendant of Radian’s U.S. Pat. No. 10,642,748 (“the ’748 Patent”).

           513.   The ’656, ’657, and ’995 Patents asserted by Radian in this action are also

 descendants of Radian’s ’748 Patent.

           514.   On January 19, 2023, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 18/099,246 (“Samsung’s ’246 Application”), entitled “Systems, methods, and apparatus for data

 placement in a storage device.” Samsung’s ’246 Application was published on December 1, 2022,

 as U.S. Pat. Pub. No. 2024/0012579 and remains pending.

           515.   During the prosecution of Samsung’s ’246 Application, the examiner cited

                                                  55
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 56 of 347 PageID #: 56




 Radian’s ’719 Publication.

           516.   Radian’s ’719 Publication, which was cited against Samsung’s ’246 Application,

 was the published application of Radian’s U.S. Pat. App. No. 14/466,167, which issued as Radian’s

 ’454 Patent.

           517.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’454

 Patent.

           518.   On November 28, 2013, Samsung Electronics Co., Ltd. filed Korea Pat. App. No.

 10-2013-0146321 (“Samsung’s ’321 Application”), entitled “All-in-one data storage device

 having internal hardware filter, method thereof, and system having the data storage device,” which

 issued on May 29, 2015, as Korean Pat. App. No. XX-XXXXXXX (“Samsung’s ’543 Patent”).

           519.   During the prosecution of Samsung’s ’543 Patent, the examiner cited Radian’s ’376

 Patent.

           520.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’321 Application.

           521.   On January 10, 2014, Samsung Electronics Co., Ltd. filed Korean Pat. App. No.

 10-2014-0003245 (“Samsung’s ’245 Application”), entitled “Method for processing data on

 storage device and storage device,” which issued on November 23, 2020, as Korean Pat. No. 10-

 2181210 (“the ’210 Patent”).

           522.   During the prosecution of Samsung’s ’210 Patent, the examiner cited Radian’s ’376

 Patent.

           523.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’245 Application.

           524.   On August 18, 2018, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

                                                  56
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 57 of 347 PageID #: 57




 2014-0107128 (“Samsung’s ’128 Application”), entitled “Operating method of memory controller

 and nonvolatile memory system including the memory controller,” which issued on August 31,

 2020, as Korean Pat. No. XX-XXXXXXX (“Samsung’s ’889 Patent”).

        525.      During the prosecution of Samsung’s ’889 Patent, the examiner cited Radian’s ’376

 and ’854 Patents.

        526.      The ’854 Patent cited against Samsung’s ’128 Application is a continuation of

 Radian’s ’376 Patent.

        527.      The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’128 Application.

        528.      On June 8, 2015, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2015-0080741 (“Samsung’s ’741 Application”), entitled “Nonvolatile memory module,

 computing system having the same, and PVT compensation method thereof,” which issued on

 November 2, 2022, as Korean Pat. No. XX-XXXXXXX (“Samsung’s ’460 Patent”).

        529.      During the prosecution of Samsung’s ’460 Patent, the examiner cited Radian’s ’129

 Publication.

        530.      Radian’s ’129 Publication was the published application of Radian’s ’723

 Application, which later issued as Radian’s ’376 Patent.

        531.      The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, the published application of which was cited against Samsung’s ’741 Application.

        532.      On April 1, 2016, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2016-0040320 (“Samsung’s ’320 Application”), entitled “Storage device and event notification

 method thereof,” which issued on June 30, 2023, as Korean Pat. No. XX-XXXXXXX (“Samsung’s

 ’611 Patent”).

                                                  57
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24     Page 58 of 347 PageID #: 58




        533.    During the prosecution of Samsung’s ’611 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’376 Patent.

        534.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

        535.    On August 4, 2016, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2016-0099599 (“Samsung’s ’599 Application”), entitled “Storage device using host memory and

 operating method thereof,” which issued on May 23, 2024, as Korean Pat. No. XX-XXXXXXX

 (“Samsung’s ’430 Patent”).

        536.    During the prosecution of Samsung’s ’430 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’376 Patent.

        537.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

        538.    On November 24, 2017, Samsung Electronics Co., Ltd. filed Korean Pat. App. No.

 10-2017-0158832 (“Samsung’s ’832 Application”), entitled “Method of managing data and

 storage device performing the same,” which issued on August 16, 2023, as Korean Pat. No. 10-

 2567140 (“Samsung’s ’140 Patent”).

        539.    During the prosecution of Samsung’s ’140 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’376 Patent.

        540.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

        541.    During the prosecution of Samsung’s ’140 Patent, Samsung Electronics Co., Ltd.

 also cited Radian’s ’118 Patent.

        542.    The ’656, ’657, and ’995 Patents asserted by Radian in this action are descendants

                                                58
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 59 of 347 PageID #: 59




 of Radian’s ’118 Patent, which was cited by Samsung Electronics Co., Ltd.

        543.      On July 24, 2018, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2018-0085788 (“Samsung’s ’788 Application”), entitled “Solid state drive and a method for

 metadata access,” which issued on June 28, 2023, as Korean Pat. No. XX-XXXXXXX (“Samsung’s

 ’346 Patent”).

        544.      During the prosecution of Samsung’s ’346 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s ’376 Patent.

        545.      The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

        546.      On March 20, 2019, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2019-0031649 (“Samsung’s ’649 Application”), entitled “Operation method of open-channel

 storage device.” Samsung’s ’649 Application was published on October 6, 2020, as Korean Pat.

 Pub. 10-2020-0113047.

        547.      During the prosecution of Samsung’s ’649 Application, Samsung Electronics Co.,

 Ltd. cited Radian’s ’376 Patent.

        548.      The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

        549.      On October 2, 2019, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2019-0122655 (“Samsung’s ’655 Application”), entitled “Host System managing assignment of

 free block, Data Processing System having the same and Operating Method of Host System.”

 Samsung’s ’655 Application was published on April 12, 2021, as Korean Pat. Pub. No. 10-2021-

 0039872, and remains pending.

        550.      During the prosecution of Samsung’s ’655 Application, the examiner cited

                                                  59
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24     Page 60 of 347 PageID #: 60




 Radian’s ’376 Patent.

        551.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’655 Application.

        552.    On October 4, 2019, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2019-0123347 (“Samsung’s ’347 Application”), entitled “Operating method of memory system

 and host recovering data with write error.” Samsung’s ’347 Application was published on April

 15, 2021, as Korean Pat. Pub. No. 10-2021-0041158, and remains pending.

        553.    During the prosecution of Samsung’s ’347 Application, Samsung Electronics Co.,

 Ltd. cited Radian’s ’854 Patent.

        554.    The ’854 Patent, which was cited by Samsung Electronics Co., Ltd., is a

 continuation of Radian’s ’376 Patent.

        555.    During the prosecution of Samsung’s ’347 Application, the examiner cited

 Radian’s ’376 Patent.

        556.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’347 Application.

        557.    On October 4, 2019, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2019-0123348 (“Samsung’s ’348 Application”), entitled “Operating method of memory system

 and host recovering data with correctable read error.” Samsung’s ’348 Application was published

 on April 15, 2021, as Korean Pat. Pub. No. 10-2021-0041159, and remains pending.

        558.    During the prosecution of Samsung’s ’348 Application, Samsung Electronics Co.,

 Ltd. cited Radian’s ’376 Patent.

        559.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited by Samsung Electronics Co., Ltd.

                                                60
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24    Page 61 of 347 PageID #: 61




        560.    On December 2, 2019, Samsung Electronics Co., Ltd. filed Korean Pat. App. No.

 10-2019-0158001 (“Samsung’s ’001 Application”), entitled “Storage device, storage system and

 method of operating storage device.” Samsung’s ’001 Application was published on June 10, 2021,

 as Korean Pat. Pub. No. 10-2021-0068699, and remains pending.

        561.    During the prosecution of Samsung’s ’001 Application, the examiner cited

 Radian’s ’376 Patent.

        562.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’001 Application.

        563.    During the prosecution of Samsung’s ’001 Application, the examiner cited

 Radian’s ’058 Patent.

        564.    Radian’s ’058 Patent, which was cited against Samsung’s ’001 Application, claims

 priority from two of the same provisional applications from which the ’656, ’657, and ’995 Patents

 asserted by Radian in this action claim priority.

        565.    On November 16, 2020, Samsung Electronics Co., Ltd. filed Korean Pat. App. No.

 10-2020-0152806 (“Samsung’s ’806 Application”), entitled “Storage device, electronic system

 including the same storage device and the method of operating the same storage device.”

 Samsung’s ’806 Application was published on May 24, 2022, as Korean Pat. Pub. No. 10-2022-

 0066601, and remains pending.

        566.    During the prosecution of Samsung’s ’806 Application, the examiner cited

 Radian’s ’376 Patent.

        567.    The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’806 Application.

        568.    On November 23, 2020, Samsung Electronics Co., Ltd. filed Korean Pat. App. No.

                                                     61
Case 2:24-cv-01073-JRG        Document 1       Filed 12/24/24     Page 62 of 347 PageID #: 62




 10-2020-0158053 (“Samsung’s ’053 Application”), entitled “Memory device, system including

 the same and operating method of memory device.” Samsung’s ’053 Application was published

 on May 31, 2022, as Korean Pat. Pub. No. 10-2022-0070951, and remains pending.

        569.   During the prosecution of Samsung’s ’053 Application, the examiner cited

 Radian’s ’376 Patent.

        570.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’053 Application.

        571.   On March 2, 2021, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2021-0027516 (“Samsung’s ’516 Application”), entitled “Storage controller redirecting a write

 operation and operating method thereof.” Samsung’s ’516 Application was published on

 September 14, 2022, as Korean Pat. Pub. No. 10-2022-0124318, and remains pending.

        572.   During the prosecution of Samsung’s ’516 Application, the examiner cited

 Radian’s ’376 Patent.

        573.   The ’183 Patent asserted by Radian in this action is a descendant of Radian’s ’376

 Patent, which was cited against Samsung’s ’516 Application.

        574.   On July 2, 2018, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No. 16/026,008

 (“Samsung’s ’008 Application”), entitled “Apparatus to insert error-correcting coding (ECC)

 information as data within dynamic random access memory (DRAM),” which issued on December

 1, 2020 as U.S. Pat. No. 10,853,168 (“Samsung’s ’168 Patent”).

        575.   During the prosecution of Samsung’s ’516 Application, the examiner cited

 Radian’s U.S. Pat. No. 10,445,229 (“the ’229 Patent”).

        576.   The ’772 and ’614 Patents asserted by Radian in this action are descendants of

 Radian’s ’229 Patent, which was cited against Samsung’s ’008 Application.

                                               62
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 63 of 347 PageID #: 63




           577.   On February 3, 2020, Samsung Electronics Co., Ltd. filed Korean Pat. App. No.

 10-2020-0012629 (“Samsung’s ’629 Application”), entitled “Stacked memory device, and

 operating method thereof.” Samsung’s ’629 Application was published on August 11, 2021, as

 Korean Pat. Pub. No. 10-2021-0098728, and remains pending.

           578.   During the prosecution of Samsung’s ’516 Application, the examiner cited

 Radian’s U.S. Pat. No. 10,445,229 (“the ’229 Patent”).

           579.   The ’772 and ’614 Patents asserted by Radian in this action are descendants of

 Radian’s ’229 Patent, which was cited against Samsung’s ’516 Application.

           580.   On June 19, 2018, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 16/012,470 (“Samsung’s ’470 Application”), entitled “System and method for optimizing

 performance of a solid-state drive using a deep neural network,” which issued on March 30, 2021,

 as U.S. Pat. No. 10,963,394 (“Samsung’s ’394 Patent”).

           581.   During the prosecution of Samsung’s ’394 Patent, Samsung Electronics Co., Ltd.

 cited Radian’s U.S. Pat. No. 9,785,572 (“the ’572 Patent”).

           582.   The ’656, ’657, and ’995 Patents asserted by Radian in this action are descendants

 of Radian’s ’572 Patent, which was cited by Samsung Electronics Co., Ltd.

           583.   On October 22, 2020, Samsung Electronics Co., Ltd. filed U.S. Pat. App. No.

 17/077,200 (“Samsung’s ’200 Application”), entitled “Operating method of memory system

 including memory controller and nonvolatile memory device,” which issued on April 19, 2022, as

 U.S. Pat. No. 11,309,032 (“Samsung’s ’032 Patent”).

           584.   During the prosecution of Samsung’s ’032 Patent, the examiner cited Radian’s ’118

 Patent.

           585.   The ’656, ’657, and ’995 Patents asserted by Radian in this action are descendants

                                                  63
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 64 of 347 PageID #: 64




 of the ’118 Patent, which was cited against Samsung’s ’200 Application.

           586.   During the prosecution of Samsung’s ’032 Patent, the examiner also cited Radian’s

 ’058 Patent.

           587.   Radian’s ’058 Patent, which was cited against Samsung’s ’200 Application, claims

 priority from U.S. Prov. Pat. App. No. 62/199,969 and U.S. Prov. Pat. App. No. 62/194,172; the

 ’656, ’657, and ’995 Patents asserted by Radian in this action also claim priority to U.S. Prov. Pat.

 App. No. 62/199,969 and U.S. Prov. Pat. App. No. 62/194,172.

           588.   On August 4, 2016, Samsung Electronics Co., Ltd. filed Korean Pat. App. No. 10-

 2016-0099219 (“Samsung’s ’219 Application”), entitled “Nonvolatile memory device,” which

 issued on January 3, 2024, as Korean Pat. No. XX-XXXXXXX (“Samsung’s ’562 Patent”).

           589.   During the prosecution of Samsung’s ’562 Patent, the examiner cited Radian’s ’118

 Patent.

           590.   The ’656, ’657, and ’995 Patents asserted by Radian in this action are descendants

 of Radian’s ’118 Patent, which was cited against Samsung’s ’219 Application.

      J. Samsung Entity Relationships

           591.   SEC is the flagship entity of the Samsung Group, a South Korean chaebol

 comprised of approximately 63 affiliated companies as of 2023. 19

           592.   SEC is the world’s largest manufacturer of semiconductor memory, and it is also




 19
    WENDOVER PRODUCTIONS, Samsung’s Dangerous Dominance over South Korea, available at
 https://www.youtube.com/watch?v=oL0umpPPe-8 at 04:48–04:59 (“These family-controlled,
 government-aided, corporate groups came to be known as chaebols—a term that entered common
 Korean parlance during the ‘60s and ‘70s as the institutions grew.”); see also Statista, Number of
 affiliates of leading business groups in South Korea as of May 2023, by business group, available
 at              https://www.statista.com/statistics/1314469/south-korea-number-of-subsidiaries-of-
 conglomerates-by-company/.
                                                    64
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 65 of 347 PageID #: 65




 one of the world’s leading manufacturers of consumer electronics, electronic components, and

 semiconductors.

           593.   SEA is one of SEC’s wholly owned subsidiaries.

           594.   SEA exists for the purpose of commercializing, marketing, selling, distributing, and

 servicing electronics that are developed, designed, and manufactured by SEC for sale in the United

 States.

           595.   SEA is involved in commercializing, marketing, selling, distributing, and servicing

 consumer electronics developed, designed, and manufactured by SEC.

           596.   SEA does not itself manufacture any products.

           597.   SEA markets consumer electronics designed for use in the U.S. to customers and

 end-users in the U.S.

           598.   SEC is responsible for designing the products sold by SEA specifically for use in

 the United States.

           599.   SEC manufactures these products that it has specifically designed for use in the

 United States and provides them to SEA for the express purpose of being sold in the United States

 by SEC.

           600.   SEC and SEA have entered into agreements regarding the distribution, sales, and

 service of SEC-manufactured products by SEA in the United States.

           601.   SEC and SEA did not enter into these agreements at arms’ length as equals.

           602.   The terms of these agreements were dictated by SEC to SEA.

           603.   The distribution, sales, and service of SEC-manufactured products in the United

 States by SEA pursuant to these agreements therefore necessarily occur at SEC’s direction.

           604.   SEC exercises effective control over SEA’s activities.

                                                   65
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24     Page 66 of 347 PageID #: 66




         605.   SEA acts merely as, and exists for the purpose of acting as, an agent through which

 SEC conducts business in the United States.

         606.   The degree of control exercised by SEC over SEA is greater than that normally

 associated with common ownership and directorship.

         607.   This degree of control extends to SEA’s own subsidiaries.

         608.   SEC exercises effective control over SEA’s subsidiaries.

         609.   SEC does not allow SEA to take licenses that involve payment for unpaid royalties

 without SEC’s approval.

         610.   This is because such payments might be deemed by the South Korean government

 as an attempt to circumvent the tax it levies against payments for licensing U.S. patents.

         611.   When SEC agrees to pay United States companies for unpaid royalties (whether for

 its own infringement or for the infringement of one of its subsidiaries), SEC withholds South

 Korean taxes on such payments.

         612.   Employees and officers of any given Samsung entity act on behalf of other

 Samsung entities, all of whom are ultimately under SEC’s control and direction.

         613.   Samsung employees and officers of one Samsung entity attend industry

 conferences on behalf of or while being identified as being associated with other Samsung entities.

         614.   Samsung employees and officers of one Samsung entity present papers, lectures, or

 presentations on behalf of or while being identified as being associated with other Samsung

 entities.

         615.   Samsung employees and officers of one Samsung entity attend industry

 organizations on behalf of or while being identified as being associated with other Samsung

 entities.

                                                 66
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24      Page 67 of 347 PageID #: 67




         616.   Samsung employees and officers of one Samsung entity post articles, papers, press

 releases, blog posts, videos, and other content on behalf of or while being identified as being

 associated with other Samsung entities.

         617.   Samsung employees and officers of one Samsung entity post articles, papers, press

 releases, blog posts, videos, and other content on the websites of other Samsung entities.

         618.   Samsung entities post product information, advertising, marketing, promotional

 information, data sheets, specification sheets, manuals, instructions, guides, and other literature on

 each other’s websites.

         619.   Samsung Electronics Co., Ltd. controls and operates the “samsung.com” domain

 from its headquarters in the Republic of Korea. 20

         620.   The “samsung.com” domain from its headquarters in the Republic of Korea is

 registered to Samsung Electronics Co., Ltd. with an address in the Republic of Korea. 21

         621.   Samsung Electronics Co., Ltd. controls and operates other Samsung subsidiaries’

 websites from its headquarters in the Republic of Korea. 22

      K. Samsung Electronics Co., Ltd.’s Vicarious Liability

         622.   SEC employees and officers are agents of SEC.

         623.   SEC directs and controls the actions and performance of SEC employees and




 20
    See WHOIS.COM, Domain Information, Samsung.com, available at
 https://www.whois.com/whois/samsung.com (identifying Samsung Electronics Co., Ltd., with an
 address in Korea, as the registrant of the domain “samsung.com”).
 21
    Id.
 22
    E.g., https://semiconductor.samsung.com/us/legal/ (“Samsung controls and operates this site
 from it’s (sic) headquarters in the Republic of Korea.”); see also
 https://www.samsungcnt.com/eng/legal-notice.do (“Any disputes arising between the user and
 Samsung C&T Corporation in regard to use of this website shall resort to Seoul Central District
 Court or a competent civil court.”).
                                                  67
Case 2:24-cv-01073-JRG            Document 1        Filed 12/24/24   Page 68 of 347 PageID #: 68




 officers in the course of their employment, including those related to infringement of the Asserted

 Patents.

         624.    SEC authorizes the actions and performance of SEC employees and officers,

 including those related to infringement of the Asserted Patents.

         625.    SEC approves the actions and performance of SEC employees and officers,

 including those related to infringement of the Asserted Patents.

         626.    SEC specifies the timing and manner of the performance of activities by SEC

 employees and officers, including those related to infringement of the Asserted Patents.

         627.    SEC profits from the activities of SEC employees and officers.

         628.    SEC has the rights, powers, or abilities to cause SEC employees and officers to stop

 or limit their infringing activities.

         629.    SEC has not exercised its rights, powers, or abilities to cause SEC employees and

 officers to stop or limit their infringing activities.

         630.    SEC is vicariously liable for the infringing activities of SEC employees and

 officers.

         631.    SEA is an agent of SEC.

         632.    SEC directs and controls the actions and performance of SEA, including those

 related to infringement of the Asserted Patents.

         633.    SEC authorizes the actions and performance of SEA, including those related to

 infringement of the Asserted Patents.

         634.    SEC approves the actions and performance of SEA, including those related to

 infringement of the Asserted Patents.

         635.    SEC conditions benefits derived by SEA on the performance of activities, including

                                                     68
Case 2:24-cv-01073-JRG            Document 1        Filed 12/24/24    Page 69 of 347 PageID #: 69




 those related to infringement of the Asserted Patents.

         636.    SEC specifies the timing and manner of the performance of activities by SEA,

 including those related to infringement of the Asserted Patents.

         637.    SEC profits from the activities of SEA.

         638.    SEC has the rights, powers, or abilities to cause SEA to stop or limit its infringing

 activities.

         639.    SEC has not exercised its rights, powers, or abilities to cause SEA to stop or limit

 its infringing activities.

         640.    SEC is vicariously liable for the infringing activities of SEA.

         641.    SEA employees and officers are agents of SEC.

         642.    SEC directs and controls the actions and performance of SEA employees and

 officers, including those related to infringement of the Asserted Patents.

         643.    SEC authorizes the actions and performance of SEA employees and officers,

 including those related to infringement of the Asserted Patents.

         644.    SEC approves the actions and performance of SEA employees and officers,

 including those related to infringement of the Asserted Patents.

         645.    SEC specifies the timing and manner of the performance of activities by SEA

 employees and officers, including those related to infringement of the Asserted Patents.

         646.    SEC profits from the activities of SEA employees and officers.

         647.    SEC has the rights, powers, or abilities to cause SEA employees and officers to stop

 or limit their infringing activities.

         648.    SEC has not exercised its rights, powers, or abilities to cause SEA employees and

 officers to stop or limit their infringing activities.

                                                     69
Case 2:24-cv-01073-JRG            Document 1        Filed 12/24/24    Page 70 of 347 PageID #: 70




         649.    SEC is vicariously liable for the infringing activities of SEA employees and

 officers.

         650.    Samsung subsidiaries other than SEA (“other Samsung subsidiaries”) are agents of

 SEC.

         651.    SEC directs and controls the actions and performance of other Samsung

 subsidiaries, including those related to infringement of the Asserted Patents.

         652.    SEC authorizes the actions and performance of other Samsung subsidiaries,

 including those related to infringement of the Asserted Patents.

         653.    SEC approves the actions and performance of other Samsung subsidiaries,

 including those related to infringement of the Asserted Patents.

         654.    SEC conditions benefits derived by other Samsung subsidiaries on the performance

 of activities, including those related to infringement of the Asserted Patents.

         655.    SEC specifies the timing and manner of the performance of activities by other

 Samsung subsidiaries, including those related to infringement of the Asserted Patents.

         656.    SEC profits from the activities of other Samsung subsidiaries.

         657.    SEC has the rights, powers, or abilities to cause other Samsung subsidiaries to stop

 or limit its infringing activities.

         658.    SEC has not exercised its rights, powers, or abilities to cause other Samsung

 subsidiaries to stop or limit its infringing activities.

         659.    SEC is vicariously liable for the infringing activities of other Samsung subsidiaries.

         660.    The employees and officers of other Samsung subsidiaries are agents of SEC.

         661.    SEC directs and controls the actions and performance of the employees and officers

 of other Samsung subsidiaries, including those related to infringement of the Asserted Patents.

                                                     70
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24      Page 71 of 347 PageID #: 71




         662.    SEC authorizes the actions and performance of the employees and officers of other

 Samsung subsidiaries, including those related to infringement of the Asserted Patents.

         663.    SEC approves the actions and performance of the employees and officers of other

 Samsung subsidiaries, including those related to infringement of the Asserted Patents.

         664.    SEC specifies the timing and manner of the performance of activities by the

 employees and officers of other Samsung subsidiaries, including those related to infringement of

 the Asserted Patents.

         665.    SEC profits from the activities of the employees and officers of other Samsung

 subsidiaries.

         666.    SEC has the rights, powers, or abilities to cause the employees and officers of other

 Samsung subsidiaries to stop or limit their infringing activities.

         667.    SEC has not exercised its rights, powers, or abilities to cause the employees and

 officers of other Samsung subsidiaries to stop or limit their infringing activities.

         668.    SEC is vicariously liable for the infringing activities of the employees and officers

 of other Samsung subsidiaries.

         669.    SEC conditions benefits derived by Samsung customers on the performance of

 activities, including those related to infringement of the Asserted Patents.

         670.    SEC specifies the timing and manner of the performance of activities by Samsung

 customers, including those related to infringement of the Asserted Patents.

         671.    SEC profits from the activities of Samsung customers.

         672.    SEC has the rights, powers, or abilities to cause Samsung customers to stop or limit

 its infringing activities.

         673.    SEC has not exercised its rights, powers, or abilities to cause Samsung customers

                                                  71
Case 2:24-cv-01073-JRG            Document 1        Filed 12/24/24   Page 72 of 347 PageID #: 72




 to stop or limit its infringing activities.

         674.    SEC is vicariously liable for the infringing activities of Samsung customers.

     L. Samsung Electronics America, Inc.’s Vicarious Liability

         675.    SEA employees and officers are agents of SEA.

         676.    SEA directs and controls the actions and performance of SEA employees and

 officers, including those related to infringement of the Asserted Patents.

         677.    SEC authorizes the actions and performance of SEA employees and officers,

 including those related to infringement of the Asserted Patents.

         678.    SEC approves the actions and performance of SEA employees and officers,

 including those related to infringement of the Asserted Patents.

         679.    SEA specifies the timing and manner of the performance of activities by SEA

 employees and officers, including those related to infringement of the Asserted Patents.

         680.    SEA profits from the activities of SEA employees and officers.

         681.    SEA has the rights, powers, or abilities to cause SEA employees and officers to

 stop or limit their infringing activities.

         682.    SEA has not exercised its rights, powers, or abilities to cause SEA employees and

 officers to stop or limit their infringing activities.

         683.    SEA is vicariously liable for the infringing activities of SEA employees and

 officers.

         684.    Other Samsung subsidiaries are agents of SEA.

         685.    SEA directs and controls the actions and performance of other Samsung

 subsidiaries, including those related to infringement of the Asserted Patents.

         686.    SEA authorizes the actions and performance of other Samsung subsidiaries,


                                                     72
Case 2:24-cv-01073-JRG            Document 1        Filed 12/24/24    Page 73 of 347 PageID #: 73




 including those related to infringement of the Asserted Patents.

         687.    SEA approves the actions and performance of other Samsung subsidiaries,

 including those related to infringement of the Asserted Patents.

         688.    SEA conditions benefits derived by other Samsung subsidiaries on the performance

 of activities, including those related to infringement of the Asserted Patents.

         689.    SEA specifies the timing and manner of the performance of activities by other

 Samsung subsidiaries, including those related to infringement of the Asserted Patents.

         690.    SEA profits from the activities of other Samsung subsidiaries.

         691.    SEA has the rights, powers, or abilities to cause other Samsung subsidiaries to stop

 or limit its infringing activities.

         692.    SEA has not exercised its rights, powers, or abilities to cause other Samsung

 subsidiaries to stop or limit its infringing activities.

         693.    SEA is vicariously liable for the infringing activities of other Samsung subsidiaries.

         694.    SEA authorizes the actions and performance of the employees and officers of other

 Samsung subsidiaries, including those related to infringement of the Asserted Patents.

         695.    SEA approves the actions and performance of the employees and officers of other

 Samsung subsidiaries, including those related to infringement of the Asserted Patents.

         696.    The employees and officers of other Samsung subsidiaries are agents of SEA.

         697.    SEA directs and controls the actions and performance of the employees and officers

 of other Samsung subsidiaries, including those related to infringement of the Asserted Patents.

         698.    SEA specifies the timing and manner of the performance of activities by the

 employees and officers of other Samsung subsidiaries, including those related to infringement of

 the Asserted Patents.

                                                     73
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 74 of 347 PageID #: 74




         699.    SEA profits from the activities of the employees and officers of other Samsung

 subsidiaries.

         700.    SEA has the rights, powers, or abilities to cause the employees and officers of other

 Samsung subsidiaries to stop or limit their infringing activities.

         701.    SEA has not exercised its rights, powers, or abilities to cause the employees and

 officers of other Samsung subsidiaries to stop or limit their infringing activities.

         702.    SEA is vicariously liable for the infringing activities of the employees and officers

 of other Samsung subsidiaries.

         703.    SEA conditions benefits derived by Samsung customers on the performance of

 activities, including those related to infringement of the Asserted Patents.

         704.    SEA specifies the timing and manner of the performance of activities by Samsung

 customers, including those related to infringement of the Asserted Patents.

         705.    SEA profits from the activities of Samsung customers.

         706.    SEA has the rights, powers, or abilities to cause Samsung customers to stop or limit

 its infringing activities.

         707.    SEA has not exercised its rights, powers, or abilities to cause Samsung customers

 to stop or limit its infringing activities.

         708.    SEA is vicariously liable for the infringing activities of Samsung customers.

                                   JURISDICTION AND VENUE

         709.    Radian incorporates the paragraphs of the previous sections into the following

 section by reference.

         710.    Radian’s claims for patent infringement against Defendants arise under the Patent

 Act, 35 U.S.C. § 1 et seq.


                                                  74
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 75 of 347 PageID #: 75




         711.    Subject matter jurisdiction is proper in this Court under 28 U.S.C. §§ 1331 and

 1338(a).

         712.    SEC and SEA are subject to the personal jurisdiction of this Court.

         713.    SEC and SEA have not disputed this Court’s personal jurisdiction over them in

 recent patent infringement actions filed in this District. See, e.g., Mobile Data Technologies LLC

 v. Samsung Elecs. Am., Inc. et al., No. 2:24-cv-00435, Dkt. 26 at ¶ 7 (E.D. Tex. Oct. 7, 2024);

 Four Batons Wireless, LLC v. Samsung Elecs. Co., Ltd. et al., No. 2:24-cv-00284, Dkt. 24 at ¶ 8

 (E.D. Tex. Aug. 19, 2024); Cerrence Operating Co. v. Samsung Elec. Co., Ltd. et al., No. 2:24-

 cv-00181-JRG, Dkt. 25 at ¶ 8 (E.D. Tex. July 10, 2024).

         714.    SEC and SEA have sufficient minimum contacts and/or have engaged in continuous

 and systematic activities in the forum as a result of business conducted within the State of Texas

 and the Eastern District of Texas.

         715.    SEA, directly or through subsidiaries, makes, uses, sells, offers for sale, imports,

 advertises, makes available, and/or markets products within the State of Texas and the Eastern

 District of Texas that infringe one or more claims of the Asserted Patents.

         716.    SEA has done these activities at the direction of its owner, SEC.

         717.    SEA has placed or contributed to placing infringing products into the stream of

 commerce knowing or understanding that such products would be sold and used in the United

 States, including in this District.

         718.    SEA has done so at the direction of its owner, SEC, which also knew or understood

 that such products would be sold and used in the United States, including in this District.

         719.    SEA has derived substantial revenues from infringing acts in the Eastern District of

 Texas, including from the sale and use of infringing products.

                                                  75
Case 2:24-cv-01073-JRG           Document 1        Filed 12/24/24      Page 76 of 347 PageID #: 76




           720.   These revenues have substantially flowed to SEC, as the sole owner of SEA.

           721.   Venue in this District is proper under 28 U.S.C. § 1391(c)(3) and 28 U.S.C.

 § 1400(b).

           722.   SEC is not a resident of the United States and may be sued in this District because

 suits against foreign entities are proper in any judicial district where they are subject to personal

 jurisdiction. 28 U.S.C. § 1391(c)(3); In re HTC Corp., 889 F.3d 1349, 1356–61 (Fed. Cir. 2018).

           723.   SEA maintains a regular and established place of business in this judicial district at

 6625 Excellence Way, Plano, Texas 75023.

           724.   SEC and SEA have admitted in previous patent infringement actions filed against

 them that venue in this District is proper. See, e.g., Four Batons, Dkt. 24 at ¶ 15; Cerence, Dkt. 25

 at ¶ 9.

           725.   SEA has committed acts of infringement in this district.

           726.   SEA employees in Plano are responsible for the marketing and sale of products to

 customers across the country.

           727.   In addition to the location at 6625 Excellence Way, SEA has operations at several

 other locations within this District.

           728.   The Collin County Central Appraisal District’s website shows that SEA maintains

 business personal property at a number of locations in the county: 23




 23
    From searching the term “Samsung” under the “Owner Name” field at
 https://www.collincad.org/propertysearch.
                                              76
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24    Page 77 of 347 PageID #: 77




        729.    SEA also maintains property in Denton County per the Denton County Central

 Appraisal District’s website: 24




        730.    SEA also maintains property in Jefferson County per the Jefferson County Central




 24
    From searching the term “Samsung” under the “Owner Name” field at
 https://esearch.dentoncad.com/.
                                              77
Case 2:24-cv-01073-JRG          Document 1   Filed 12/24/24    Page 78 of 347 PageID #: 78




 Appraisal District’s website: 25




        731.    SEA also maintains property in Smith County per the Smith County Central

 Appraisal District’s website: 26




        732.    SEA also maintains property in Grayson County per the Grayson County Central

 Appraisal District’s website: 27




        733.    SEA also maintains property in Gregg County per the Gregg County Central

 Appraisal District’s website: 28




 25
    From searching the term “Samsung” under the “Owner Name” field at
 https://esearch.jcad.org/.
 26
    From searching the term “Samsung” under the “Owner Name” field at
 https://www.smithcad.org/Search/PropertySearch.html.
 27
    From searching the term “Samsung” under the “Owner Name” field at
 https://esearch.graysonappraisal.org/.
 28
    From searching the term “Samsung” under the “Owner Name” field at
 https://esearch.gcad.org/.
                                              78
Case 2:24-cv-01073-JRG            Document 1        Filed 12/24/24       Page 79 of 347 PageID #: 79




           734.   SEC directs and controls the actions of SEA such that it also maintains regular and

 established offices in the Eastern District of Texas, including at 6625 Excellence Way, Plano,

 Texas 75023.

           735.   SEC directs and controls the actions of SEA personnel commercializing, marketing,

 selling, distributing, and servicing consumer electronics developed, designed, and manufactured

 by SEC for use in the United States by customers and end-users in the United States, including

 SEA personnel located in this District.

                    COUNT ONE: INFRINGEMENT OF THE ’183 PATENT

           736.   Radian incorporates by reference the preceding paragraphs as if fully set forth

 herein.

           737.   U.S. Patent No. 11,544,183 (“the ’183 Patent”), entitled “Nonvolatile Memory

 Controller Host-Issued Address Delimited Erasure and Memory Controller Remapping of Host-

 Address Space for Bad Blocks,” was legally and duly issued on January 3, 2023, naming Andrey

 V. Kuzmin, Mike Jadon, and Richard M. Mathews as the inventor. See Exhibit A.

           738.   Radian owns all rights, title, and interest in the ’183 Patent, and holds all substantial

 rights pertinent to this suit, including the right to sue and recover for all past, current, and future

 infringement.

           739.   The ’183 Patent is valid, enforceable, and directed to patentable subject matter.

           740.   Radian has complied with 35 U.S.C. § 287 with respect to the ’183 Patent.

           741.   The ’183 Patent described challenges faced by conventional memory devices,

                                                     79
Case 2:24-cv-01073-JRG           Document 1        Filed 12/24/24      Page 80 of 347 PageID #: 80




 including the substantial overhead and write amplification related to flash memory operations. See,

 for example:

                          Such functions typically include caching of write data to
                  reduce frequency of programming operations, wear leveling, bad
                  block management and space reclamation. These tasks are typically
                  managed by a flash memory controller using a flash translation layer
                  (FTL), which keeps records of logical-to-physical translations, wear
                  count, bad blocks and so forth using RAM that is built-in to the flash
                  memory controller.

                           Each of these functions contributes substantial overhead and
                  write amplification in flash memory. That is to say, substantial data
                  and control bandwidth is consumed in implementing these
                  functions, which can both increase the number of writes to memory
                  (i.e., increase wear) as well as compete with new writes initiated by
                  a host.

                          What is needed is a mechanism for improving control and
                  data bandwidth for flash memory and other forms of nonvolatile
                  memory. More particularly, a mechanism is needed that reduces
                  control and data bandwidth encumbrances created by memory
                  management functions and thereby decreases the issues referenced
                  above. Still further, a need exists for a memory management scheme
                  that does not create excessive write amplification and bandwidth
                  competition. Finally, a need exists for a flash/nonvolatile memory
                  architecture that has more consistent latency, is conductive to
                  structured pipelining of commands, and permits ubiquitous
                  management of SSDs and other forms of memory in direct-attached
                  and network storage applications. 29

           742.   The ’183 Patent proposed novel solutions that were not routine, ordinary, or

 conventional at the time of the inventions. Some exemplary embodiments of the inventions relating

 to these solutions are described in the specification. See, for example:

                          This disclosure provides techniques for cooperative
                  interaction between a memory controller and host. The techniques
                  call for the memory controller to store information specific to each



 29
      Ex. A, U.S. Patent No. 11,544,183, at 1:30–3:37.
                                                  80
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24      Page 81 of 347 PageID #: 81




                of plural subdivisions of memory, and to make data based on that
                stored information accessible to the host to assist with management
                of the memory. 30

                        Note that in one embodiment, this infrastructure can be
                employed to substantially eliminate the need for a flash memory
                controller to implement a flash translation layer (FTL). That is, a
                flash memory controller can maintain per-subdivision data, which is
                accessible to the host (e.g., retrievable by, or against which the host
                can issue function calls or queried). The host uses this information
                to issue new write commands that are targeted to specific physical
                locations in flash memory, thus substantially avoiding the need for
                translation at a memory controller, and reducing the likelihood of
                uneven wear. 31

                        By redefining host and/or controller responsibilities, host-
                controller management features duplication and associated
                disadvantages can also be avoided, leading to a simpler and less
                expensive memory controller design. 32

        743.    Some of these described solutions are reflected in the claimed inventions of the

 ’183 Patent.

        744.    On information and belief, Samsung directly infringed and is currently infringing,

 literally and/or under the doctrine of equivalents, at least one claim of the ’183 Patent by, among

 other things, making, using, selling, offering to sell, and/or importing within this District and

 elsewhere in the United States, without authority, the Accused Instrumentalities. For example, as

 shown below, the Accused Instrumentalities practice at least claim 1 of the ’183 Patent.

        745.    Claim 1 of the ’183 Patent recites:

                [preamble] A memory controller to control flash memory, the flash memory having




 30
    Id. at 4:46–51.
 31
    Id. at 5:27–37.
 32
    Id. at 6:33–37.
                                                  81
Case 2:24-cv-01073-JRG     Document 1       Filed 12/24/24       Page 82 of 347 PageID #: 82




            subdivisions, each of the subdivisions corresponding to a respective group of erase

            blocks, each of the erase blocks such that it must be erased before storage locations

            in that erase block can be reprogrammed, the memory controller comprising:

                   [1a] a host interface;

                   [1b] a memory interface;

                   [1c] logic to track information indicating extent of page utilization of each

                   of the subdivisions;

                   [1d] logic to receive a write request from a host via the host interface, the

                   write request accompanied by an address that designates a specific one of

                   the subdivisions, wherein the logic to track is to, in association with

                   execution of the write request, update the information indicating extent of

                   page utilization of the specific one of the subdivisions;

                   [1e] logic to send the host the information indicating extent of page

                   utilization of the specific one of the subdivisions and an address

                   corresponding to the specific one of the subdivisions;

                   [1f] logic to receive an erasure request from the host, via the host interface,

                   the erasure request accompanied by the address corresponding to the

                   specific one of the subdivisions, to responsively control erasure of each

                   unerased erase block in the group respective to the specific one of the

                   subdivisions, and to update the information indicating extent of page

                   utilization of the specific one of the subdivisions; and

                   [1g] logic to, in connection with the erasure, detect a defect in one of the

                   erase blocks in the group respective to the specific one of the subdivisions,

                                              82
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 83 of 347 PageID #: 83




                        to responsively substitute one or more different erase blocks of the flash

                        memory for the one of the erase blocks for which the defect was detected;

                        [1h] wherein each said logic comprises at least one of hardware circuitry or

                        instructions stored on non-transitory, machine-readable media that when

                        executed are to control the operation of hardware circuitry.

        746.     Samsung’s Accused Instrumentalities implement the NVMe Base Specification in

 the same ways or substantially the same ways that are material to infringement.

        747.     Samsung’s Accused Instrumentalities implement the NVMe Command Set

 Specification in the same ways or substantially the same ways that are material to infringement.

        748.     Samsung’s Accused Instrumentalities implement the NVMe Zoned Namespace

 Command Set Specification in the same ways or substantially the same ways that are material to

 infringement.

        749.     Samsung’s Accused Instrumentalities implement other NVMe specifications in the

 same ways or substantially the same ways that are material to infringement.

        750.     Changes from one revision to another in the cited NVMe specifications are not

 material to infringement.

        751.     Samsung’s Accused Instrumentalities infringe in the same way or substantially the

 same way. Variations in other features (e.g., form factor, housing, storage capacity, memory

 controller speeds, ports, or types of flash memory) are not material to infringement.

        752.     To the extent the preamble is considered a limitation, Samsung’s Accused

 Instrumentalities contain a memory controller to control flash memory, the flash memory having

 subdivisions, each of the subdivisions corresponding to a respective group of erase blocks, each of

 the erase blocks such that it must be erased before storage locations in that erase block can be

                                                 83
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24    Page 84 of 347 PageID #: 84




 reprogrammed. ’183 Patent, claim 1, preamble.

          753.   For example, Samsung’s PM1733 contains a memory controller (annotated in red)

 which controls flash memory chips (annotated in blue). See:




                                    Samsung PM1733 Product Brief 33


          754.   The flash memory in Samsung’s Accused Instrumentalities contains erase blocks,

 which must be erased before storage locations in that erase block can be reprogrammed. See:




 33
      Ex. Q, Samsung PM1733 Product Brief (annotated).
                                              84
Case 2:24-cv-01073-JRG       Document 1       Filed 12/24/24    Page 85 of 347 PageID #: 85




                              Samsung Over-Provisioning White Paper 34




                                     Samsung SSD White Paper 35




                                     Flash Memory Integration 36




 34
    Ex. V, Samsung, Over-Provisioning Benefits for Samsung Data Center SSDs, available at:
 https://download.semiconductor.samsung.com/resources/white-paper/S190311-SAMSUNG-
 Memory-Over-Provisioning-White-paper_10129514063996.pdf, at 2 (the “Samsung Over-
 Provisioning White Paper”) (highlighted).
 35
    Ex. I, Samsung SSD White Paper, at 17.
 36
    Ex. W, Jalil Boukhobza et al., FLASH MEMORY INTEGRATION (ISTE Press Ltd 2017) 22
 (highlighted).
                                              85
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 86 of 347 PageID #: 86




                                       Flash Memory Integration 37


          755.   The flash memory in Samsung’s Accused Instrumentalities contains zones

 (subdivisions), each zone corresponding to a group of erase blocks. See:




                                    Samsung PM1733 Product Brief 38




 37
      Id. at 24.
 38
      Ex. Q, Samsung PM1733 Product Brief (annotated).
                                              86
Case 2:24-cv-01073-JRG       Document 1      Filed 12/24/24      Page 87 of 347 PageID #: 87




                                        Presentation on ZNS 39




                        SSDs with NVMe Zoned Namespace (ZNS) Support 40




 39
    Ex. X, Hanyeoreum Bae et al., What You Can’t Forget: Exploiting Parallelism for Zoned
 Namespaces, available at: https://www.hotstorage.org/2022/slides/hotstorage22-paper24-
 presentation_slides.pdf, at 4.
 40
    Ex. Y, ZONED STORAGE, SSDs with NVMe Zoned Namespace (ZNS) Support, available at:
 https://zonedstorage.io/docs/introduction/zns.
                                                87
Case 2:24-cv-01073-JRG        Document 1       Filed 12/24/24     Page 88 of 347 PageID #: 88




                                   ZNS Specification, Section 2.1.1 41


        756.    Samsung’s Accused Instrumentalities contain a host interface. ’183 Patent, claim

 1, element [1a].

        757.    For example, Samsung’s PM1733 contains a PCIe host interface. See:




 41
   Ex. Z, NVM EXPRESS, Zoned Namespace Command Set Specification, Revision 1.1d, (the
 “ZNS Specification”) at 8.
                                         88
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24   Page 89 of 347 PageID #: 89




                                    Samsung PM1733 Product Brief 42


          758.   Samsung’s Accused Instrumentalities contain a memory interface. ’183 Patent,

 claim 1, element [1b].

          759.   For example, Samsung’s PM1733 contains a Toggle memory interface for

 communication with the NAND flash memory. See:




                                    Samsung PM1733 Product Brief 43




 42
      Ex. Q, Samsung PM1733 Product Brief (annotated).
 43
      Id.
                                              89
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 90 of 347 PageID #: 90




                                        Samsung SSD White Paper 44


          760.   Samsung’s Accused Instrumentalities contain logic to track information indicating

 extent of page utilization of each of the subdivisions. ’183 Patent, claim 1, element [1c].

          761.   Samsung’s Accused Instrumentalities are able to maintain a write pointer for each

 zone. The write pointer indicates extent of page utilization of the zone. See:




                                    ZNS Specification, Section 2.1.1.1 45




 44
      Ex. I, Samsung SSD White Paper at 15.
 45
      Ex. Z, ZNS Specification, at 9.
                                                  90
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 91 of 347 PageID #: 91




                                    ZNS Specification, Section 2.1.1.2.1.1 46




                                    ZNS Specification, Section 2.1.1.2.1.1 47


           762.    Samsung’s Accused Instrumentalities contain logic to receive a write request from

 a host via the host interface, the write request accompanied by an address that designates a specific

 one of the subdivisions, wherein the logic to track is to, in association with execution of the write

 request, update the information indicating extent of page utilization of the specific one of the

 subdivisions. ’183 Patent, claim 1, element [1d].

           763.    Samsung’s Accused Instrumentalities are able to receive and execute a Write

 command from a host.




 46
      Id.
 47
      Id. at 10.
                                                   91
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24     Page 92 of 347 PageID #: 92




        764.    A Write command is a write request.

        765.    A Write command writes data and metadata, if applicable, to the I/O controller for

 the logical blocks indicated. See:




                            NVM Command Set Specification, Section 3.3.6 48


        766.    The Write command is accompanied by a Namespace Identifier (“NSID”) that

 specifies the namespace to which the command applies. In the context of ZNS, the NSID specifies

 a zoned namespace to which the command applies. See:




 48
   Ex. AA, NVM EXPRESS, NVM Command Set Specification, Revision 1.1 (the “NVM
 Command Set Specification”), at 53.
                                       92
Case 2:24-cv-01073-JRG           Document 1        Filed 12/24/24      Page 93 of 347 PageID #: 93




                                         ZNS Specification, Section 3.2 49




 49
      Ex. Z, ZNS Specification, at 18.
                                                    93
Case 2:24-cv-01073-JRG      Document 1      Filed 12/24/24    Page 94 of 347 PageID #: 94




                            NVMe Base Specification, Section 3.3.3.1 50


       767.   The Write command is accompanied by a logical block address (“LBA”). See:




 50
   Ex. BB, NVM EXPRESS, NVM Express Base Specification, Revision 2.0d (the “NVMe Base
 Specification”), at 107.
                                         94
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 95 of 347 PageID #: 95




                                     ZNS Specification, Section 3.2 51




                             NVM Command Set Specification, Section 3.3.6 52


          768.   The LBA accompanying a Write command corresponds to a specific one of the

 zones. See:




 51
      Ex. Z, ZNS Specification, at 18 (annotated).
 52
      Ex. AA, NVM Command Set Specification, at 54.
                                                   95
Case 2:24-cv-01073-JRG           Document 1        Filed 12/24/24        Page 96 of 347 PageID #: 96




                                   ZNS Specification, Section 2.1.1 53




                                        ZNS Specification, Section 3.3.7 54


           769.   Samsung’s Accused Instrumentalities are also able to receive and execute a Zone

 Append command from a host.

           770.   A Zone Append command is a write request.

           771.   The Zone Append command is accompanied by a Namespace Identifier (“NSID”)

 that specifies the namespace to which the command applies. In the context of ZNS, the NSID

 specifies a zoned namespace to which the command applies. See:




 53
      Ex. Z, ZNS Specification, at 8.
 54
      Id. at 20.
                                                    96
Case 2:24-cv-01073-JRG   Document 1    Filed 12/24/24      Page 97 of 347 PageID #: 97




                             ZNS Specification, Section 3.2 55




 55
      Id. at 18.
                                        97
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24   Page 98 of 347 PageID #: 98




                                NVMe Base Specification, Section 3.3.3.1 56


          772.   The Zone Append command is accompanied by a Zone Start Logical Block

 Address (“ZSLBA”) that designates a specific one of the zones. See:




 56
      Ex. BB, NVMe Base Specification, at 107.
                                                 98
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 99 of 347 PageID #: 99




                                     ZNS Specification, Section 3.4.1 57


        773.    Samsung’s Accused Instrumentalities are able to update the write pointer for a zone

 in association with execution of a write request directed to that zone. See:




                                  ZNS Specification, Section 2.1.1.2.1.1 58




                                  ZNS Specification, Section 2.1.1.2.1.1 59




 57
    Ex. Z, ZNS Specification, at 21–22.
 58
    Id. at 9.
 59
    Id. at 10.
                                                  99
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24       Page 100 of 347 PageID #:
                                                 100




                                   ZNS Specification, Section 2.1.1.2.1.1 60


          774.    Samsung’s Accused Instrumentalities contain logic to send the host the information

indicating extent of page utilization of the specific one of the subdivisions and an address

corresponding to the specific one of the subdivisions. ’183 Patent, claim 1, element [1e].

          775.    Samsung’s Accused Instrumentalities are able to send the host the write pointer and

the starting LBA of a zone, for example, in response to a Zone Management Receive command

specifying a Report Zones action. See:




60
     Id. at 10.
                                                  100
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 101 of 347 PageID #:
                                       101




                           ZNS Specification, Section 3.4.2.1 61




                          ZNS Specification, Section 3.4.2.2.1 62




61
     Id. at 26.
62
     Id.
                                       101
Case 2:24-cv-01073-JRG              Document 1      Filed 12/24/24      Page 102 of 347 PageID #:
                                                   102




                                      ZNS Specification, Section 3.4.2.2.3 63


          776.       Samsung’s Accused Instrumentalities contain logic to receive an erasure request

from the host, via the host interface, the erasure request accompanied by the address corresponding

to the specific one of the subdivisions, to responsively control erasure of each unerased erase block

in the group respective to the specific one of the subdivisions, and to update the information

indicating extent of page utilization of the specific one of the subdivisions. ’183 Patent, claim 1,

element [1f].

          777.       Samsung’s Accused Instrumentalities are able to receive and execute a Zone

Management Send command specifying a Reset Zone action from the host. See:




63
     Id. at 27–28.
                                                   102
Case 2:24-cv-01073-JRG   Document 1    Filed 12/24/24      Page 103 of 347 PageID #:
                                      103




                           ZNS Specification, Section 3.4.3 64




64
     Id. at 29.
                                      103
Case 2:24-cv-01073-JRG             Document 1      Filed 12/24/24      Page 104 of 347 PageID #:
                                                  104




                                     ZNS Specification, Section 3.4.3.1.4 65


          778.       A Zone Management Send command specifying a Reset Zone action is an erasure

request.

          779.       The Zone Management Send command is accompanied by the starting LBA of a

zone. See:




65
     Id. at 30–31.
                                                  104
Case 2:24-cv-01073-JRG              Document 1      Filed 12/24/24      Page 105 of 347 PageID #:
                                                   105



                                        ZNS Specification, Section 3.4.3 66


          780.       Samsung’s Accused Instrumentalities are able to responsively control erasure of

each unerased erase block in the zone. See:




                                      ZNS Specification, Section 3.4.3.1.4 67


          781.       Samsung’s Accused Instrumentalities are able to update the write pointer of the

zone in response to a Zone Management Send command specifying a Reset Zone action. See:




66
     Id. at 29.
67
     Id. at 30–31.
                                                   105
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 106 of 347 PageID #:
                                                106




                                 ZNS Specification, Section 2.1.1.2.1.1 68




                                  ZNS Specification, Section 3.4.3.1.4 69


       782.      Samsung’s Accused Instrumentalities contain logic to, in connection with the

erasure, detect a defect in one of the erase blocks in the group respective to the specific one of the

subdivisions, to responsively substitute one or more different erase blocks of the flash memory for

the one of the erase blocks for which the defect was detected. ’183 Patent, claim 1, element [1g].

       783.      Samsung’s Accused Instrumentalities are able to detect bad erase blocks in

connection with erasure, map out the bad erase blocks, and substitute different erase blocks for the

bad ones. See:




                                       Samsung SSD White Paper 70




68
   Id. at 10.
69
   Id. at 30–31.
70
   Ex. I, Samsung SSD White Paper, at 19.
                                                 106
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 107 of 347 PageID #:
                                                107




                                       Samsung Application Note 71




                                     Microsoft Denali Presentation 72


       784.    In Samsung’s Accused Instrumentalities, each said logic comprises at least one of

hardware circuitry or instructions stored on non-transitory, machine-readable media that when

executed are to control the operation of hardware circuitry. ’183 Patent, claim 1, element [1h]. See,




71
   Ex. CC, SAMSUNG, Over-provisioning Maximize the Lifetime and Performance of Your SSD
with Small Effect to Earn More, available at:
https://download.semiconductor.samsung.com/resources/others/Samsung_SSD_845DC_04_Ove
r-provisioning.pdf, at 2 (the “Samsung Application Note.”)
72
   Ex. DD, MICROSOFT, Denali the Next Generation High Density Storage Interface, March 2018
OCP Summit, at 15 (the “Microsoft Denali Presentation”) (annotated).
                                              107
Case 2:24-cv-01073-JRG           Document 1    Filed 12/24/24     Page 108 of 347 PageID #:
                                              108



for example:




                                    Samsung PM1733 Product Brief 73


         785.   Accordingly, Samsung’s Accused Instrumentalities contain each and every element

in claim 1 of the ’183 Patent.

         786.   SEC’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

         787.   SEC’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

         788.   SEC’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.




73
     Ex. Q, Samsung PM1733 Product Brief (annotated).
                                             108
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24       Page 109 of 347 PageID #:
                                              109



       789.    SEC directly infringes the Asserted Patent by using the Accused Instrumentalities.

       790.    SEC directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       791.    SEC directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       792.    SEC directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       793.    SEC directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       794.    SEC directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       795.    SEA’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

       796.    SEA’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       797.    SEA’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       798.    SEA directly infringes the Asserted Patent by using the Accused Instrumentalities

in the United States.

       799.    SEA directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       800.    SEA directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

                                               109
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 110 of 347 PageID #:
                                               110



       801.    SEA directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       802.    SEA directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       803.    SEA directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       804.    SEC induces infringement by Samsung’s customers by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

       805.    SEC induces infringement by SEA by financing, supporting, encouraging,

directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

       806.    SEC induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

       807.    SEC contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

                                                110
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24       Page 111 of 347 PageID #:
                                                  111



facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       808.       SEC contributes to infringement by SEA by offering to sell, selling, distributing, or

otherwise providing, in the United States, components that constitute a material part of the

inventions in the Asserted Patents and components that are used to practice one or more processes

or methods claimed in the Asserted Patents. These components for the Accused Instrumentalities

include memory controllers, NAND flash, firmware, software, APIs and libraries associated with

the firmware or software, software or hardware tools used to install or facilitate the installation of

the Accused Instrumentalities or their components, software or hardware tools used to assemble

or facilitate the assembly of the Accused Instrumentalities or their components, and software or

hardware tools used to configure or facilitate the configuration of the Accused Instrumentalities or

their components. In offering to sell, selling, distributing, or otherwise providing these

components, SEC has known or has had reason to believe that these components are especially

made or especially adapted for use in an infringement of the Asserted Patents and that these

components are not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       809.       SEC contributes to infringement by other Samsung subsidiaries by offering to sell,

                                                  111
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 112 of 347 PageID #:
                                               112



selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       810.    SEC has notice of the Asserted Patent and Radian’s infringement allegations at least

as of the filing of this Complaint.

       811.    SEC took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       812.    SEA induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

       813.    SEA induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

                                                112
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 113 of 347 PageID #:
                                               113



manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

       814.    SEA contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       815.    SEA contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

                                                113
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 114 of 347 PageID #:
                                               114



hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       816.    SEA has notice of the Asserted Patent and Radian’s infringement allegations at

least as of the filing of this Complaint.

       817.    SEA took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       818.    The acts that Radian alleges to give rise to infringement liability, as described

above, are continuing.

       819.    The acts that Radian alleges to give rise to infringement liability, as described

above, will continue unless enjoined.

       820.    SEC’s infringement of the Asserted Patent is ongoing.

       821.    SEC will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       822.    SEC’s ongoing infringement of the Asserted Patent is willful.

       823.    SEC’s ongoing infringement of the Asserted Patent is egregious.

       824.    SEA’s infringement of the Asserted Patent is ongoing.

       825.    SEA will not stop its infringement of the Asserted Patent absent a Court order

                                                114
Case 2:24-cv-01073-JRG             Document 1        Filed 12/24/24       Page 115 of 347 PageID #:
                                                    115



restraining it from future infringement.

          826.    SEA’s ongoing infringement of the Asserted Patent is willful.

          827.    SEA’s ongoing infringement of the Asserted Patent is egregious.

          828.    Samsung has no acceptable non-infringing alternatives to the Asserted Patent.

          829.    Hard disk drives (or “HDDs”) are not an acceptable non-infringing alternative to

the Asserted Patent.

          830.    Conventional SSDs with a FTL are not an acceptable non-infringing alternative to

the Asserted Patent.

          831.    Flexible Data Placement (or “FDP”) SSDs are not an acceptable non-infringing

alternative to the Asserted Patent.

          832.    SEC’s actions have caused damage to Radian. Radian is entitled to recover from

SEC the damages sustained by Radian as a result of SEC’s wrongful acts in an amount subject to

proof at trial.

          833.    SEA’s actions have caused damage to Radian. Radian is entitled to recover from

SEA the damages sustained by Radian as a result of SEA’s wrongful acts in an amount subject to

proof at trial.

                   COUNT TWO: INFRINGEMENT OF THE ’772 PATENT

          834.    Radian incorporates by reference the preceding paragraphs as if fully set forth

herein.

          835.    U.S. Patent No. 11,709,772 (“the ’772 Patent”), entitled “Storage System with

Multiplane Segments and Cooperative Flash Management,” was legally and duly issued on July

25, 2023, naming Andrey V. Kuzmin and James G. Wayda as the inventor. See Exhibit B.

          836.    Radian owns all rights, title, and interest in the ’772 Patent, and holds all substantial


                                                    115
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24        Page 116 of 347 PageID #:
                                                  116



rights pertinent to this suit, including the right to sue and recover for all past, current, and future

infringement.

          837.   The ’772 Patent is valid, enforceable, and directed to patentable subject matter.

          838.   Radian has complied with 35 U.S.C. § 287 with respect to the ’772 Patent.

          839.   The ’772 Patent described challenges faced by conventional memory devices,

including the difficulties to realize the multi-plane benefits. See, for example:

                         Unfortunately, it is difficult to realize the benefits of multi-
                 plane or multi-die architecture at an application or operating system
                 level. That is to say, logical addresses typically arrive at the memory
                 controller from the host as a stream of random accesses, and are
                 sequentially assigned to first available physical space by the
                 memory controller; as memory, particularly flash memory, is erased
                 and recycled via read, write, wear leveling, garbage collection and
                 other processes, sequential logical addresses become scattered
                 throughout physical memory space. For multi-plane memory
                 therefore, there is no practical mechanism for the host or memory
                 controller to group related data in a manner geared for multi-plane
                 access (i.e., there is no guarantee available physical addresses used
                 for related data will be consistent with device multi-plane
                 addressing restrictions).

                        A need therefore exists for improvements that provide
                 additional flexibility to systems and application designers. Ideally,
                 such improvements would provide flexibility in storing and
                 accessing multiple pages of data, for example, across multiple dies
                 or planes. 74

          840.   The ’772 Patent proposed novel solutions that were not routine, ordinary, or

conventional at the time of the inventions. Some exemplary embodiments of the inventions relating

to these solutions are described in the specification. See, for example:

                        [W]ith insight into geometry, a host can organize address
                 space in a manner geared for improved memory access, e.g.,



74
     Ex. B, U.S. Patent No. 11,709,772, at 2:5–41.
                                                 116
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 117 of 347 PageID #:
                                               117



               according to a policy aimed at IO optimization for managing
               multiple or linked pages. 75

                       In applying these techniques, where allocation requests
               allow, the host assigns physical space for writes so as to facilitate
               both immediate write accesses and later multiple page read access,
               all with the benefit of the improved throughput. For example, later
               accesses can be performed in a manner unencumbered by memory
               controller address translation requirements; for multi-plane memory
               and shingled drives, data placement can be pre-planned in a manner
               consistent with any inter-plane addressing restrictions for multi-
               array accesses. 76

                       Optional features mentioned above are supported by
               structure where the memory controller also stores information
               specific to each of plural subdivisions of memory (e.g., for each
               physical memory unit managed by the host, in on-board registers
               reserved for this purpose). The memory controller makes data based
               on this stored information accessible to the host. 77

       841.    Some of these described solutions are reflected in the claimed inventions of the

’772 Patent.

       842.    On information and belief, Samsung directly infringed and is currently infringing,

literally and/or under the doctrine of equivalents, at least one claim of the ’772 Patent by, among

other things, making, using, selling, offering to sell, and/or importing within this District and

elsewhere in the United States, without authority, the Accused Instrumentalities. For example, as

shown below, the Accused Instrumentalities practice at least claim 2 of the ’772 Patent.

       843.    Claim 2 of the ’772 Patent recites:

               [preamble] A solid state storage drive (SSD) comprising:




75
   Id. at 4:61–64.
76
   Id. at 5:1–10.
77
   Id. at 12:3–9.
                                               117
Case 2:24-cv-01073-JRG    Document 1       Filed 12/24/24       Page 118 of 347 PageID #:
                                          118



                 [2a] a host interface configured to communicate with a host using

                 commands from a Non-Volatile Memory Express (NVMe) standard;

                 [2b] non-volatile memory comprising NAND flash memory, the NAND

                 flash memory comprising a plurality of erase units and each erase unit

                 comprising a plurality of pages;

                 [2c] logic coupled to the host interface and to the flash memory, wherein

                 the logic comprises at least one of hardware logic and software logic, and

                 communicates with the host via the host interface using NVMe commands;

                 [2d] wherein the logic operates to:

                         [2e] divide the flash memory into zones; wherein the zones are non-

                         overlapping subdivisions of the flash memory, each zone comprises

                         two or more erase units, the erase units in at least one zone are on

                         two or more different planes, and each zone is associated with a zone

                         start logical block address and a range of logical block addresses;

                         [2f] in response to a write command from the host to write data

                         within the range of logical block addresses of a specified zone,

                         perform a multi-plane write of said data to erase units on different

                         planes in the specified zone using a common page address for the

                         respective erase units on the different planes;

                         [2g] generate metadata based on accessing and maintenance of erase

                         units in the specified zone; and

                         [2h] based on the metadata, make a notification available to the host

                         that recommends performing maintenance on the specified zone,

                                          118
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 119 of 347 PageID #:
                                               119



                              wherein the recommendation is associated with the zone start logical

                              block address of the specified zone.

       844.     Samsung’s Accused Instrumentalities implement the NVMe Base Specification in

the same ways or substantially the same ways that are material to infringement.

       845.     Samsung’s Accused Instrumentalities implement the NVMe Command Set

Specification in the same ways or substantially the same ways that are material to infringement.

       846.     Samsung’s Accused Instrumentalities implement the NVMe Zoned Namespace

Command Set Specification in the same ways or substantially the same ways that are material to

infringement.

       847.     Samsung’s Accused Instrumentalities implement other NVMe specifications in the

same ways or substantially the same ways that are material to infringement.

       848.     Changes from one revision to another in the cited NVMe specifications are not

material to infringement.

       849.     Samsung’s Accused Instrumentalities infringe in the same way or substantially the

same way. Variations in other features (e.g., form factor, housing, storage capacity, memory

controller speeds, ports, or types of flash memory) are not material to infringement.

       850.     To the extent the preamble is considered a limitation, Samsung’s Accused

Instrumentalities contain a solid state storage drive (SSD). ’772 Patent, claim 2, preamble.

       851.     For example, Samsung’s PM1733 is an SSD. See:




                                               119
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24   Page 120 of 347 PageID #:
                                                120




                                   Samsung PM1733 Product Brief 78


         852.   Samsung’s Accused Instrumentalities contain a host interface configured to

communicate with a host using commands from a Non-Volatile Memory Express (NVMe)

standard. ’772 Patent, claim 2, element [2a].

         853.   For example, Samsung’s PM1733 contains a host interface configured to

communicate with a host using NVMe commands. See:




78
     Ex. Q, Samsung PM1733 Product Brief.
                                                120
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 121 of 347 PageID #:
                                               121




                                    Samsung PM1733 Product Brief 79


          854.    Samsung’s Accused Instrumentalities contain non-volatile memory comprising

NAND flash memory, the NAND flash memory comprising a plurality of erase units and each

erase unit comprising a plurality of pages. ’772 Patent, claim 2, element [2b].

          855.    For example, Samsung’s PM1733 contains non-volatile memory comprising

NAND flash memory. See:




                                    Samsung PM1733 Product Brief 80


          856.    The NAND flash memory in Samsung’s Accused Instrumentalities comprises a




79
     Id. (annotated).
80
     Id. (annotated).
                                               121
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24        Page 122 of 347 PageID #:
                                                 122



plurality of blocks (erase units). See:




                                          Samsung SSD White Paper 81




                                Samsung Over-Provisioning White Paper 82




                                          Flash Memory Integration 83




81
   Ex. I, Samsung SSD White Paper, at 17.
82
   Ex. V, Samsung Over-Provisioning White Paper, at 2 (highlighted).
83
   Ex. W, FLASH MEMORY INTEGRATION, at 22 (highlighted).
                                           122
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 123 of 347 PageID #:
                                               123




                                       Flash Memory Integration 84


         857.   Each block comprises a plurality of pages. See:




                                      Samsung SSD White Paper 85




84
     Id. at 24.
85
     Ex. I, Samsung SSD White Paper, at 17.
                                               123
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24    Page 124 of 347 PageID #:
                                              124




                               Samsung Over-Provisioning White Paper 86




86
     Ex. V, Samsung Over-Provisioning White Paper, at 2.
                                             124
Case 2:24-cv-01073-JRG       Document 1    Filed 12/24/24        Page 125 of 347 PageID #:
                                          125




                                   Flash Memory Integration 87




87
     Ex. W, FLASH MEMORY INTEGRATION, at 18.
                                           125
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24       Page 126 of 347 PageID #:
                                                126



                                        Flash Memory Integration 88


          858.    Samsung’s Accused Instrumentalities contain logic coupled to the host interface

and to the flash memory, wherein the logic comprises at least one of hardware logic and software

logic, and communicates with the host via the host interface using NVMe commands. ’772 Patent,

claim 2, element [2c].

          859.    Samsung’s Accused Instrumentalities contain a host interface and flash memory.

See ’772 Patent, claim 2, elements [2a], [2b]. Samsung’s Accused Instrumentalities contain logic

(controller annotated in red) coupled to the host interface and the flash memory (NAND annotated

in blue) comprising at least one of hardware logic and software logic. See, for example:




88
     Id. at 22.
                                                126
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 127 of 347 PageID #:
                                               127



                                    Samsung PM1733 Product Brief 89


         860.   Samsung’s Accused Instrumentalities contain logic which communicates with the

host via the host interface using NVMe commands. See:




                                    Samsung PM1733 Product Brief 90


         861.   Samsung’s Accused Instrumentalities satisfy the claim element “wherein the logic

operates to.” ’772 Patent, claim 2, element [2d]. Samsung’s Accused Instrumentalities contain

logic that operates to perform elements [2e] through [2h]. See below.

         862.   Samsung’s Accused Instrumentalities contain logic that operates to divide the flash

memory into zones; wherein the zones are non-overlapping subdivisions of the flash memory, each

zone comprises two or more erase units, the erase units in at least one zone are on two or more

different planes, and each zone is associated with a zone start logical block address and a range of

logical block addresses. ’772 Patent, claim 2, element [2e].

         863.   Samsung’s Accused Instrumentalities are able to divide the flash memory into




89
     Ex. Q, Samsung PM1733 Product Brief (annotated).
90
     Id. (annotated).
                                             127
Case 2:24-cv-01073-JRG        Document 1      Filed 12/24/24     Page 128 of 347 PageID #:
                                             128



zones. The zones are non-overlapping subdivisions of the flash memory. See:




                                  Samsung PM1733 Product Brief 91




91
     Id. (annotated).
                                             128
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24      Page 129 of 347 PageID #:
                                                  129




                                       ZNS Specification, Section 2.1.1 92


          864.   Each zone in Samsung’s Accused Instrumentalities comprises two or more erase

units. See:




92
     Ex. Z, ZNS Specification, at 8.
                                                  129
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24     Page 130 of 347 PageID #:
                                               130




                                          Presentation on ZNS 93




93
     Ex. X, What You Can’t Forget: Exploiting Parallelism for Zoned Namespaces, at 4.
                                               130
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 131 of 347 PageID #:
                                              131



                                      Samsung Research Paper 94


       865.    The erase units in at least one zone of Samsung’s Accused Instrumentalities are on

two or more different planes. See:




                                     EETimes V-NAND analysis 95




94
   Ex. EE, Kyuhwa Han et al., ZNS+: Advanced Zoned Namespace Interface for Supporting In-
Storage Zone Compaction, 15th USENIX Symposium on Operating Systems Design and
Implementation, at 149.
95
   Ex. FF, Jeongdong Choe, EETimes, Samsung’s 3D V-NAND 32L vs 48L–Just Vertical
Expansion?, available at: https://www.eetimes.com/samsungs-3d-v-nand-32l-vs-48l-just-
vertical-expansion/ (highlighted).
                                              131
Case 2:24-cv-01073-JRG       Document 1     Filed 12/24/24      Page 132 of 347 PageID #:
                                           132




                                 AnandTech V-NAND analysis 96




                                    Samsung Research Paper 97


      866.   Each zone is associated with a zone start LBA and a range of LBA. See:




96
   Ex. GG, Anton Shilov, AnandTech, Samsung Starts Mass Production of 9th Generation V-
NAND: 1Tb 3D TLC NAND, available at: https://www.anandtech.com/show/21365/samsung-
starts-mass-production-of-9th-generation-vnand-1tb-3d-tlc-nand (annotated).
97
   Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                             132
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24      Page 133 of 347 PageID #:
                                                  133




                                       ZNS Specification, Section 2.1.1 98




98
     Ex. Z, ZNS Specification, at 8.
                                                  133
Case 2:24-cv-01073-JRG             Document 1      Filed 12/24/24      Page 134 of 347 PageID #:
                                                  134



                                     ZNS Specification, Section 3.4.2.2.3 99




                                     ZNS Specification, Section 4.1.5.1 100


          867.     Samsung’s Accused Instrumentalities contain logic that operates to, in response to

a write command from the host, write data within the range of logical block addresses of a specified

zone, perform a multi-plane write of said data to erase units on different planes in the specified

zone using a common page address for the respective erase units on the different planes. ’772

Patent, claim 2, element [2f].

          868.     Samsung’s Accused Instrumentalities are able to write data in response to a Write

command from the host. The Write command specifies LBAs within the range of LBAs of a zone,

otherwise the memory device will report an error. See:




99
     Id. at 28.
100
      Id. at 38.
                                                  134
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 135 of 347 PageID #:
                                                 135




                                     ZNS Specification, Section 3.3.7 101


          869.    Samsung’s Accused Instrumentalities are also able to write data in response to a

Zone Append command from the host. The Zone Append command specifies a zone, and the

device writes data within the range of LBAs of the specified zone. See:




101
      Id. at 20 (annotated).
                                                 135
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24      Page 136 of 347 PageID #:
                                              136




                                  ZNS Specification, Section 3.4.1 102


       870.    Samsung’s Accused Instrumentalities perform a multi-plane write to erase units on

different planes in the specified zone using a common page address for the respective erase units

on the different planes. See:




                                      Samsung Research Paper 103


       871.    Samsung’s Accused Instrumentalities contain logic that operates to generate

metadata based on accessing and maintenance of erase units in the specified zone. ’772 Patent,

claim 2, element [2g].




102
  Id. at 21–22.
103
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       136
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24         Page 137 of 347 PageID #:
                                               137



          872.   Samsung’s Accused Instrumentalities generate metadata based on accessing and

maintenance of erase units for purposes of internal operations. See:




                               Samsung Over-Provisioning White Paper 104




104
      Ex. CC, Samsung Over-Provisioning White Paper, at 1.
                                             137
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24    Page 138 of 347 PageID #:
                                        138




                         Samsung Over-Provisioning White Paper 105




105
      Id., at 6.
                                        138
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 139 of 347 PageID #:
                                               139




                                      Samsung SSD White Paper 106




106
      Ex. I, Samsung SSD White Paper, at 19.
                                               139
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 140 of 347 PageID #:
                                                140



                                      Samsung Application Note 107




                                     ZNS Specification, Section 5.4 108


          873.   Samsung’s Accused Instrumentalities contain logic that operates to, based on the

metadata, make a notification available to the host that recommends performing maintenance on

the specified zone, wherein the recommendation is associated with the zone start logical block

address of the specified zone. ’772 Patent, claim 2, element [2h].

          874.   ZNS Specification defines a “Reset Zone Recommended” attribute, which is a

notification available to the host that recommends performing maintenance on a specified zone.

See:




107
      Ex. CC, Samsung Application Note, at 2.
108
      Ex. Z, ZNS Specification, at 41.
                                                140
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 141 of 347 PageID #:
                                                141




                                     ZNS Specification, Section 5.4 109




                                  ZNS Specification, Section 3.4.2.2.3 110


          875.    The Reset Zone Recommended attribute is associated with the zone start logical




109
      Id. at 41–42.
110
      Id. at 28.
                                                141
Case 2:24-cv-01073-JRG        Document 1      Filed 12/24/24   Page 142 of 347 PageID #:
                                             142



block address (or ZSLBA) of the specified zone. See:




                                             142
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24       Page 143 of 347 PageID #:
                                                 143




                                   ZNS Specification, Section 3.4.2.2.3 111


          876.    Accordingly, Samsung’s Accused Instrumentalities contain each and every element

in claim 2 of the ’772 Patent.

          877.    SEC’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

          878.    SEC’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

          879.    SEC’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

          880.    SEC directly infringes the Asserted Patent by using the Accused Instrumentalities.

          881.    SEC directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

          882.    SEC directly infringes the Asserted Patent by making the Accused Instrumentalities




111
      Id. at 28 (annotated).
                                                  143
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24       Page 144 of 347 PageID #:
                                              144



in the United States.

       883.    SEC directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       884.    SEC directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       885.    SEC directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       886.    SEA’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

       887.    SEA’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       888.    SEA’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       889.    SEA directly infringes the Asserted Patent by using the Accused Instrumentalities

in the United States.

       890.    SEA directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       891.    SEA directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       892.    SEA directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       893.    SEA directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

                                               144
Case 2:24-cv-01073-JRG           Document 1     Filed 12/24/24        Page 145 of 347 PageID #:
                                               145



       894.    SEA directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       895.    SEC induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities.

       896.    SEC induces infringement by SEA by financing, supporting, encouraging,

directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       897.    SEC induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       898.    SEC contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

                                                145
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24       Page 146 of 347 PageID #:
                                                  146



otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       899.       SEC contributes to infringement by SEA by offering to sell, selling, distributing, or

otherwise providing, in the United States, components that constitute a material part of the

inventions in the Asserted Patents and components that are used to practice one or more processes

or methods claimed in the Asserted Patents. These components for the Accused Instrumentalities

include memory controllers, NAND flash, firmware, software, APIs and libraries associated with

the firmware or software, software or hardware tools used to install or facilitate the installation of

the Accused Instrumentalities or their components, software or hardware tools used to assemble

or facilitate the assembly of the Accused Instrumentalities or their components, and software or

hardware tools used to configure or facilitate the configuration of the Accused Instrumentalities or

their components. In offering to sell, selling, distributing, or otherwise providing these

components, SEC has known or has had reason to believe that these components are especially

made or especially adapted for use in an infringement of the Asserted Patents and that these

components are not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       900.       SEC contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

                                                  146
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 147 of 347 PageID #:
                                               147



libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       901.    SEC has notice of the Asserted Patent and Radian’s infringement allegations at least

as of the filing of this Complaint.

       902.    SEC took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       903.    SEA induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

       904.    SEA induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

       905.    SEA contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

                                                147
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 148 of 347 PageID #:
                                               148



material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       906.    SEA contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

                                                148
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 149 of 347 PageID #:
                                               149



components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       907.    SEA has notice of the Asserted Patent and Radian’s infringement allegations at

least as of the filing of this Complaint.

       908.    SEA took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       909.    The acts that Radian alleges to give rise to infringement liability, as described

above, are continuing.

       910.    The acts that Radian alleges to give rise to infringement liability, as described

above, will continue unless enjoined.

       911.    SEC’s infringement of the Asserted Patent is ongoing.

       912.    SEC will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       913.    SEC’s ongoing infringement of the Asserted Patent is willful.

       914.    SEC’s ongoing infringement of the Asserted Patent is egregious.

       915.    SEA’s infringement of the Asserted Patent is ongoing.

       916.    SEA will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       917.    SEA’s ongoing infringement of the Asserted Patent is willful.

       918.    SEA’s ongoing infringement of the Asserted Patent is egregious.

       919.    Samsung has no acceptable non-infringing alternatives to the Asserted Patent.

                                                149
Case 2:24-cv-01073-JRG             Document 1        Filed 12/24/24       Page 150 of 347 PageID #:
                                                    150



          920.    Hard disk drives (or “HDDs”) are not an acceptable non-infringing alternative to

the Asserted Patent.

          921.    Conventional SSDs with a FTL are not an acceptable non-infringing alternative to

the Asserted Patent.

          922.    Flexible Data Placement (or “FDP”) SSDs are not an acceptable non-infringing

alternative to the Asserted Patent.

          923.    SEC’s actions have caused damage to Radian. Radian is entitled to recover from

SEC the damages sustained by Radian as a result of SEC’s wrongful acts in an amount subject to

proof at trial.

          924.    SEA’s actions have caused damage to Radian. Radian is entitled to recover from

SEA the damages sustained by Radian as a result of SEA’s wrongful acts in an amount subject to

proof at trial.

                  COUNT THREE: INFRINGEMENT OF THE ’614 PATENT

          925.    Radian incorporates by reference the preceding paragraphs as if fully set forth

herein.

          926.    U.S. Patent No. 11,681,614 (“the ’614 Patent”), entitled “Storage Device with

Subdivisions, Subdivision Query, and Write Operations,” was legally and duly issued on June 20,

2023, naming Andrey V. Kuzmin and James G. Wayda as the inventor. See Exhibit C.

          927.    Radian owns all rights, title, and interest in the ’614 Patent, and holds all substantial

rights pertinent to this suit, including the right to sue and recover for all past, current, and future

infringement.

          928.    The ’614 Patent is valid, enforceable, and directed to patentable subject matter.

          929.    Radian has complied with 35 U.S.C. § 287 with respect to the ’614 Patent.


                                                    150
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24        Page 151 of 347 PageID #:
                                                  151



          930.   The ’614 Patent described challenges faced by conventional memory devices,

including the difficulties to realize the multi-plane benefits. See, for example:

                         Unfortunately, it is difficult to realize the benefits of multi-
                 plane or multi-die architecture at an application or operating system
                 level. That is to say, logical addresses typically arrive at the memory
                 controller from the host as a stream of random accesses, and are
                 sequentially assigned to first available physical space by the
                 memory controller; as memory, particularly flash memory, is erased
                 and recycled via read, write, wear leveling, garbage collection and
                 other processes, sequential logical addresses become scattered
                 throughout physical memory space. For multi-plane memory
                 therefore, there is no practical mechanism for the host or memory
                 controller to group related data in a manner geared for multi-plane
                 access (i.e., there is no guarantee available physical addresses used
                 for related data will be consistent with device multi-plane
                 addressing restrictions).

                        A need therefore exists for improvements that provide
                 additional flexibility to systems and application designers. Ideally,
                 such improvements would provide flexibility in storing and
                 accessing multiple pages of data, for example, across multiple dies
                 or planes. 112

          931.   The ’614 Patent proposed novel solutions that were not routine, ordinary, or

conventional at the time of the inventions. Some exemplary embodiments of the inventions relating

to these solutions are described in the specification. See, for example:

                        [W]ith insight into geometry, a host can organize address
                 space in a manner geared for improved memory access, e.g.,
                 according to a policy aimed at IO optimization for managing
                 multiple or linked pages. 113

                         In applying these techniques, where allocation requests
                 allow, the host assigns physical space for writes so as to facilitate
                 both immediate write accesses and later multiple page read access,




112
      Ex. C, U.S. Patent No. 11,681,614, at 2:7–41.
113
      Id. at 4:61–64.
                                                 151
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24      Page 152 of 347 PageID #:
                                                  152



                  all with the benefit of the improved throughput. For example, later
                  accesses can be performed in a manner unencumbered by memory
                  controller address translation requirements; for multi-plane memory
                  and shingled drives, data placement can be pre-planned in a manner
                  consistent with any inter-plane addressing restrictions for multi-
                  array accesses. 114

                          Optional features mentioned above are supported by
                  structure where the memory controller also stores information
                  specific to each of plural subdivisions of memory (e.g., for each
                  physical memory unit managed by the host, in on-board registers
                  reserved for this purpose). The memory controller makes data based
                  on this stored information accessible to the host. 115

          932.    Some of these described solutions are reflected in the claimed inventions of the

’614 Patent.

          933.    On information and belief, Samsung directly infringed and is currently infringing,

literally and/or under the doctrine of equivalents, at least one claim of the ’614 Patent by, among

other things, making, using, selling, offering to sell, and/or importing within this District and

elsewhere in the United States, without authority, the Accused Instrumentalities. For example, as

shown below, the Accused Instrumentalities practice at least claim 1 of the ’614 Patent.

          934.    Claim 1 of the ’614 Patent recites:

                  [preamble] A storage device comprising:

                         [1a] flash memory divided into zones, each zone of the zones being a

                         subdivision comprising a set of erase units, and each erase unit of the set of

                         erase units comprising host accessible pages, wherein each zone:

                                 [1b] is associated with a logical address range,




114
      Id. at 5:1–10.
115
      Id. at 12:4–10.
                                                  152
Case 2:24-cv-01073-JRG    Document 1         Filed 12/24/24      Page 153 of 347 PageID #:
                                            153



                         [1c] has a zone size for which the storage device is operable to

                         receive a management command from a host that results in the

                         storage device performing an erasure of one or more erase units of

                         the set of erase units,

                         [1d] is in a full state when there are no host accessible pages

                         available for writing, and

                         [1e] is in an empty state when all host accessible pages are available

                         for writing; and

                 [1f] logic operable to:

                         [1g] return information about the zones in response to a query

                         command from the host, the information about the zones comprising

                         a list of the zones accessible by the host, a zone state, the zone size,

                         logical addresses associated with respective zones, and information

                         representing an extent to which the respective zones include host

                         accessible pages available for writing;

                         [1h] write data to the set of erase units of a specified zone using a

                         multi-plane write command such that the data is written

                         concurrently to two or more erase units of the set of erase units; and

                         [1i] update the information representing the extent to which the

                         specified zone includes host accessible pages available for writing,

                         [1j] wherein the logic comprises at least one of hardware logic or

                         instructions stored on non-transitory machine-readable media that,

                         when executed, control operation of hardware circuitry.

                                            153
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 154 of 347 PageID #:
                                               154



       935.     Samsung’s Accused Instrumentalities implement the NVMe Base Specification in

the same ways or substantially the same ways that are material to infringement.

       936.     Samsung’s Accused Instrumentalities implement the NVMe Command Set

Specification in the same ways or substantially the same ways that are material to infringement.

       937.     Samsung’s Accused Instrumentalities implement the NVMe Zoned Namespace

Command Set Specification in the same ways or substantially the same ways that are material to

infringement.

       938.     Samsung’s Accused Instrumentalities implement other NVMe specifications in the

same ways or substantially the same ways that are material to infringement.

       939.     Changes from one revision to another in the cited NVMe specifications are not

material to infringement.

       940.     Samsung’s Accused Instrumentalities infringe in the same way or substantially the

same way. Variations in other features (e.g., form factor, housing, storage capacity, memory

controller speeds, ports, or types of flash memory) are not material to infringement.

       941.     To the extent the preamble is considered a limitation, Samsung’s Accused

Instrumentalities contain a storage device. ’614 Patent, claim 1, preamble.

       942.     Samsung’s Accused Instrumentalities contain flash memory divided into zones,

each zone of the zones being a subdivision comprising a set of erase units, and each erase unit of

the set of erase units comprising host accessible pages. ’614 Patent, claim 1, element [1a].

       943.     For example, Samsung’s PM1733 contains flash memory. See:




                                               154
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24   Page 155 of 347 PageID #:
                                                 155




                                    Samsung PM1733 Product Brief 116


          944.   Samsung’s Accused Instrumentalities are able to divide memory into zones. See:




                                    Samsung PM1733 Product Brief 117




116
      Ex. Q, PM1733 Product Brief (annotated).
117
      Id. (annotated).
                                                 155
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 156 of 347 PageID #:
                                                    156




                                        ZNS Specification, Section 2.1.1 118


          945.    Each zone is a subdivision comprising a set of blocks (erase units). See:




118
      Ex. Z, ZNS Specification, at 8.
                                                    156
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 157 of 347 PageID #:
                                                157




                                          Presentation on ZNS 119




                          SSDs with NVMe Zoned Namespace (ZNS) Support 120


          946.   Each erase unit comprises host-accessible pages. See:




119
      Ex. X, What You Can’t Forget: Exploiting Parallelism for Zoned Namespaces, at 4.
120
      Ex. Y, SSDs with NVMe Zoned Namespace (ZNS) Support.
                                               157
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 158 of 347 PageID #:
                                               158




                                      Samsung SSD White Paper 121




121
      Ex. I, Samsung SSD White Paper, at 17.
                                               158
Case 2:24-cv-01073-JRG         Document 1     Filed 12/24/24        Page 159 of 347 PageID #:
                                             159



                              Samsung Over-Provisioning White Paper 122




                                     Flash Memory Integration 123




122
      Ex. V, Samsung Over-Provisioning White Paper, at 2.
123
      Ex. W, FLASH MEMORY INTEGRATION, at 18 (highlighted).
                                              159
Case 2:24-cv-01073-JRG             Document 1     Filed 12/24/24        Page 160 of 347 PageID #:
                                                 160




                                         Flash Memory Integration 124


          947.     Samsung’s Accused Instrumentalities contain zones wherein each zone is

associated with a logical address range. ’614 Patent, claim 1, element [1b].

          948.     Each zone is associated with a range of LBAs. See:




124
      Id. at 22.
                                                  160
Case 2:24-cv-01073-JRG          Document 1         Filed 12/24/24      Page 161 of 347 PageID #:
                                                  161



                                      ZNS Specification, Section 2.1.1 125




                                 ZNS Specification, Section 3.4.2.2.3 126




                                  ZNS Specification, Section 4.1.5.1 127


       949.    Samsung’s Accused Instrumentalities contain zones wherein each zone has a zone

size for which the storage device is operable to receive a management command from a host that

results in the storage device performing an erasure of one or more erase units of the set of erase

units. ’614 Patent, claim 1, element [1c].

       950.    Each zone has a zone size. See:




125
    Ex. Z, ZNS Specification, at 8.
126
    Id. at 28.
127
    Id. at 38.
                                                  161
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 162 of 347 PageID #:
                                                162




                                  ZNS Specification, Section 3.4.2.2.3 128


          951.     Samsung’s Accused Instrumentalities are able to receive and execute a zone

management send command specifying a reset zone action (a management command) from the

host that results in the storage device performing an erasure of one or more erase units within the

zone. See:




128
      Id. at 28.
                                                162
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 163 of 347 PageID #:
                                                 163



                                     ZNS Specification, Section 3.4.3 129




                                   ZNS Specification, Section 3.4.3.1.4 130


          952.    Samsung’s Accused Instrumentalities contain zones wherein each zone is in a full

state when there are no host accessible pages available for writing. ’614 Patent, claim 1, element

[1d].

          953.    A zone is in a full state when there are no host accessible pages available for




129
      Id. at 29.
130
      Id. at 30–31.
                                                 163
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 164 of 347 PageID #:
                                       164



writing. See:




                          ZNS Specification, Section 2.1.1.3 131




                          ZNS Specification, Section 2.1.1.3 132




131
      Id. at 12.
132
      Id. at 13.
                                       164
Case 2:24-cv-01073-JRG             Document 1       Filed 12/24/24       Page 165 of 347 PageID #:
                                                   165




                                      ZNS Specification, Section 2.1.1.3 133


            954.   Samsung’s Accused Instrumentalities contain zones wherein each zone is in an

empty state when all host accessible pages are available for writing. ’614 Patent, claim 1, element

[1e].

            955.   A zone is in an empty state when all host accessible pages are available for writing.

See:




133
      Id.
                                                   165
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24      Page 166 of 347 PageID #:
                                        166



                          ZNS Specification, Section 2.1.1.3 134




                         ZNS Specification, Section 2.1.1.2.1.1 135




                          ZNS Specification, Section 2.1.1.3 136




                          ZNS Specification, Section 2.1.1.3 137




                          ZNS Specification, Section 2.1.1.3 138




134
    Id. at 12.
135
    Id. at 10.
136
    Id. at 11.
137
    Id. at 12.
138
    Id. at 13.
                                        166
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 167 of 347 PageID #:
                                                167




                                   ZNS Specification, Section 2.1.1.3 139




                                   ZNS Specification, Section 2.1.1.3 140




                                   ZNS Specification, Section 2.1.1.5 141


        956.     Samsung’s Accused Instrumentalities contain the claim element “logic operable

to.” ’614 Patent, claim 1, element [1f]. Samsung’s Accused Instrumentalities contain logic

operable to perform elements [1g] through [1j]. See below.

        957.     Samsung’s Accused Instrumentalities contain logic operable to return information

about the zones in response to a query command from the host, the information about the zones

comprising a list of the zones accessible by the host, a zone state, the zone size, logical addresses

associated with respective zones, and information representing an extent to which the respective

zones include host accessible pages available for writing. ’614 Patent, claim 1, element [1g].

        958.     Samsung’s Accused Instrumentalities are able to receive and execute a zone

management receive command. See:




139
    Id.
140
    Id. at 14.
141
    Id. at 15.
                                                167
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24       Page 168 of 347 PageID #:
                                                168




                                    ZNS Specification, Section 3.4.2 142


          959.     In response to a Zone Management Receive command specifying a Report Zones

action with the reporting option set to ‘0h’, the memory device returns information to list all zones,

as well as the zone state, zone capacity (zone size), zone start LBA, and write pointer of all zones.

See:




                                    ZNS Specification, Section 3.4.2 143




142
      Id. at 24.
143
      Id.
                                                 168
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 169 of 347 PageID #:
                                       169




                           ZNS Specification, Section 3.4.2 144




144
      Id. at 25–26.
                                       169
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24      Page 170 of 347 PageID #:
                                        170




                          ZNS Specification, Section 3.4.2.2.1 145




145
      Id. at 26.
                                        170
Case 2:24-cv-01073-JRG   Document 1    Filed 12/24/24   Page 171 of 347 PageID #:
                                      171




                                      171
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 172 of 347 PageID #:
                                                 172



                                   ZNS Specification, Section 3.4.2.2.3 146


          960.    The write pointer is information representing an extent to which a particular zone

includes host accessible pages available for writing. See:




                                  ZNS Specification, Section 2.1.1.2.1.1 147




146
      Id. at 27–28.
147
      Id. at 9.
                                                 172
Case 2:24-cv-01073-JRG             Document 1       Filed 12/24/24      Page 173 of 347 PageID #:
                                                   173




                                    ZNS Specification, Section 2.1.1.2.1.1 148


          961.     Samsung’s Accused Instrumentalities contain logic operable to write data to the set

of erase units of a specified zone using a multi-plane write command such that the data is written

concurrently to two or more erase units of the set of erase units. ’614 Patent, claim 1, element [1h].

          962.     Samsung’s Accused Instrumentalities are able to receive and execute a write

command from the host. See:




148
      Id. at 10.
                                                   173
Case 2:24-cv-01073-JRG             Document 1      Filed 12/24/24      Page 174 of 347 PageID #:
                                                  174



                                      ZNS Specification, Section 3.3.7 149


          963.     Samsung’s Accused Instrumentalities are also able to receive and execute a Zone

Append command from the host. See:




                                      ZNS Specification, Section 3.3.7 150


          964.     Samsung’s Accused Instrumentalities perform a multi-plane write such that the data

is written concurrently to two or more erase units of a zone. See:




149
      Id. at 20.
150
      Id. at 21.
                                                  174
Case 2:24-cv-01073-JRG      Document 1    Filed 12/24/24       Page 175 of 347 PageID #:
                                         175



                                EETimes V-NAND analysis 151




                               AnandTech V-NAND analysis 152




                                  Samsung Research Paper 153




151
    Ex. FF, Samsung’s 3D V-NAND 32L vs 48L–Just Vertical Expansion?
152
    Ex. GG, Samsung Starts Mass Production of 9th Generation V-NAND: 1Tb 3D TLC NAND.
153
    Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                            175
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 176 of 347 PageID #:
                                                 176



          965.   Samsung’s Accused Instrumentalities contain logic operable to update the

information representing the extent to which the specified zone includes host accessible pages

available for writing. ’614 Patent, claim 1, element [1i].

          966.   Samsung’s Accused Instrumentalities are able to update the write pointer. See:




                                  ZNS Specification, Section 2.1.1.2.1.1 154




                                  ZNS Specification, Section 2.1.1.2.1.1 155




154
      Ex. Z, ZNS Specification, at 9.
155
      Id. at 10.
                                                 176
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24      Page 177 of 347 PageID #:
                                        177




                         ZNS Specification, Section 2.1.1.2.1.1 156




156
      Id. at 10.
                                        177
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 178 of 347 PageID #:
                                                178




                                  ZNS Specification, Section 3.4.3.1.4 157


          967.    On information and belief, in Samsung’s Accused Instrumentalities, said logic

comprises at least one of hardware logic or instructions stored on non-transitory machine-readable

media that, when executed, control operation of hardware circuitry. ’614 Patent, claim 1, element

[1j]. See, for example:




157
      Id. at 30–31.
                                                178
Case 2:24-cv-01073-JRG           Document 1     Filed 12/24/24      Page 179 of 347 PageID #:
                                               179




                                    Samsung PM1733 Product Brief 158


         968.   Accordingly, Samsung’s Accused Instrumentalities contain each and every element

in claim 1 of the ’614 Patent.

         969.   SEC’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

         970.   SEC’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

         971.   SEC’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

         972.   SEC directly infringes the Asserted Patent by using the Accused Instrumentalities.




158
      Ex. Q, Samsung PM1733 Product Brief (annotated).
                                             179
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24       Page 180 of 347 PageID #:
                                              180



       973.    SEC directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       974.    SEC directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       975.    SEC directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       976.    SEC directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       977.    SEC directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       978.    SEA’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

       979.    SEA’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       980.    SEA’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       981.    SEA directly infringes the Asserted Patent by using the Accused Instrumentalities

in the United States.

       982.    SEA directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       983.    SEA directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       984.    SEA directly infringes the Asserted Patent by selling the Accused Instrumentalities

                                               180
Case 2:24-cv-01073-JRG           Document 1     Filed 12/24/24        Page 181 of 347 PageID #:
                                               181



in the United States.

       985.    SEA directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       986.    SEA directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       987.    SEC induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities.

       988.    SEC induces infringement by SEA by financing, supporting, encouraging,

directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       989.    SEC induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       990.    SEC contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

                                                181
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24       Page 182 of 347 PageID #:
                                                  182



hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       991.       SEC contributes to infringement by SEA by offering to sell, selling, distributing, or

otherwise providing, in the United States, components that constitute a material part of the

inventions in the Asserted Patents and components that are used to practice one or more processes

or methods claimed in the Asserted Patents. These components for the Accused Instrumentalities

include memory controllers, NAND flash, firmware, software, APIs and libraries associated with

the firmware or software, software or hardware tools used to install or facilitate the installation of

the Accused Instrumentalities or their components, software or hardware tools used to assemble

or facilitate the assembly of the Accused Instrumentalities or their components, and software or

hardware tools used to configure or facilitate the configuration of the Accused Instrumentalities or

their components. In offering to sell, selling, distributing, or otherwise providing these

components, SEC has known or has had reason to believe that these components are especially

made or especially adapted for use in an infringement of the Asserted Patents and that these

components are not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       992.       SEC contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

                                                  182
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 183 of 347 PageID #:
                                               183



material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       993.    SEC has notice of the Asserted Patent and Radian’s infringement allegations at least

as of the filing of this Complaint.

       994.    SEC took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       995.    SEA induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

       996.    SEA induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

                                                183
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 184 of 347 PageID #:
                                               184



the Accused Instrumentalities in the United States.

       997.    SEA contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       998.    SEA contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

                                                184
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 185 of 347 PageID #:
                                               185



components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       999.    SEA has notice of the Asserted Patent and Radian’s infringement allegations at

least as of the filing of this Complaint.

       1000. SEA took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1001. The acts that Radian alleges to give rise to infringement liability, as described

above, are continuing.

       1002. The acts that Radian alleges to give rise to infringement liability, as described

above, will continue unless enjoined.

       1003. SEC’s infringement of the Asserted Patent is ongoing.

       1004. SEC will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       1005. SEC’s ongoing infringement of the Asserted Patent is willful.

       1006. SEC’s ongoing infringement of the Asserted Patent is egregious.

       1007. SEA’s infringement of the Asserted Patent is ongoing.

       1008. SEA will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

                                                185
Case 2:24-cv-01073-JRG             Document 1       Filed 12/24/24       Page 186 of 347 PageID #:
                                                   186



          1009. SEA’s ongoing infringement of the Asserted Patent is willful.

          1010. SEA’s ongoing infringement of the Asserted Patent is egregious.

          1011. Samsung has no acceptable non-infringing alternatives to the Asserted Patent.

          1012. Hard disk drives (or “HDDs”) are not an acceptable non-infringing alternative to

the Asserted Patent.

          1013. Conventional SSDs with a FTL are not an acceptable non-infringing alternative to

the Asserted Patent.

          1014. Flexible Data Placement (or “FDP”) SSDs are not an acceptable non-infringing

alternative to the Asserted Patent.

          1015. SEC’s actions have caused damage to Radian. Radian is entitled to recover from

SEC the damages sustained by Radian as a result of SEC’s wrongful acts in an amount subject to

proof at trial.

          1016. SEA’s actions have caused damage to Radian. Radian is entitled to recover from

SEA the damages sustained by Radian as a result of SEA’s wrongful acts in an amount subject to

proof at trial.

                   COUNT FOUR: INFRINGEMENT OF THE ’801 PATENT

          1017. Radian incorporates by reference the preceding paragraphs as if fully set forth

herein.

          1018. U.S. Patent No. 11,740,801 (“the ’801 Patent”), entitled “Cooperative Flash

Management of Storage Device Subdivisions,” was legally and duly issued on August 29, 2023,

naming Andrey V. Kuzmin, Alan Chen, and Robert Lercari as the inventor. See Exhibit D.

          1019. Radian owns all rights, title, and interest in the ’801 Patent, and holds all substantial

rights pertinent to this suit, including the right to sue and recover for all past, current, and future


                                                   186
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24       Page 187 of 347 PageID #:
                                                 187



infringement.

          1020. The ’801 Patent is valid, enforceable, and directed to patentable subject matter.

          1021. Radian has complied with 35 U.S.C. § 287 with respect to the ’801 Patent.

          1022. The ’801 Patent described challenges faced by conventional memory devices

involving data storage and migration. See, for example:

                        What is needed are techniques for more efficiently managing
                 operation of nonvolatile memory. Still more particularly, what is
                 needed are techniques for more efficiently managing memory in a
                 heterogeneous memory system. The present invention addresses
                 these needs and provides further, related advantages. 159

                        This disclosure provides techniques for data storage and/or
                 migration based on metrics generated or tracked for respective data
                 (“per-data metrics”) and based on memory degradation. 160

          1023. The ’801 Patent proposed novel solutions that were not routine, ordinary, or

conventional at the time of the inventions. Some exemplary embodiments of the inventions relating

to these solutions are described in the specification. See, for example:

                          The system or one of its components generates information
                 that identifies hot/cold status, age, or another metric characterizing
                 respective data, and it also tracks life cycle wear or degradation for
                 at least one tier of NV memory; the system (or a host or a memory
                 controller or both) uses both these persistence metrics and/or wear
                 in managing a memory operation.

                         In a specific embodiment, if a minimum free space is to be
                 preserved, a memory controller, the host or both executes a routine
                 where data is identified in the memory that violates a hot/cold,
                 persistence or age criterion for that memory, or alternatively, that
                 the host, memory controller or both, deems more suitable to a
                 different location within the same tier of memory or a different




159
      Ex. D, U.S. Patent No. 11,740,801, at 1:66–2:4.
160
      Id. at 4:61–64.
                                                 187
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24       Page 188 of 347 PageID #:
                                                 188



                 memory tier; the identified data is then moved (and can be written
                 into a different tier, as appropriate). 161

                         Generally speaking, a cooperative memory controller for NV
                 memory stores information specific to each of plural subdivisions of
                 memory, and makes data based on that stored information accessible
                 to the host to assist with host management of memory, as needed. 162

          1024. Some of these described solutions are reflected in the claimed inventions of the

’801 Patent.

          1025. On information and belief, Samsung directly infringed and is currently infringing,

literally and/or under the doctrine of equivalents, at least one claim of the ’801 Patent by, among

other things, making, using, selling, offering to sell, and/or importing within this District and

elsewhere in the United States, without authority, the Accused Instrumentalities. For example, as

shown below, the Accused Instrumentalities practice at least claim 1 of the ’801 Patent.

          1026. Claim 1 of the ’801 Patent recites:

                 [preamble] A storage device comprising:

                         [1a] NAND flash memory; and

                         [1b] a memory controller having logic to cause the memory controller to

                                [1c] map non-overlapping ranges of logical addresses to respective

                                subdivisions of physical storage in the NAND flash memory, each

                                of the respective subdivisions comprising erase blocks that must

                                each be physically erased as a unit,

                                [1d] receive write requests, accompanying addresses and




161
      Id. at 3:23–46.
162
      Id. at 23:52–56.
                                                 188
Case 2:24-cv-01073-JRG    Document 1         Filed 12/24/24     Page 189 of 347 PageID #:
                                            189



                         accompanying data from a host and, with respect to each one of the

                         write requests,

                                [1e] identify a specific one of the respective subdivisions

                                dependent on which one of the non-overlapping ranges

                                encompasses the address accompanying the one of the write

                                requests,

                                [1f] program the data accompanying with the one of the

                                write requests into a next available storage location within

                                the specific one of the respective subdivisions, and

                                [1g] in association with the programming of the data

                                accompanying the one of the write requests, update

                                information, for the specific one of the respective

                                subdivisions, representing an extent to which the erase

                                blocks of the specific one of the respective subdivisions are

                                full,

                         [1h] store a value representing a size of the NAND flash memory

                         that is to be physically erased in fulfilling a maintenance request

                         issued by the host,

                         [1i] provide to the host, responsive to a query received from the host,

                         the information, as updated, and the stored value,

                         [1j] update metadata for the specific one of the respective

                         subdivisions, wherein the metadata represents a characteristic of the

                         data in the specific one of the respective subdivisions,

                                            189
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 190 of 347 PageID #:
                                               190



                              [1k] with respect to the metadata, as updated,

                                      [1l] perform a comparison based on the metadata to detect a

                                      condition, and

                                      [1m] store information, responsive to detection of the

                                      condition, wherein the information is accessible to the host

                                      and indicates that the condition was detected;

                      [1n] wherein each said logic comprises at least one of circuitry or

                      instructions stored on physical storage media that, when executed, are to

                      control operation of circuitry.

       1027. Samsung’s Accused Instrumentalities implement the NVMe Base Specification in

the same ways or substantially the same ways that are material to infringement.

       1028. Samsung’s Accused Instrumentalities implement the NVMe Command Set

Specification in the same ways or substantially the same ways that are material to infringement.

       1029. Samsung’s Accused Instrumentalities implement the NVMe Zoned Namespace

Command Set Specification in the same ways or substantially the same ways that are material to

infringement.

       1030. Samsung’s Accused Instrumentalities implement other NVMe specifications in the

same ways or substantially the same ways that are material to infringement.

       1031. Changes from one revision to another in the cited NVMe specifications are not

material to infringement.

       1032. Samsung’s Accused Instrumentalities infringe in the same way or substantially the

same way. Variations in other features (e.g., form factor, housing, storage capacity, memory

controller speeds, ports, or types of flash memory) are not material to infringement.

                                               190
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 191 of 347 PageID #:
                                               191



         1033. To the extent the preamble is considered a limitation, Samsung’s Accused

Instrumentalities contain a storage device. ’801 Patent, claim 1, preamble.

         1034. Samsung’s Accused Instrumentalities contain a NAND flash memory. ’801 Patent,

claim 1, element [1a].

         1035. For example, Samsung’s PM1733 contains NAND flash memory. See:




                                   Samsung PM1733 Product Brief 163


         1036. Samsung’s Accused Instrumentalities contain a memory controller having logic to

cause the memory controller to perform elements [1c] through [1m]. ’801 Patent, claim 1, element

[1b]. See below.

         1037. For example, Samsung’s PM1733 contains a memory controller. See:




163
      Ex. Q, Samsung PM1733 Product Brief.
                                               191
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 192 of 347 PageID #:
                                               192




                                    Samsung PM1733 Product Brief 164


          1038. Samsung’s Accused Instrumentalities contain logic to cause the memory controller

to map non-overlapping ranges of logical addresses to respective subdivisions of physical storage

in the NAND flash memory, each of the respective subdivisions comprising erase blocks that must

each be physically erased as a unit. ’801 Patent, claim 1, element [1c].

          1039. Samsung’s Accused Instrumentalities contain erase blocks that must each be

physically erased as a unit. See:




164
      Id. (annotated).
                                                192
Case 2:24-cv-01073-JRG        Document 1      Filed 12/24/24        Page 193 of 347 PageID #:
                                             193




                             Samsung Over-Provisioning White Paper 165




                                    Samsung SSD White Paper 166




                                     Flash Memory Integration 167




165
    Ex. V, Samsung Over-Provisioning White Paper, at 2 (highlighted).
166
    Ex. I, Samsung SSD White Paper, at 17.
167
    Ex. W, FLASH MEMORY INTEGRATION, at 22 (highlighted).
                                            193
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24     Page 194 of 347 PageID #:
                                                 194




                                      Flash Memory Integration 168


          1040. Samsung’s Accused Instrumentalities are able to map non-overlapping ranges of

logical addresses to respective zones (subdivisions) of physical storage in the NAND flash

memory, each of the respective subdivisions comprising erase blocks. See:




                                   Samsung PM1733 Product Brief 169




168
      Id. at 24.
169
      Ex. Q, PM1733 Product Brief (annotated).
                                                 194
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24     Page 195 of 347 PageID #:
                                               195




                                         Presentation on ZNS 170




                          SSDs with NVMe Zoned Namespace (ZNS) Support 171




170
      Ex. X, What You Can’t Forget: Exploiting Parallelism for Zoned Namespaces, at 4.
171
      Ex. Y, SSDs with NVMe Zoned Namespace Support.
                                               195
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 196 of 347 PageID #:
                                                    196




                                        ZNS Specification, Section 2.1.1 172


          1041. Samsung’s Accused Instrumentalities contain logic to cause the memory controller

to receive write requests, accompanying addresses and accompanying data from a host. ’801

Patent, claim 1, element [1d].

          1042. Samsung’s Accused Instrumentalities are able to receive and execute Write

commands from a host.

          1043. A Write command is a data write request.

          1044. A Write command writes data and metadata, if applicable, to the I/O controller for




172
      Ex. Z, ZNS Specification, at 8.
                                                    196
Case 2:24-cv-01073-JRG          Document 1    Filed 12/24/24     Page 197 of 347 PageID #:
                                             197



the logical blocks indicated. See:




                           NVM Command Set Specification, Section 3.3.6 173


         1045. The Write command is accompanied by a Namespace Identifier (“NSID”) that

specifies the namespace to which the command applies. In the context of ZNS, the NSID specifies

a zoned namespace to which the command applies. See:




173
      Ex. AA, NVM Command Set Specification, at 53.
                                           197
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 198 of 347 PageID #:
                                                    198




                                         ZNS Specification, Section 3.2 174




174
      Ex. Z, ZNS Specification, at 18.
                                                    198
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24   Page 199 of 347 PageID #:
                                                 199




                              NVMe Base Specification, Section 3.3.3.1 175


          1046. The NSID is incoming address information.

          1047. The Write command is accompanied by a logical block address (“LBA”) and data.

See:




175
      Ex. BB, NVMe Base Specification, at 107.
                                                 199
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 200 of 347 PageID #:
                                                200




                                     ZNS Specification, Section 3.2 176




176
      Ex. Z, ZNS Specification, at 18 (annotated).
                                                 200
Case 2:24-cv-01073-JRG         Document 1    Filed 12/24/24     Page 201 of 347 PageID #:
                                            201




                          NVM Command Set Specification, Section 3.3.6 177




177
      Ex. AA, NVM Command Set Specification, at 53–54.
                                           201
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 202 of 347 PageID #:
                                               202



                               NVMe Base Specification, Section 3.3.3.1 178


          1048. The starting LBA is incoming address information.

          1049. Samsung’s Accused Instrumentalities are also able to receive and execute a Zone

Append command from a host.

          1050. A Zone Append command is a write request.

          1051. The Zone Append command is accompanied by a Namespace Identifier (“NSID”)

that specifies the namespace to which the command applies. In the context of ZNS, the NSID

specifies a zoned namespace to which the command applies. See:




178
      Ex. BB, NVM Express Base Specification, at 107.
                                              202
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 203 of 347 PageID #:
                                                    203




                                         ZNS Specification, Section 3.2 179




179
      Ex. Z, ZNS Specification, at 18.
                                                    203
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24   Page 204 of 347 PageID #:
                                                 204




                              NVMe Base Specification, Section 3.3.3.1 180


          1052. The Zone Append command is accompanied by data and a Zone Start Logical

Block Address (“ZSLBA”) that designates a specific one of the zones. See:




180
      Ex. BB, NVMe Base Specification, at 107.
                                                 204
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 205 of 347 PageID #:
                                                205




                                    ZNS Specification, Section 3.4.1 181


          1053. Samsung’s Accused Instrumentalities contain logic to, with respect to each one of

the write requests, identify a specific one of the respective subdivisions dependent on which one

of the non-overlapping ranges encompasses the address accompanying the one of the write

requests. ’801 Patent, claim 1, element [1e].

          1054. Samsung’s Accused Instrumentalities are able to identify a specific zone dependent

on which one of the zones encompasses the received starting LBA accompanying a Write

command or the received zone start LBA accompanying a Zone Append command. See:




181
      Ex. Z, ZNS Specification, at 21–22.
                                                205
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 206 of 347 PageID #:
                                       206




                           ZNS Specification, Section 2.1.1 182




182
      Id. at 8.
                                       206
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24       Page 207 of 347 PageID #:
                                                207




                                    ZNS Specification, Section 3.3.7 183


          1055. Samsung’s Accused Instrumentalities contain logic to, with respect to each one of

the write requests, program the data accompanying with the one of the write requests into a next

available storage location within the specific one of the respective subdivisions. ’801 Patent, claim

1, element [1f].

          1056. The data is to be programmed into a zone at the zone’s write pointer (the next

available storage location within the zone). See:




183
      Id. at 20.
                                                207
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 208 of 347 PageID #:
                                       208




                           ZNS Specification, Section 3.3.7 184




                          ZNS Specification, Section 2.1.1.1 185




184
      Id. at 20.
185
      Id. at 9.
                                       208
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24       Page 209 of 347 PageID #:
                                                209



                                 ZNS Specification, Section 2.1.1.2.1.1 186




                                 ZNS Specification, Section 2.1.1.2.1.1 187


          1057. Samsung’s Accused Instrumentalities contain logic to, with respect to each one of

the write requests, in association with the programming of the data accompanying the one of the

write requests, update information, for the specific one of the respective subdivisions, representing

an extent to which the erase blocks of the specific one of the respective subdivisions are full. ’801

Patent, claim 1, element [1g].

          1058. Samsung’s Accused Instrumentalities are able to update the write pointer in

association with the programming of write data. The write pointer represents an extent to which




186
      Id.
187
      Id. at 10.
                                                209
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24     Page 210 of 347 PageID #:
                                                 210



the erase blocks of a specific zone are full. See:




                                 ZNS Specification, Section 2.1.1.2.1.1 188




                                 ZNS Specification, Section 2.1.1.2.1.1 189




188
      Id. at 9.
189
      Id. at 10.
                                                 210
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 211 of 347 PageID #:
                                                211




                                 ZNS Specification, Section 2.1.1.2.1.1 190


          1059. Samsung’s Accused Instrumentalities contain logic to store a value representing a

size of the NAND flash memory that is to be physically erased in fulfilling a maintenance request

issued by the host. ’801 Patent, claim 1, element [1h].

          1060. Samsung’s Accused Instrumentalities are able to store a zone capacity, which is a

value representing a size of the NAND flash memory. See:




190
      Id. at 10.
                                                211
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24    Page 212 of 347 PageID #:
                                                 212




                                 ZNS Specification, Section 3.4.2.2.3 191


          1061. Samsung’s Accused Instrumentalities are able to physically erase the NAND flash

memory in a zone in fulfilling a zone management send command specifying a reset zone action

(maintenance request) issued by the host. See:




                                   ZNS Specification, Section 3.4.3 192




191
      Id. at 28.
192
      Id. at 29.
                                                 212
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 213 of 347 PageID #:
                                                 213




                                   ZNS Specification, Section 3.4.3.1.4 193


          1062. Samsung’s Accused Instrumentalities contain logic to provide to the host,

responsive to a query received from the host, the information, as updated, and the stored value.

’801 Patent, claim 1, element [1i].

          1063.   Samsung’s Accused Instrumentalities are able to provide to the host, responsive to

a zone management receive command specifying a report zones action, the write pointer and the

zone capacity. See:




193
      Id. at 30–31.
                                                 213
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24      Page 214 of 347 PageID #:
                                        214




                          ZNS Specification, Section 3.4.2.1 194




                          ZNS Specification, Section 3.4.2.2.1 195




194
      Id. at 26.
195
      Id.
                                        214
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 215 of 347 PageID #:
                                                215




                                  ZNS Specification, Section 3.4.2.2.3 196


          1064. Samsung’s Accused Instrumentalities contain logic to update metadata for the

specific one of the respective subdivisions, wherein the metadata represents a characteristic of the

data in the specific one of the respective subdivisions. ’801 Patent, claim 1, element [1j].

          1065. Samsung’s Accused Instrumentalities update metadata for the zones, including

metadata that represents a characteristic of the data in the zones. See:




196
      Id. at 27–28.
                                                215
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24   Page 216 of 347 PageID #:
                                               216




                               Samsung Over-Provisioning White Paper 197




197
      Ex. V, Samsung Over-Provisioning White Paper, at 1.
                                              216
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24    Page 217 of 347 PageID #:
                                        217




                         Samsung Over-Provisioning White Paper 198




198
      Id. at 6.
                                        217
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 218 of 347 PageID #:
                                               218




                                      Samsung SSD White Paper 199




199
      Ex. I, Samsung SSD White Paper, at 19.
                                               218
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 219 of 347 PageID #:
                                                 219



                                       Samsung Application Note 200




                                      ZNS Specification, Section 5.4 201


       1066. Samsung’s Accused Instrumentalities contain logic to, with respect to the metadata,

as updated, perform a comparison based on the metadata to detect a condition. ’801 Patent, claim

1, elements [1k], [1l].

       1067. Samsung’s Accused Instrumentalities perform a comparison based on the metadata

as updated to detect a condition for maintenance purposes, including but not limited to a condition

that certain threshold is met. See:




                               Samsung Over-Provisioning White Paper 202




200
    Ex. CC, Samsung Application Note, at 2.
201
    Ex. Z, ZNS Specification, at 41.
202
    Ex. V, Samsung Over-Provisioning White Paper, at 1.
                                            219
Case 2:24-cv-01073-JRG   Document 1    Filed 12/24/24   Page 220 of 347 PageID #:
                                      220




                                      220
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24    Page 221 of 347 PageID #:
                                        221



                         Samsung Over-Provisioning White Paper 203




203
      Id. at 6.
                                        221
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 222 of 347 PageID #:
                                               222



                                      Samsung SSD White Paper 204




                                      Samsung Application Note 205




                                    ZNS Specification, Section 5.4 206


       1068. Samsung’s Accused Instrumentalities contain logic to, with respect to the metadata,

as updated, store information, responsive to detection of the condition, wherein the information is

accessible to the host and indicates that the condition was detected. ’801 Patent, claim 1, elements

[1k], [1m].

       1069. ZNS Specification defines a “Reset Zone Recommended” field, which is

information accessible to the host which indicates that certain condition was detected for a zone

such that the memory device recommends the reset of that zone. See:




204
    Ex. I, Samsung SSD White Paper, at 19.
205
    Ex. CC, Samsung Application Note, at 2.
206
    Ex. Z, ZNS Specification, at 41.
                                                222
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 223 of 347 PageID #:
                                       223




                            ZNS Specification, Section 5.4 207




207
      Id. at 41–42.
                                       223
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 224 of 347 PageID #:
                                                224



                                  ZNS Specification, Section 3.4.2.2.3 208


         1070. In Samsung’s Accused Instrumentalities, each said logic comprises at least one of

circuitry or instructions stored on physical storage media that, when executed, are to control

operation of circuitry. ’801 Patent, claim 1, element [1n]. See, for example:




                                    Samsung PM1733 Product Brief 209


         1071. Accordingly, Samsung’s Accused Instrumentalities contain each and every element

in claim 1 of the ’801 Patent.

         1072. SEC’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.




208
      Id. at 28.
209
      Ex. Q, Samsung PM1733 Product Brief (annotated).
                                             224
Case 2:24-cv-01073-JRG          Document 1    Filed 12/24/24      Page 225 of 347 PageID #:
                                             225



       1073. SEC’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       1074. SEC’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       1075. SEC directly infringes the Asserted Patent by using the Accused Instrumentalities.

       1076. SEC directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       1077. SEC directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       1078. SEC directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       1079. SEC directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       1080. SEC directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       1081. SEA’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

       1082. SEA’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       1083. SEA’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       1084. SEA directly infringes the Asserted Patent by using the Accused Instrumentalities

in the United States.

                                             225
Case 2:24-cv-01073-JRG           Document 1     Filed 12/24/24        Page 226 of 347 PageID #:
                                               226



       1085. SEA directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       1086. SEA directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       1087. SEA directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       1088. SEA directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       1089. SEA directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       1090. SEC induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities.

       1091. SEC induces infringement by SEA by financing, supporting, encouraging,

directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1092. SEC induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1093. SEC contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

                                                226
Case 2:24-cv-01073-JRG            Document 1     Filed 12/24/24       Page 227 of 347 PageID #:
                                                227



material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1094. SEC contributes to infringement by SEA by offering to sell, selling, distributing, or

otherwise providing, in the United States, components that constitute a material part of the

inventions in the Asserted Patents and components that are used to practice one or more processes

or methods claimed in the Asserted Patents. These components for the Accused Instrumentalities

include memory controllers, NAND flash, firmware, software, APIs and libraries associated with

the firmware or software, software or hardware tools used to install or facilitate the installation of

the Accused Instrumentalities or their components, software or hardware tools used to assemble

or facilitate the assembly of the Accused Instrumentalities or their components, and software or

hardware tools used to configure or facilitate the configuration of the Accused Instrumentalities or

their components. In offering to sell, selling, distributing, or otherwise providing these

components, SEC has known or has had reason to believe that these components are especially

                                                 227
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 228 of 347 PageID #:
                                               228



made or especially adapted for use in an infringement of the Asserted Patents and that these

components are not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       1095. SEC contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1096. SEC has notice of the Asserted Patent and Radian’s infringement allegations at least

as of the filing of this Complaint.

       1097. SEC took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1098. SEA induces Samsung’s customers’ infringement by offering for sale, selling,

                                                228
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 229 of 347 PageID #:
                                               229



encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

       1099. SEA induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

       1100. SEA contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1101. SEA contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

                                                229
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 230 of 347 PageID #:
                                               230



one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1102. SEA has notice of the Asserted Patent and Radian’s infringement allegations at

least as of the filing of this Complaint.

       1103. SEA took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1104. The acts that Radian alleges to give rise to infringement liability, as described

above, are continuing.

       1105. The acts that Radian alleges to give rise to infringement liability, as described

above, will continue unless enjoined.

       1106. SEC’s infringement of the Asserted Patent is ongoing.

       1107. SEC will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

                                                230
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24     Page 231 of 347 PageID #:
                                                231



          1108. SEC’s ongoing infringement of the Asserted Patent is willful.

          1109. SEC’s ongoing infringement of the Asserted Patent is egregious.

          1110. SEA’s infringement of the Asserted Patent is ongoing.

          1111. SEA will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

          1112. SEA’s ongoing infringement of the Asserted Patent is willful.

          1113. SEA’s ongoing infringement of the Asserted Patent is egregious.

          1114. Samsung has no acceptable non-infringing alternatives to the Asserted Patent.

          1115. Hard disk drives (or “HDDs”) are not an acceptable non-infringing alternative to

the Asserted Patent.

          1116. Conventional SSDs with a FTL are not an acceptable non-infringing alternative to

the Asserted Patent.

          1117. Flexible Data Placement (or “FDP”) SSDs are not an acceptable non-infringing

alternative to the Asserted Patent.

          1118. SEC’s actions have caused damage to Radian. Radian is entitled to recover from

SEC the damages sustained by Radian as a result of SEC’s wrongful acts in an amount subject to

proof at trial.

          1119. SEA’s actions have caused damage to Radian. Radian is entitled to recover from

SEA the damages sustained by Radian as a result of SEA’s wrongful acts in an amount subject to

proof at trial.

                  COUNT FIVE: INFRINGEMENT OF THE ’657 PATENT

          1120. Radian incorporates by reference the preceding paragraphs as if fully set forth

herein.


                                                231
Case 2:24-cv-01073-JRG             Document 1       Filed 12/24/24       Page 232 of 347 PageID #:
                                                   232



          1121. U.S. Patent No. 11,347,657 (“the ’657 Patent”), entitled “Addressing Techniques

for Write and Erase Operations in a Non-Volatile Storage Device,” was legally and duly issued on

May 31, 2022, naming Robert Lercari, Alan Chen, Mike Jadon, Craig Robertson, and Andrey V.

Kuzmin and as the inventor. See Exhibit E.

          1122. Radian owns all rights, title, and interest in the ’657 Patent, and holds all substantial

rights pertinent to this suit, including the right to sue and recover for all past, current, and future

infringement.

          1123. Radian has complied with 35 U.S.C. § 287 with respect to the ’657 Patent.

          1124. The ’657 Patent is related to improvements in memory addressing to provide

flexibility and less latency. See, for example:

                         This disclosure provides techniques hierarchical address
                 virtualization within a memory controller and configurable block
                 device allocation. By performing address translation only at select
                 hierarchical levels, a memory controller can be designed to have
                 predictable I/O latency, with brief or otherwise negligible logical-
                 to-physical address translation time. 210

          1125. The ’657 Patent proposed novel solutions that were not routine, ordinary, or

conventional at the time of the inventions. Some exemplary embodiments of the inventions relating

to these solutions are described in the specification. See, for example:

                         A memory controller that subdivides an incoming memory
                 address into multiple discrete address fields corresponding to
                 respective hierarchical groups of structural elements within a target
                 nonvolatile semiconductor memory system and in which at least one
                 of the discrete address fields constitutes a virtual address for the
                 corresponding physical element within the structural hierarchy is
                 disclosed in various embodiments. Through this hierarchical
                 subdivision, the virtual address portion of the incoming memory



210
      Ex. E, U.S. Patent No. 11,347,657, at Abstract.
                                                 232
Case 2:24-cv-01073-JRG             Document 1       Filed 12/24/24      Page 233 of 347 PageID #:
                                                   233



                  address is ensured to resolve to an element within the physical
                  bounds of a larger (hierarchically-superior) structure, but may be
                  freely mapped to any of the constituent physical elements of that
                  larger structure. Accordingly, a host requestor may issue logical
                  memory addresses with address fields purposefully specified to
                  direct read, write and maintenance operations to physically distinct
                  structures within the memory system in a manner that limits
                  performance-degrading conflicts while the memory controller
                  remains free, by virtue of one or more virtualized address fields
                  within the incoming logical addresses, to virtualize localized groups
                  of physical structures and thus mask defective structural elements
                  and swap operational structural elements into and out of service, for
                  example, as they wear or otherwise require maintenance. 211

          1126. Some of these described solutions are reflected in the claimed inventions of the

’657 Patent.

          1127. On information and belief, Samsung directly infringed and is currently infringing,

literally and/or under the doctrine of equivalents, at least one claim of the ’657 Patent by, among

other things, making, using, selling, offering to sell, and/or importing within this District and

elsewhere in the United States, without authority, the Accused Instrumentalities. For example, as

shown below, the Accused Instrumentalities practice at least claim 1 of the ’657 Patent.

          1128. Claim 1 of the ’657 Patent recites:

                  [preamble] A storage device comprising:
                          [1a] flash memory comprising erase units; and
                          [1b] circuitry to receive from a host, and control execution of, incoming
                          requests including data write requests and erase requests, wherein each of
                          the incoming requests is accompanied by incoming address information;
                          [1c] wherein said circuitry is to, for each of the incoming requests:
                                 [1d] derive, from the accompanying incoming address information,
                                 a first address portion and a second address portion




211
      Id. at 2:66–3:21.
                                                   233
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24       Page 234 of 347 PageID #:
                                               234



                              [1e] identify an addressed block device from the first address
                              portion,
                              [1f] use a first division operation on the second address portion, to
                              identify an addressed segment within the addressed block device,
                              wherein the addressed segment corresponds to a subset of the erase
                              units of the flash memory, and
                              [1g] for each of the data write requests, identify from the first
                              division operation a third address portion, and use a second division
                              operation on the third address portion to identify an address value to
                              select one of the erase units from the subset which corresponds to
                              the addressed segment and to identify a storage location within the
                              selected one of the erase units;
                      [1h] wherein said circuitry is to execute each one of the data write requests
                      by programming accompanying data into the storage location that was
                      identified for that one of the data write requests; and
                      [1i] wherein said circuitry is also to execute each one of the incoming erase
                      requests by controlling erasure in the flash memory of one or more of the
                      erase units in the subset corresponding to the addressed segment that was
                      identified from the incoming address information accompanying the one of
                      the incoming erase requests.
       1129. Samsung’s Accused Instrumentalities implement the NVMe Base Specification in

the same ways or substantially the same ways that are material to infringement.

       1130. Samsung’s Accused Instrumentalities implement the NVMe Command Set

Specification in the same ways or substantially the same ways that are material to infringement.

       1131. Samsung’s Accused Instrumentalities implement the NVMe Zoned Namespace

Command Set Specification in the same ways or substantially the same ways that are material to

infringement.

       1132. Samsung’s Accused Instrumentalities implement other NVMe specifications in the

same ways or substantially the same ways that are material to infringement.

       1133. Changes from one revision to another in the cited NVMe specifications are not
                                          234
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 235 of 347 PageID #:
                                               235



material to infringement.

         1134. Samsung’s Accused Instrumentalities infringe in the same way or substantially the

same way. Variations in other features (e.g., form factor, housing, storage capacity, memory

controller speeds, ports, or types of flash memory) are not material to infringement.

         1135. To the extent the preamble is considered a limitation, Samsung’s Accused

Instrumentalities contain a storage device. ’657 Patent, claim 1, preamble.

         1136. Samsung’s Accused Instrumentalities contain a flash memory comprising erase

units. ’657 Patent, claim 1, element [1a].

         1137. For example, Samsung’s PM1733 contains NAND flash memory. See:




                                Samsung PM1733 Product Brief 212

         1138. The flash memory in Samsung’s Accused Instrumentalities comprises blocks (erase

units). See:




212
      Ex. Q, Samsung PM1733 Product Brief (annotated).
                                             235
Case 2:24-cv-01073-JRG        Document 1      Filed 12/24/24        Page 236 of 347 PageID #:
                                             236




                                    Samsung SSD White Paper 213




                             Samsung Over-Provisioning White Paper 214




                                     Flash Memory Integration 215




213
    Ex. I, Samsung SSD White Paper, at 17.
214
    Ex. V, Samsung Over-Provisioning White Paper, at 2 (highlighted).
215
    Ex. W, FLASH MEMORY INTEGRATION, at 22 (highlighted).
                                            236
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 237 of 347 PageID #:
                                               237




                                      Flash Memory Integration 216


         1139. Samsung’s Accused Instrumentalities contain circuitry to receive from a host, and

control execution of, incoming requests including data write requests and erase requests, wherein

each of the incoming requests is accompanied by incoming address information. ’657 Patent, claim

1, element [1b].

         1140. Samsung’s Accused Instrumentalities are able to receive and execute a Write

command from a host.

         1141. A Write command is a data write request.

         1142. A Write command writes data and metadata, if applicable, to the I/O controller for

the logical blocks indicated. See:




                           NVM Command Set Specification, Section 3.3.6 217




216
      Id. at 24.
217
      Ex, AA, NVM Command Set Specification, at 53.
                                           237
Case 2:24-cv-01073-JRG         Document 1     Filed 12/24/24     Page 238 of 347 PageID #:
                                             238



         1143. The Write command is accompanied by a Namespace Identifier (“NSID”) that

specifies the namespace to which the command applies. In the context of ZNS, the NSID specifies

a zoned namespace to which the command applies. See:




                                   Samsung PM1733 Product Brief 218




218
      Ex. Q, Samsung PM1733 Product Brief (annotated).
                                             238
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 239 of 347 PageID #:
                                                    239




                                         ZNS Specification, Section 3.2 219




219
      Ex. Z, ZNS Specification, at 18.
                                                    239
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24   Page 240 of 347 PageID #:
                                                 240




                              NVMe Base Specification, Section 3.3.3.1 220


          1144. The NSID is incoming address information.

          1145. The Write command is accompanied by a logical block address (“LBA”). See:




220
      Ex. AA, NVMe Base Specification, at 107.
                                                 240
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 241 of 347 PageID #:
                                              241




                                   ZNS Specification, Section 3.2 221




                           NVM Command Set Specification, Section 3.3.6 222


         1146. The starting LBA is incoming address information.

         1147. Samsung’s Accused Instrumentalities are able to receive and execute a Zone

Management Send command specifying a Reset Zone action from the host. See:




221
      Ex. Z, ZNS Specification, at 18 (annotated).
222
      Ex. AA, NVM Command Set Specification, at 54.
                                                 241
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 242 of 347 PageID #:
                                                 242




                                     ZNS Specification, Section 3.4.3 223




223
      Ex. Z, ZNS Specification, at 29.
                                                 242
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 243 of 347 PageID #:
                                              243




                                ZNS Specification, Section 3.4.3.1.4 224


          1148. A Zone Management Send command specifying a Reset Zone action is an erase

request.

          1149. The Zone Management Send command is accompanied by the starting LBA of a

zone. See:




224
      Id. at 30–31.
                                              243
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24     Page 244 of 347 PageID #:
                                                244



                                   ZNS Specification, Section 3.4.3 225


          1150. The starting LBA is incoming address information.

          1151. Samsung’s Accused Instrumentalities satisfy the claim element “wherein said

circuitry is to, for each of the incoming requests.” ’657 Patent, claim 1, element [1c]. Samsung’s

Accused Instrumentalities contain said circuitry that is to, for each of the incoming requests,

perform elements [1d] through [1g]. See below.

          1152. Samsung’s Accused Instrumentalities contain said circuitry to derive, from the

accompanying incoming address information, a first address portion and a second address portion.

’657 Patent, claim 1, element [1d].

          1153. Samsung’s Accused Instrumentalities are able to derive, from the accompanying

incoming address information, a Namespace Identifier or NSID (a first address portion) and a

starting LBA (a second address portion). See:




225
      Id. at 29.
                                                244
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 245 of 347 PageID #:
                                       245




                            ZNS Specification, Section 3.2 226




226
      Id. at 18.
                                       245
Case 2:24-cv-01073-JRG      Document 1      Filed 12/24/24      Page 246 of 347 PageID #:
                                           246




                           NVMe Base Specification, Section 3.3.3.1 227




                        NVM Command Set Specification, Section 3.3.6 228




                               ZNS Specification, Section 3.4.3 229




227
    Ex. BB, NVMe Base Specification, at 107.
228
    Ex. AA, NVM Command Set Specification, at 54.
229
    Ex. Z, ZNS Specification, at 29.
                                             246
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 247 of 347 PageID #:
                                                247



          1154. Samsung’s Accused Instrumentalities contain said circuitry to identify an addressed

block device from the first address portion. ’657 Patent, claim 1, element [1e].

          1155. Samsung’s Accused Instrumentalities are able to identify an addressed namespace

(block device) from the Namespace Identifier or NSID (the first address portion). See:




                                     ZNS Specification, Section 3.2 230




230
      Id. at 18.
                                                247
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24    Page 248 of 347 PageID #:
                                                 248




                               NVMe Base Specification, Section 3.3.3.1 231


          1156. Samsung’s Accused Instrumentalities contain said circuitry to use a first division

operation on the second address portion, to identify an addressed segment within the addressed

block device, wherein the addressed segment corresponds to a subset of the erase units of the flash

memory. ’657 Patent, claim 1, element [1f].

          1157. Samsung’s Accused Instrumentalities contain zones (segments) that correspond to

subsets of the erase units of the flash memory. See:




231
      Ex. BB, NVMe Base Specification, at 107.
                                                 248
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24     Page 249 of 347 PageID #:
                                               249




                                         Presentation on ZNS 232




                          SSDs with NVMe Zoned Namespace (ZNS) Support 233




232
      Ex. X, What You Can’t Forget: Exploiting Parallelism for Zoned Namespaces, at 4.
233
      Ex. Y, SSDs with NVMe Zoned Namespace (ZNS) Support.
                                               249
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 250 of 347 PageID #:
                                                    250




                                        ZNS Specification, Section 2.1.1 234


          1158. Samsung’s Accused Instrumentalities are able to use a first division operation on

the starting LBA to identify an addressed zone (segment) within the addressed namespace (block

device). All zones are equally sized with contiguous non-overlapping ranges of LBAs. See:




234
      Ex. Z, ZNS Specification, at 8.
                                                    250
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 251 of 347 PageID #:
                                       251




                           ZNS Specification, Section 2.1.1 235




235
      Id. at 8.
                                       251
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 252 of 347 PageID #:
                                       252




                           ZNS Specification, Section 3.3.7 236




236
      Id. at 20.
                                       252
Case 2:24-cv-01073-JRG   Document 1     Filed 12/24/24      Page 253 of 347 PageID #:
                                       253




                           ZNS Specification, Section 3.4.3 237




                          ZNS Specification, Section 3.4.3.2 238




237
      Id. at 29.
238
      Id. at 32.
                                       253
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 254 of 347 PageID #:
                                                254



       1159. Samsung’s Accused Instrumentalities contain said circuitry to, for each of the data

write requests, identify from the first division operation a third address portion, and use a second

division operation on the third address portion to identify an address value to select one of the

erase units from the subset which corresponds to the addressed segment and to identify a storage

location within the selected one of the erase units. ’657 Patent, claim 1, element [1g].

       1160. Samsung’s Accused Instrumentalities are able to identify from the first division

operation a third address portion, which is the calculated remainder of said division operation.

Samsung’s Accused Instrumentalities are able to use such remainder to identify an address value

to select one of the erase units corresponding to the addressed zone, and to identify a storage

location within such erase unit. See:




                                                254
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 255 of 347 PageID #:
                                                255



                                    ZNS Specification, Section 2.1.1 239




                                        Samsung Research Paper 240


       1161. Samsung’s Accused Instrumentalities contain said circuitry to execute each one of

the data write requests by programming accompanying data into the storage location that was

identified for that one of the data write requests. ’657 Patent, claim 1, element [1h].

       1162. Samsung’s Accused Instrumentalities are able to execute data write requests by

programming data into the identified storage location. See:




239
  Id. at 8.
240
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       255
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 256 of 347 PageID #:
                                                 256




                                     ZNS Specification, Section 3.3.7 241




241
      Ex. Z, ZNS Specification, at 20.
                                                 256
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24       Page 257 of 347 PageID #:
                                              257



                              NVMe Base Specification, Section 3.3.3.1 242




                           NVM Command Set Specification, Section 3.3.6 243


         1163. Samsung’s Accused Instrumentalities contain said circuitry to execute each one of

the incoming erase requests by controlling erasure in the flash memory of one or more of the erase

units in the subset corresponding to the addressed segment that was identified from the incoming

address information accompanying the one of the incoming erase requests. ’657 Patent, claim 1,

element [1i].

         1164. Samsung’s Accused Instrumentalities are able to execute the Zone Management

Send command specifying a Reset Zone action by controlling erasure of one or more of the erase

units corresponding to the addressed zone. See:




242
      Ex. BB, NVMe Base Specification, at 107.
243
      Ex. AA, NVM Command Set Specification, at 54.
                                               257
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 258 of 347 PageID #:
                                                 258




                                     ZNS Specification, Section 3.4.3 244




244
      Ex. Z, ZNS Specification, at 29.
                                                 258
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24      Page 259 of 347 PageID #:
                                                 259




                                   ZNS Specification, Section 3.4.3.1.4 245


          1165. Accordingly, Samsung’s Accused Instrumentalities contain each and every element

in claim 1 of the ’657 Patent.

          1166. SEC’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

          1167. SEC’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

          1168. SEC’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

          1169. SEC directly infringes the Asserted Patent by using the Accused Instrumentalities.

          1170. SEC directly infringes the Asserted Patent by testing the Accused Instrumentalities




245
      Id. at 30–31.
                                                 259
Case 2:24-cv-01073-JRG          Document 1    Filed 12/24/24      Page 260 of 347 PageID #:
                                             260



in the United States.

       1171. SEC directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       1172. SEC directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       1173. SEC directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       1174. SEC directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       1175. SEA’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

       1176. SEA’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       1177. SEA’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       1178. SEA directly infringes the Asserted Patent by using the Accused Instrumentalities

in the United States.

       1179. SEA directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       1180. SEA directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       1181. SEA directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

                                             260
Case 2:24-cv-01073-JRG           Document 1     Filed 12/24/24        Page 261 of 347 PageID #:
                                               261



       1182. SEA directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       1183. SEA directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       1184. SEC induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities.

       1185. SEC induces infringement by SEA by financing, supporting, encouraging,

directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1186. SEC induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1187. SEC contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

                                                261
Case 2:24-cv-01073-JRG            Document 1     Filed 12/24/24       Page 262 of 347 PageID #:
                                                262



components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1188. SEC contributes to infringement by SEA by offering to sell, selling, distributing, or

otherwise providing, in the United States, components that constitute a material part of the

inventions in the Asserted Patents and components that are used to practice one or more processes

or methods claimed in the Asserted Patents. These components for the Accused Instrumentalities

include memory controllers, NAND flash, firmware, software, APIs and libraries associated with

the firmware or software, software or hardware tools used to install or facilitate the installation of

the Accused Instrumentalities or their components, software or hardware tools used to assemble

or facilitate the assembly of the Accused Instrumentalities or their components, and software or

hardware tools used to configure or facilitate the configuration of the Accused Instrumentalities or

their components. In offering to sell, selling, distributing, or otherwise providing these

components, SEC has known or has had reason to believe that these components are especially

made or especially adapted for use in an infringement of the Asserted Patents and that these

components are not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       1189. SEC contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

                                                 262
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 263 of 347 PageID #:
                                               263



one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1190. SEC has notice of the Asserted Patent and Radian’s infringement allegations at least

as of the filing of this Complaint.

       1191. SEC took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1192. SEA induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

       1193. SEA induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

                                                263
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 264 of 347 PageID #:
                                               264



       1194. SEA contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1195. SEA contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

                                                264
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 265 of 347 PageID #:
                                               265



Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1196. SEA has notice of the Asserted Patent and Radian’s infringement allegations at

least as of the filing of this Complaint.

       1197. SEA took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1198. The acts that Radian alleges to give rise to infringement liability, as described

above, are continuing.

       1199. The acts that Radian alleges to give rise to infringement liability, as described

above, will continue unless enjoined.

       1200. SEC’s infringement of the Asserted Patent is ongoing.

       1201. SEC will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       1202. SEC’s ongoing infringement of the Asserted Patent is willful.

       1203. SEC’s ongoing infringement of the Asserted Patent is egregious.

       1204. SEA’s infringement of the Asserted Patent is ongoing.

       1205. SEA will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       1206. SEA’s ongoing infringement of the Asserted Patent is willful.

                                                265
Case 2:24-cv-01073-JRG             Document 1       Filed 12/24/24       Page 266 of 347 PageID #:
                                                   266



          1207. SEA’s ongoing infringement of the Asserted Patent is egregious.

          1208. Samsung has no acceptable non-infringing alternatives to the Asserted Patent.

          1209. Hard disk drives (or “HDDs”) are not an acceptable non-infringing alternative to

the Asserted Patent.

          1210. Conventional SSDs with a FTL are not an acceptable non-infringing alternative to

the Asserted Patent.

          1211. Flexible Data Placement (or “FDP”) SSDs are not an acceptable non-infringing

alternative to the Asserted Patent.

          1212. SEC’s actions have caused damage to Radian. Radian is entitled to recover from

SEC the damages sustained by Radian as a result of SEC’s wrongful acts in an amount subject to

proof at trial.

          1213. SEA’s actions have caused damage to Radian. Radian is entitled to recover from

SEA the damages sustained by Radian as a result of SEA’s wrongful acts in an amount subject to

proof at trial.

                    COUNT SIX: INFRINGEMENT OF THE ’656 PATENT

          1214. Radian incorporates by reference the preceding paragraphs as if fully set forth

herein.

          1215. U.S. Patent No. 11,347,656 (“the ’656 Patent”), entitled “Storage Drive with

Geometry Emulation Based on Division Addressing and Decoupled Bad Block Management,” was

legally and duly issued on May 31, 2022, naming Robert Lercari, Alan Chen, Mike Jadon, Craig

Robertson, and Andrey V. Kuzmin and as the inventor. See Exhibit F.

          1216. Radian owns all rights, title, and interest in the ’656 Patent, and holds all substantial

rights pertinent to this suit, including the right to sue and recover for all past, current, and future


                                                   266
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24     Page 267 of 347 PageID #:
                                                  267



infringement.

          1217. Radian has complied with 35 U.S.C. § 287 with respect to the ’656 Patent.

          1218. The ’656 Patent is related to improvements in memory addressing to provide

flexibility and less latency. See, for example:

                         This disclosure provides techniques hierarchical address
                 virtualization within a memory controller and configurable block
                 device allocation. By performing address translation only at select
                 hierarchical levels, a memory controller can be designed to have
                 predictable I/O latency, with brief or otherwise negligible logical-
                 to-physical address translation time. 246

          1219. The ’656 Patent proposed novel solutions that were not routine, ordinary, or

conventional at the time of the inventions. Some exemplary embodiments of the inventions relating

to these solutions are described in the specification. See, for example:

                         A memory controller that subdivides an incoming memory
                 address into multiple discrete address fields corresponding to
                 respective hierarchical groups of structural elements within a target
                 nonvolatile semiconductor memory system and in which at least one
                 of the discrete address fields constitutes a virtual address for the
                 corresponding physical element within the structural hierarchy is
                 disclosed in various embodiments. Through this hierarchical
                 subdivision, the virtual address portion of the incoming memory
                 address is ensured to resolve to an element within the physical
                 bounds of a larger (hierarchically-superior) structure, but may be
                 freely mapped to any of the constituent physical elements of that
                 larger structure. Accordingly, a host requestor may issue logical
                 memory addresses with address fields purposefully specified to
                 direct read, write and maintenance operations to physically distinct
                 structures within the memory system in a manner that limits
                 performance-degrading conflicts while the memory controller
                 remains free, by virtue of one or more virtualized address fields
                 within the incoming logical addresses, to virtualize localized groups
                 of physical structures and thus mask defective structural elements




246
      Ex. F, U.S. Patent No. 11,347,656, at Abstract.
                                                 267
Case 2:24-cv-01073-JRG            Document 1       Filed 12/24/24       Page 268 of 347 PageID #:
                                                  268



                  and swap operational structural elements into and out of service, for
                  example, as they wear or otherwise require maintenance. 247

          1220. Some of these described solutions are reflected in the claimed inventions of the

’656 Patent.

          1221. On information and belief, Samsung directly infringed and is currently infringing,

literally and/or under the doctrine of equivalents, at least one claim of the ’656 Patent by, among

other things, making, using, selling, offering to sell, and/or importing within this District and

elsewhere in the United States, without authority, the Accused Instrumentalities. For example, as

shown below, the Accused Instrumentalities practice at least claim 1 of the ’656 Patent.

          1222. Claim 1 of the ’656 Patent recites:

                  [preamble] A storage device comprising:
                          [1a] flash memory having physical erase units; and
                          [1b] circuitry to receive incoming data access requests and for each of the
                          incoming data access requests, accompanying address information, wherein
                          said circuitry is to:
                                 [1c] derive, from the accompanying address information, a first
                                 address portion, a second address portion, and a third address
                                 portion,
                                 [1d] identify an addressed block device from the first address
                                 portion,
                                 [1e] identify an addressed segment within the addressed block
                                 device from the second address portion, and
                                 [1f] identify an addressed storage location within the addressed
                                 segment from the third address portion,
                                 [1g] wherein the circuitry is to use a division operation to identify a
                                 logical erase unit within the addressed segment,




247
      Id. at 2:66–3:21.
                                                  268
Case 2:24-cv-01073-JRG          Document 1          Filed 12/24/24     Page 269 of 347 PageID #:
                                                   269



                               [1h] wherein the circuitry is to identify one of the physical erase
                               units that corresponds to the identified logical erase unit;
                       [1i] wherein the storage device is to detect a failure condition of the physical
                       erase units and is to remap each logical erase unit which corresponds to one
                       of the physical erase units for which the failure condition is detected to
                       instead correspond to one of the physical erase units for which the failure
                       condition has not been detected and is to utilize the remapped
                       correspondence to service one or more of the incoming data access requests.
       1223. Samsung’s Accused Instrumentalities implement the NVMe Base Specification in

the same ways or substantially the same ways that are material to infringement.

       1224. Samsung’s Accused Instrumentalities implement the NVMe Command Set

Specification in the same ways or substantially the same ways that are material to infringement.

       1225. Samsung’s Accused Instrumentalities implement the NVMe Zoned Namespace

Command Set Specification in the same ways or substantially the same ways that are material to

infringement.

       1226. Samsung’s Accused Instrumentalities implement other NVMe specifications in the

same ways or substantially the same ways that are material to infringement.

       1227. Changes from one revision to another in the cited NVMe specifications are not

material to infringement.

       1228. Samsung’s Accused Instrumentalities infringe in the same way or substantially the

same way. Variations in other features (e.g., form factor, housing, storage capacity, memory

controller speeds, ports, or types of flash memory) are not material to infringement.

       1229. To the extent the preamble is considered a limitation, Samsung’s Accused

Instrumentalities contain a storage device. ’656 Patent, claim 1, preamble.

       1230. Samsung’s Accused Instrumentalities contain a flash memory having physical

erase units. ’656 Patent, claim 1, element [1a].
                                                   269
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 270 of 347 PageID #:
                                               270



       1231. For example, Samsung’s PM1733 contains NAND flash memory. See:




                                   Samsung PM1733 Product Brief 248


       1232. The flash memory in Samsung’s Accused Instrumentalities has physical blocks

(erase units). See:




                                      Samsung SSD White Paper 249




248
    Ex. Q, Samsung PM1733 Product Brief (annotated).
249
    Ex. I, Samsung SSD White Paper, at 17.
                                                270
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24        Page 271 of 347 PageID #:
                                              271




                              Samsung Over-Provisioning White Paper 250




                                      Flash Memory Integration 251




                                      Flash Memory Integration 252


       1233. Samsung’s Accused Instrumentalities contain circuitry to receive incoming data

access requests and for each of the incoming data access requests, accompanying address

information. ’656 Patent, claim 1, element [1b].




250
    Ex. V, Samsung Over-Provisioning White Paper, at 2 (highlighted).
251
    Ex. W, FLASH MEMORY INTEGRATION, at 22 (highlighted).
252
    Id. at 24.
                                            271
Case 2:24-cv-01073-JRG         Document 1     Filed 12/24/24     Page 272 of 347 PageID #:
                                             272



         1234. Samsung’s Accused Instrumentalities are able to receive incoming Read commands

from a host.

         1235. A Read command is a data access request.

         1236. A Read command reads data and metadata, if applicable, from the I/O controller

for the LBAs indicated. See:




                       NVM Command Set Specification, Section 3.3.4 253

         1237. The Read command is accompanied by a Namespace Identifier (“NSID”) that

specifies the namespace to which the command applies. In the context of ZNS, the NSID specifies

a zoned namespace to which the command applies. See:




253
      Ex. AA, NVM Command Set Specification, at 48.
                                           272
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 273 of 347 PageID #:
                                                    273




                                         ZNS Specification, Section 3.2 254




254
      Ex. Z, ZNS Specification, at 18.
                                                    273
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24   Page 274 of 347 PageID #:
                                                 274




                              NVMe Base Specification, Section 3.3.3.1 255


          1238. The NSID is incoming address information.

          1239. The Read command is accompanied by a logical block address (“LBA”). See:




255
      Ex. BB, NVMe Base Specification, at 107.
                                                 274
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 275 of 347 PageID #:
                                                    275




                                         ZNS Specification, Section 3.2 256




256
      Ex. Z, ZNS Specification, at 18.
                                                    275
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 276 of 347 PageID #:
                                               276



                           NVM Command Set Specification, Section 3.3.4 257


         1240. The starting LBA is address information.

         1241. Samsung’s Accused Instrumentalities contain said circuitry to derive, from the

accompanying address information, a first address portion, a second address portion and a third

address portion. ’656 Patent, claim 1, element [1c].

         1242. Samsung’s Accused Instrumentalities are able to derive, from the accompanying

address information, a Namespace Identifier or NSID (a first address portion), a zone identifier (a

second address portion), and an LBA and/or alternatively a zone offset (a third address portion).

See:




                                   Samsung PM1733 Product Brief 258




257
      Ex. AA, NVM Command Set Specification, at 49.
258
      Ex. Q, PM1733 Product Brief (annotated).
                                               276
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 277 of 347 PageID #:
                                                    277




                                         ZNS Specification, Section 3.2 259




259
      Ex. Z, ZNS Specification, at 18.
                                                    277
Case 2:24-cv-01073-JRG         Document 1     Filed 12/24/24     Page 278 of 347 PageID #:
                                             278




                             NVMe Base Specification, Section 3.3.3.1 260




                           NVM Command Set Specification, Section 3.3.4 261




260
      Ex. BB, NVMe Base Specification, at 107.
261
      Ex. AA, NVM Command Set Specification, at 49.
                                               278
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 279 of 347 PageID #:
                                                    279




                                        ZNS Specification, Section 2.1.1 262




262
      Ex. Z, ZNS Specification, at 8.
                                                    279
Case 2:24-cv-01073-JRG           Document 1       Filed 12/24/24     Page 280 of 347 PageID #:
                                                 280



                                    ZNS Specification, Section 3.3.5 263


          1243. Samsung’s Accused Instrumentalities contain said circuitry to identify an addressed

block device from the first address portion. ’656 Patent, claim 1, element [1d].

          1244. Samsung’s Accused Instrumentalities are able to identify an addressed namespace

(block device) from the Namespace Identifier or NSID (the first address portion). See:




                                NVMe Base Specification, Section 3.3.3.1 264


          1245. Samsung’s Accused Instrumentalities contain said circuitry to identify an addressed

segment within the addressed block device from the second address portion. ’656 Patent, claim 1,

element [1e].

          1246. Samsung’s Accused Instrumentalities are able to identify an addressed zone




263
      Id. at 20.
264
      Ex. BB, NVMe Base Specification, at 107.
                                                 280
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 281 of 347 PageID #:
                                                    281



(segment) within the addressed namespace from the second address portion. See:




                                        ZNS Specification, Section 2.1.1 265




265
      Ex. Z, ZNS Specification, at 8.
                                                    281
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 282 of 347 PageID #:
                                                282




                                    ZNS Specification, Section 3.3.5 266


          1247. Samsung’s Accused Instrumentalities contain said circuitry to identify an addressed

storage location within the addressed segment from the third address portion. ’656 Patent, claim

1, element [1f].

          1248. Samsung’s Accused Instrumentalities are able to identify an addressed storage

location within the addressed zone from the LBA and/or alternatively a zone offset (the third

address portion). See:




266
      Id. at 20.
                                                282
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 283 of 347 PageID #:
                                              283




                                  ZNS Specification, Section 2.1.1 267




                           NVM Command Set Specification, Section 1.4 268




267
      Id. at 8.
268
      Ex. AA, NVM Command Set Specification, at 10.
                                           283
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 284 of 347 PageID #:
                                               284




                                       Samsung Research Paper 269


       1249. Samsung’s Accused Instrumentalities contain said circuitry to use a division

operation to identify a logical erase unit within the addressed segment. ’656 Patent, claim 1,

element [1g].

       1250. Samsung’s Accused Instrumentalities are able to use a division operation to identify

a logical erase unit within the addressed zone. See:




269
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       284
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24     Page 285 of 347 PageID #:
                                                285




                                     Microsoft Denali Presentation 270




270
      Ex. DD, Microsoft Denali Presentation, at 15.
                                                 285
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 286 of 347 PageID #:
                                              286




                                      Samsung Research Paper 271


       1251. Samsung’s Accused Instrumentalities contain said circuitry to identify one of the

physical erase units that corresponds to the identified logical erase unit. ’656 Patent, claim 1,

element [1h].




271
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       286
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24     Page 287 of 347 PageID #:
                                                287




                                     Microsoft Denali Presentation 272




272
      Ex. DD, Microsoft Denali Presentation, at 15.
                                                 287
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 288 of 347 PageID #:
                                               288




                                       Samsung Research Paper 273


       1252. Samsung’s Accused Instrumentalities detect a failure condition of the physical

erase units and to remap each logical erase unit which corresponds to one of the physical erase

units for which the failure condition is detected to instead correspond to one of the physical erase

units for which the failure condition has not been detected and to utilize the remapped

correspondence to service one or more of the incoming data access requests. ’656 Patent, claim 1,

element [1i].

       1253. Samsung’s Accused Instrumentalities detect a failure condition of the physical

blocks, map out the bad blocks, and substitute different blocks for the bad ones. See:




273
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       288
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24      Page 289 of 347 PageID #:
                                                289




                                      Samsung SSD White Paper 274




                                      Samsung Application Note 275




274
      Ex. I, Samsung SSD White Paper, at 19.
275
      Ex. CC, Samsung Application Note, at 2.
                                                289
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24      Page 290 of 347 PageID #:
                                                290



                                      Microsoft Denali Presentation 276


          1254. Accordingly, Samsung’s Accused Instrumentalities contain each and every element

in claim 1 of the ’656 Patent.

          1255. SEC’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

          1256. SEC’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

          1257. SEC’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

          1258. SEC directly infringes the Asserted Patent by using the Accused Instrumentalities.

          1259. SEC directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

          1260. SEC directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

          1261. SEC directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

          1262. SEC directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

          1263. SEC directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.




276
      Ex. DD, Microsoft Denali Presentation, at 15.
                                                 290
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24         Page 291 of 347 PageID #:
                                              291



       1264. SEA’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

       1265. SEA’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       1266. SEA’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       1267. SEA directly infringes the Asserted Patent by using the Accused Instrumentalities

in the United States.

       1268. SEA directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       1269. SEA directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       1270. SEA directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       1271. SEA directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       1272. SEA directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       1273. SEC induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities.

       1274. SEC induces infringement by SEA by financing, supporting, encouraging,

directing, controlling, and coordinating the research, design, development, building,

                                              291
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 292 of 347 PageID #:
                                               292



manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1275. SEC induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1276. SEC contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1277. SEC contributes to infringement by SEA by offering to sell, selling, distributing, or

otherwise providing, in the United States, components that constitute a material part of the

inventions in the Asserted Patents and components that are used to practice one or more processes

                                                292
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 293 of 347 PageID #:
                                                293



or methods claimed in the Asserted Patents. These components for the Accused Instrumentalities

include memory controllers, NAND flash, firmware, software, APIs and libraries associated with

the firmware or software, software or hardware tools used to install or facilitate the installation of

the Accused Instrumentalities or their components, software or hardware tools used to assemble

or facilitate the assembly of the Accused Instrumentalities or their components, and software or

hardware tools used to configure or facilitate the configuration of the Accused Instrumentalities or

their components. In offering to sell, selling, distributing, or otherwise providing these

components, SEC has known or has had reason to believe that these components are especially

made or especially adapted for use in an infringement of the Asserted Patents and that these

components are not a staple article or commodity of commerce suitable for substantial non-

infringing use.

       1278. SEC contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

                                                 293
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 294 of 347 PageID #:
                                               294



Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1279. SEC has notice of the Asserted Patent and Radian’s infringement allegations at least

as of the filing of this Complaint.

       1280. SEC took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1281. SEA induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

       1282. SEA induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

       1283. SEA contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

                                                294
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 295 of 347 PageID #:
                                               295



Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1284. SEA contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1285. SEA has notice of the Asserted Patent and Radian’s infringement allegations at

least as of the filing of this Complaint.

       1286. SEA took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

                                                295
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24        Page 296 of 347 PageID #:
                                               296



infringement thereof, and the infringing nature of others’ actions.

       1287. The acts that Radian alleges to give rise to infringement liability, as described

above, are continuing.

       1288. The acts that Radian alleges to give rise to infringement liability, as described

above, will continue unless enjoined.

       1289. SEC’s infringement of the Asserted Patent is ongoing.

       1290. SEC will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       1291. SEC’s ongoing infringement of the Asserted Patent is willful.

       1292. SEC’s ongoing infringement of the Asserted Patent is egregious.

       1293. SEA’s infringement of the Asserted Patent is ongoing.

       1294. SEA will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       1295. SEA’s ongoing infringement of the Asserted Patent is willful.

       1296. SEA’s ongoing infringement of the Asserted Patent is egregious.

       1297. Samsung has no acceptable non-infringing alternatives to the Asserted Patent.

       1298. Hard disk drives (or “HDDs”) are not an acceptable non-infringing alternative to

the Asserted Patent.

       1299. Conventional SSDs with a FTL are not an acceptable non-infringing alternative to

the Asserted Patent.

       1300. Flexible Data Placement (or “FDP”) SSDs are not an acceptable non-infringing

alternative to the Asserted Patent.

       1301. SEC’s actions have caused damage to Radian. Radian is entitled to recover from

                                                296
Case 2:24-cv-01073-JRG             Document 1       Filed 12/24/24       Page 297 of 347 PageID #:
                                                   297



SEC the damages sustained by Radian as a result of SEC’s wrongful acts in an amount subject to

proof at trial.

          1302. SEA’s actions have caused damage to Radian. Radian is entitled to recover from

SEA the damages sustained by Radian as a result of SEA’s wrongful acts in an amount subject to

proof at trial.

                  COUNT SEVEN: INFRINGEMENT OF THE ’995 PATENT

          1303. Radian incorporates by reference the preceding paragraphs as if fully set forth

herein.

          1304. U.S. Patent No. 11,307,995 (“the ’995 Patent”), entitled “Storage Device With

Geometry Emulation Based on Division Programming and Decoupled NAND Maintenance,” was

legally and duly issued on April 19, 2022, naming Robert Lercari, Alan Chen, Mike Jadon, Craig

Robertson, and Andrey V. Kuzmin and as the inventor. See Exhibit G.

          1305. Radian owns all rights, title, and interest in the ’995 Patent, and holds all substantial

rights pertinent to this suit, including the right to sue and recover for all past, current, and future

infringement.

          1306. Radian has complied with 35 U.S.C. § 287 with respect to the ’995 Patent.

          1307. The ’995 Patent is related to improvements in memory addressing to provide

flexibility and less latency. See, for example:

                          This disclosure provides techniques hierarchical address
                  virtualization within a memory controller and configurable block
                  device allocation. By performing address translation only at select
                  hierarchical levels, a memory controller can be designed to have




                                                   297
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 298 of 347 PageID #:
                                                 298



                 predictable I/O latency, with brief or otherwise negligible logical-
                 to-physical address translation time. 277

          1308. The ’995 Patent proposed novel solutions that were not routine, ordinary, or

conventional at the time of the inventions. Some exemplary embodiments of the inventions relating

to these solutions are described in the specification. See, for example:

                         A memory controller that subdivides an incoming memory
                 address into multiple discrete address fields corresponding to
                 respective hierarchical groups of structural elements within a target
                 nonvolatile semiconductor memory system and in which at least one
                 of the discrete address fields constitutes a virtual address for the
                 corresponding physical element within the structural hierarchy is
                 disclosed in various embodiments. Through this hierarchical
                 subdivision, the virtual address portion of the incoming memory
                 address is ensured to resolve to an element within the physical
                 bounds of a larger (hierarchically-superior) structure, but may be
                 freely mapped to any of the constituent physical elements of that
                 larger structure. Accordingly, a host requestor may issue logical
                 memory addresses with address fields purposefully specified to
                 direct read, write and maintenance operations to physically distinct
                 structures within the memory system in a manner that limits
                 performance-degrading conflicts while the memory controller
                 remains free, by virtue of one or more virtualized address fields
                 within the incoming logical addresses, to virtualize localized groups
                 of physical structures and thus mask defective structural elements
                 and swap operational structural elements into and out of service, for
                 example, as they wear or otherwise require maintenance. 278

          1309. Some of these described solutions are reflected in the claimed inventions of the

’995 Patent.

          1310. On information and belief, Samsung directly infringed and is currently infringing,

literally and/or under the doctrine of equivalents, at least one claim of the ’995 Patent by, among




277
      Ex. G, U.S. Patent No. 11,307,995, at Abstract.
278
      Id. at 2:66–3:21.
                                                 298
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 299 of 347 PageID #:
                                               299



other things, making, using, selling, offering to sell, and/or importing within this District and

elsewhere in the United States, without authority, the Accused Instrumentalities. For example, as

shown below, the Accused Instrumentalities practice at least claim 1 of the ’995 Patent.

       1311. Claim 1 of the ’995 Patent recites:

               [preamble] A storage device comprising:
                      [1a] flash memory having physical erase units; and
                      [1b] circuitry to, for each of incoming data write requests:
                              [1c] derive, from incoming address information, a first address
                              portion, a second address portion and a third address portion,
                              [1d] identify an addressed block device from the first address
                              portion,
                              [1e] identify an addressed segment within the addressed block
                              device from the second address portion, and
                              [1f] identify an addressed storage location within the addressed
                              segment from the third address portion,
                              [1g] wherein the circuitry is to use a division operation on at least
                              one of the incoming address information or information derived
                              therefrom, to identify a logical erase unit within the addressed
                              segment, and
                              [1h] wherein the circuitry is to identify one of the physical erase
                              units that corresponds to the identified logical erase unit, and
                              [1i] program associated data into the identified one of the physical
                              erase units;
                      [1j] wherein the storage device also comprises circuitry to:
                              [1k] maintain metadata for each physical erase unit which contains
                              data, the metadata representing a time since data was programmed
                              in the respective erase unit,
                              [1l] copy data from a first one of the physical erase units for which
                              the maintained metadata meets at least one criterion to a second one
                              of the physical erase units, and
                              [1m] remap a correspondence of a logical erase unit which
                                           299
Case 2:24-cv-01073-JRG          Document 1          Filed 12/24/24   Page 300 of 347 PageID #:
                                                   300



                               corresponds to the first one of the physical erase units to instead
                               correspond to the second one of the physical erase units.
       1312. Samsung’s Accused Instrumentalities implement the NVMe Base Specification in

the same ways or substantially the same ways that are material to infringement.

       1313. Samsung’s Accused Instrumentalities implement the NVMe Command Set

Specification in the same ways or substantially the same ways that are material to infringement.

       1314. Samsung’s Accused Instrumentalities implement the NVMe Zoned Namespace

Command Set Specification in the same ways or substantially the same ways that are material to

infringement.

       1315. Samsung’s Accused Instrumentalities implement other NVMe specifications in the

same ways or substantially the same ways that are material to infringement.

       1316. Changes from one revision to another in the cited NVMe specifications are not

material to infringement.

       1317. Samsung’s Accused Instrumentalities infringe in the same way or substantially the

same way. Variations in other features (e.g., form factor, housing, storage capacity, memory

controller speeds, ports, or types of flash memory) are not material to infringement.

       1318. To the extent the preamble is considered a limitation, Samsung’s Accused

Instrumentalities contain a storage device. ’995 Patent, claim 1, preamble.

       1319. Samsung’s Accused Instrumentalities contain a flash memory having physical

erase units. ’995 Patent, claim 1, element [1a].

       1320. For example, Samsung’s PM1733 contains NAND flash memory. See:




                                                   300
Case 2:24-cv-01073-JRG         Document 1     Filed 12/24/24       Page 301 of 347 PageID #:
                                             301




                                   Samsung PM1733 Product Brief 279


         1321. The flash memory in Samsung’s Accused Instrumentalities has physical blocks

(erase units). See:




                                     Samsung SSD White Paper 280




279
      Ex. Q, Samsung PM1733 Product Brief (annotated).
280
      Ex. I, Samsung SSD White Paper, at 17.
                                             301
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24        Page 302 of 347 PageID #:
                                               302



                                Samsung Over-Provisioning White Paper 281




                                       Flash Memory Integration 282




                                       Flash Memory Integration 283


       1322. Samsung’s Accused Instrumentalities satisfy the claim element “circuitry to, for

each of incoming data write requests.” ’995 Patent, claim 1, element [1b]. Samsung’s Accused

Instrumentalities contain circuitry to, for each of incoming data write requests, perform elements

[1c] through [1i]. See below.

       1323. Samsung’s Accused Instrumentalities are able to receive and execute incoming

Write commands from a host. See:




281
    Ex. V, Samsung Over-Provisioning White Paper, at 2 (highlighted).
282
    Ex. W, FLASH MEMORY INTEGRATION, at 22 (highlighted).
283
    Id. at 24.
                                            302
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 303 of 347 PageID #:
                                                    303




                                         ZNS Specification, Section 3.2 284


          1324. A Write command is a data write request.

          1325. A Write command writes data and metadata, if applicable, to the I/O controller for

the logical blocks indicated. See:




284
      Ex. Z, ZNS Specification, at 18.
                                                    303
Case 2:24-cv-01073-JRG         Document 1        Filed 12/24/24     Page 304 of 347 PageID #:
                                                304




                           NVM Command Set Specification, Section 3.3.6 285


         1326. Samsung’s Accused Instrumentalities contain circuitry to derive, from incoming

address information, a first address portion, a second address portion and a third address portion.

’995 Patent, claim 1, element [1c].

         1327. The Write command is accompanied by a Namespace Identifier (“NSID”) that

specifies the namespace to which the command applies. In the context of ZNS, the NSID specifies

a zoned namespace to which the command applies. See:




                                      Samsung PM1733 Product Brief 286




285
      Ex. AA, NVM Command Set Specification, at 53.
286
      Ex. Q, Samsung PM1733 Product Brief (annotated).
                                             304
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 305 of 347 PageID #:
                                                    305




                                         ZNS Specification, Section 3.2 287




287
      Ex. Z, ZNS Specification, at 18.
                                                    305
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24   Page 306 of 347 PageID #:
                                                 306




                              NVMe Base Specification, Section 3.3.3.1 288


          1328. The NSID is incoming address information.

          1329. The Write command is accompanied by a logical block address (“LBA”). See:




288
      Ex. BB, NVMe Base Specification, at 107.
                                                 306
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 307 of 347 PageID #:
                                               307




                                    ZNS Specification, Section 3.2 289




                           NVM Command Set Specification, Section 3.3.6 290


         1330. The LBA is incoming address information.

         1331. Samsung’s Accused Instrumentalities are able to derive, from incoming address

information, a Namespace Identifier or NSID (a first address portion), zone identifier information

(a second address portion), and an LBA and/or alternatively a zone offset (a third address portion).

See:




289
      Ex. Z, ZNS Specification, at 18 (annotated).
290
      Ex. AA, NVM Command Set Specification, at 54.
                                                 307
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 308 of 347 PageID #:
                                                    308




                                         ZNS Specification, Section 3.2 291




291
      Ex. Z, ZNS Specification, at 18.
                                                    308
Case 2:24-cv-01073-JRG         Document 1     Filed 12/24/24     Page 309 of 347 PageID #:
                                             309




                             NVMe Base Specification, Section 3.3.3.1 292




                           NVM Command Set Specification, Section 3.3.6 293




292
      Ex. BB, NVMe Base Specification, at 107.
293
      Ex. AA, NVM Command Set Specification, at 54.
                                               309
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 310 of 347 PageID #:
                                                    310




                                        ZNS Specification, Section 2.1.1 294




294
      Ex. Z, ZNS Specification, at 8.
                                                    310
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24       Page 311 of 347 PageID #:
                                               311




                                   ZNS Specification, Section 3.3.7 295


          1332. Samsung’s Accused Instrumentalities contain circuitry to identify an addressed

block device from the first address portion. ’995 Patent, claim 1, element [1d].

          1333. Samsung’s Accused Instrumentalities are able to identify an addressed namespace

(block device) from the Namespace Identifier or NSID (the first address portion). See:




295
      Id. at 20.
                                               311
Case 2:24-cv-01073-JRG          Document 1        Filed 12/24/24   Page 312 of 347 PageID #:
                                                 312




                              NVMe Base Specification, Section 3.3.3.1 296


          1334. Samsung’s Accused Instrumentalities contain circuitry to identify an addressed

segment within the addressed block device from the second address portion. ’995 Patent, claim 1,

element [1e].

          1335. Samsung’s Accused Instrumentalities are able to identify an addressed zone

(segment) within the addressed namespace from zone identifier information (second address

portion). See:




296
      Ex. BB, NVMe Base Specification, at 107.
                                                 312
Case 2:24-cv-01073-JRG            Document 1         Filed 12/24/24      Page 313 of 347 PageID #:
                                                    313




                                        ZNS Specification, Section 2.1.1 297




297
      Ex. Z, ZNS Specification, at 8.
                                                    313
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 314 of 347 PageID #:
                                               314




                                   ZNS Specification, Section 3.3.5 298


          1336. Samsung’s Accused Instrumentalities contain circuitry to identify an addressed

storage location within the addressed segment from the third address portion. ’995 Patent, claim

1, element [1f].

          1337. Samsung’s Accused Instrumentalities are able to identify an addressed storage

location within the addressed zone from the LBA and/or alternatively a zone offset (the third

address portion). See:




298
      Id. at 20.
                                               314
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 315 of 347 PageID #:
                                              315




                                  ZNS Specification, Section 2.1.1 299




                           NVM Command Set Specification, Section 1.4 300




299
      Id. at 8.
300
      Ex. AA, NVM Command Set Specification, at 10.
                                           315
Case 2:24-cv-01073-JRG         Document 1       Filed 12/24/24      Page 316 of 347 PageID #:
                                               316




                                      Samsung Research Paper 301


       1338. Samsung’s Accused Instrumentalities contain circuitry to use a division operation

on at least one of the incoming address information or information derived therefrom to identify a

logical erase unit within the addressed segment. ’995 Patent, claim 1, element [1g].

       1339. Samsung’s Accused Instrumentalities are able to use a division operation on at least

one of the incoming address information or information derived therefrom to identify a logical

erase unit within the addressed zone. See:




301
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       316
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24     Page 317 of 347 PageID #:
                                                317




                                     Microsoft Denali Presentation 302




302
      Ex. DD, Microsoft Denali Presentation, at 15.
                                                 317
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24      Page 318 of 347 PageID #:
                                              318




                                      Samsung Research Paper 303


       1340. Samsung’s Accused Instrumentalities contain circuitry to identify one of the

physical erase units that corresponds to the identified logical erase unit. ’995 Patent, claim 1,

element [1h].




303
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       318
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24     Page 319 of 347 PageID #:
                                                319




                                     Microsoft Denali Presentation 304




304
      Ex. DD, Microsoft Denali Presentation, at 15.
                                                 319
Case 2:24-cv-01073-JRG          Document 1       Filed 12/24/24       Page 320 of 347 PageID #:
                                                320




                                        Samsung Research Paper 305


       1341. Samsung’s Accused Instrumentalities contain circuitry to program associated data

into the identified one of the physical erase units. ’995 Patent, claim 1, element [1i].

       1342. Samsung’s Accused Instrumentalities are able to program data associated with the

incoming Write command into the identified physical erase unit. See:




305
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       320
Case 2:24-cv-01073-JRG            Document 1      Filed 12/24/24      Page 321 of 347 PageID #:
                                                 321




                                     ZNS Specification, Section 3.3.5 306




306
      Ex. Z, ZNS Specification, at 20.
                                                 321
Case 2:24-cv-01073-JRG         Document 1      Filed 12/24/24       Page 322 of 347 PageID #:
                                              322




                          NVM Command Set Specification, Section 3.3.6 307




                                      Samsung Research Paper 308


       1343. Samsung’s Accused Instrumentalities satisfy the claim element “wherein the

storage device also comprises circuitry to.” ’995 Patent, claim 1, element [1j]. Samsung’s Accused

Instrumentalities contain circuitry to perform elements [1k] through [1m]. See below.

       1344. Samsung’s Accused Instrumentalities contain circuitry to maintain metadata for




307
  Ex. AA, NVM Command Set Specification, at 53–54.
308
  Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
                                       322
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24     Page 323 of 347 PageID #:
                                               323



each physical erase unit which contains data, the metadata representing a time since data was

programmed in the respective erase unit. ’995 Patent, claim 1, element [1k].

          1345. Samsung’s Accused Instrumentalities are able to maintain metadata for each

physical block which contains data. On information and belief, such metadata includes metadata

representing a time since data was programmed in the respective block. See:




                               Samsung Over-Provisioning White Paper 309




309
      Ex. V, Samsung Over-Provisioning White Paper, at 1.
                                              323
Case 2:24-cv-01073-JRG   Document 1    Filed 12/24/24   Page 324 of 347 PageID #:
                                      324




                                      324
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24    Page 325 of 347 PageID #:
                                        325



                         Samsung Over-Provisioning White Paper 310




310
      Id. at 6.
                                        325
Case 2:24-cv-01073-JRG        Document 1      Filed 12/24/24       Page 326 of 347 PageID #:
                                             326



                                    Samsung SSD White Paper 311




                                    Samsung Application Note 312




                                  ZNS Specification, Section 5.4 313




                                       Samsung Tech Blog 314




311
    Ex. I, Samsung SSD White Paper, at 19.
312
    Ex. CC, Samsung Application Note, at 2.
313
    Ex. Z, ZNS Specification, at 41.
314
    Ex. HH, SAMSUNG, Next-Generation QLC V-NAND Increases Data Center Profitability,
available at: https://semiconductor.samsung.com/news-events/tech-blog/next-generation-qlc-v-
nand-increases-data-center-profitability/.
                                              326
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24        Page 327 of 347 PageID #:
                                               327




                                       Flash Memory Integration 315


         1346. Samsung’s Accused Instrumentalities contain circuitry to copy data from a first one

of the physical erase units for which the maintained metadata meets at least one criterion to a

second one of the physical erase units. ’995 Patent, claim 1, element [1l].

         1347. Samsung’s Accused Instrumentalities are able to copy data from a first one of the

physical blocks for which the maintained metadata meets a threshold to a second one of the

physical blocks. See:




315
      Ex. W, FLASH MEMORY INTEGRATIOn, at 26.
                                            327
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24   Page 328 of 347 PageID #:
                                               328




                               Samsung Over-Provisioning White Paper 316




316
      Ex. V, Samsung Over-Provisioning White Paper, at 1.
                                              328
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24    Page 329 of 347 PageID #:
                                        329




                         Samsung Over-Provisioning White Paper 317




317
      Id. at 6.
                                        329
Case 2:24-cv-01073-JRG          Document 1      Filed 12/24/24      Page 330 of 347 PageID #:
                                               330




                                      Samsung SSD White Paper 318




318
      Ex. I, Samsung SSD White Paper, at 19.
                                               330
Case 2:24-cv-01073-JRG       Document 1      Filed 12/24/24      Page 331 of 347 PageID #:
                                            331



                                  Samsung Application Note 319




                                 ZNS Specification, Section 5.4 320




                                      Samsung Tech Blog 321




319
    Ex. CC, Samsung Application Note, at 2.
320
    Ex. Z, ZNS Specification, at 41.
321
    Ex. HH, Next-Generation QLC V-NAND Increases Data Center Profitability.
                                            331
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24        Page 332 of 347 PageID #:
                                                332




                                        Flash Memory Integration 322


          1348. Samsung’s Accused Instrumentalities contain circuitry to remap a correspondence

of a logical erase unit which corresponds to the first one of the physical erase units to instead

correspond to the second one of the physical erase units. ’995 Patent, claim 1, element [1m].

          1349. On information and belief, after the data is moved from the first physical block to

the second physical block, Samsung’s Accused Instrumentalities remap the correspondence of the

logical block so that it instead corresponds to the second physical block. See:




322
      Ex. W, FLASH MEMORY INTEGRATION, at 26.
                                                332
Case 2:24-cv-01073-JRG           Document 1      Filed 12/24/24     Page 333 of 347 PageID #:
                                                333




                                     Microsoft Denali Presentation 323




323
      Ex. DD, Microsoft Denali Presentation, at 15.
                                                 333
Case 2:24-cv-01073-JRG       Document 1     Filed 12/24/24      Page 334 of 347 PageID #:
                                           334




                                   Samsung Research Paper 324




                            Samsung Over-Provisioning White Paper 325




324
    Ex. EE, ZNS+: Advanced Zoned Namespace Interface for Supporting In-Storage Zone
Compaction, at 149.
325
    Ex. V, Samsung Over-Provisioning White Paper, at 1.
                                            334
Case 2:24-cv-01073-JRG   Document 1    Filed 12/24/24   Page 335 of 347 PageID #:
                                      335




                                      335
Case 2:24-cv-01073-JRG   Document 1      Filed 12/24/24    Page 336 of 347 PageID #:
                                        336



                         Samsung Over-Provisioning White Paper 326




326
      Id. at 6.
                                        336
Case 2:24-cv-01073-JRG             Document 1        Filed 12/24/24     Page 337 of 347 PageID #:
                                                    337



                                         Samsung SSD White Paper 327




                                         Samsung Application Note 328




                                       ZNS Specification, Section 5.4 329




                                               Samsung Tech Blog 330




327
      Ex. I, Samsung SSD White Paper, at 19.
328
    Ex. CC, Samsung Over-Provisioning White Paper, at 2.
329
    Ex. Z, ZNS Specification, at 41.
330
    Ex. HH, Next-Generation QLC V-NAND Increases Data Center Profitability.
                                           337
Case 2:24-cv-01073-JRG           Document 1        Filed 12/24/24        Page 338 of 347 PageID #:
                                                  338




                                          Flash Memory Integration 331


          1350. Accordingly, Samsung’s Accused Instrumentalities contain each and every element

in claim 1 of the ’995 Patent.

          1351. SEC’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

          1352. SEC’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.




331
      Ex. W, Flash Memory Integration, at 26.
                                                  338
Case 2:24-cv-01073-JRG          Document 1    Filed 12/24/24      Page 339 of 347 PageID #:
                                             339



       1353. SEC’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       1354. SEC directly infringes the Asserted Patent by using the Accused Instrumentalities.

       1355. SEC directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

       1356. SEC directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       1357. SEC directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       1358. SEC directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       1359. SEC directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       1360. SEA’s customers directly infringe the Asserted Patent by using the Accused

Instrumentalities in the United States.

       1361. SEA’s customers directly infringe the Asserted Patent by testing the Accused

Instrumentalities in the United States.

       1362. SEA’s customers directly infringe the Asserted Patent by making the Accused

Instrumentalities in the United States.

       1363. SEA directly infringes the Asserted Patent by using the Accused Instrumentalities

in the United States.

       1364. SEA directly infringes the Asserted Patent by testing the Accused Instrumentalities

in the United States.

                                             339
Case 2:24-cv-01073-JRG           Document 1     Filed 12/24/24        Page 340 of 347 PageID #:
                                               340



       1365. SEA directly infringes the Asserted Patent by making the Accused Instrumentalities

in the United States.

       1366. SEA directly infringes the Asserted Patent by selling the Accused Instrumentalities

in the United States.

       1367. SEA directly infringes the Asserted Patent by offering to sell the Accused

Instrumentalities in the United States.

       1368. SEA directly infringes the Asserted Patent by importing the Accused

Instrumentalities into the United States.

       1369. SEC induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities.

       1370. SEC induces infringement by SEA by financing, supporting, encouraging,

directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1371. SEC induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities.

       1372. SEC contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

                                                340
Case 2:24-cv-01073-JRG            Document 1     Filed 12/24/24       Page 341 of 347 PageID #:
                                                341



Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1373. SEC contributes to infringement by SEA by offering to sell, selling, distributing, or

otherwise providing, in the United States, components that constitute a material part of the

inventions in the Asserted Patents and components that are used to practice one or more processes

or methods claimed in the Asserted Patents. These components for the Accused Instrumentalities

include memory controllers, NAND flash, firmware, software, APIs and libraries associated with

the firmware or software, software or hardware tools used to install or facilitate the installation of

the Accused Instrumentalities or their components, software or hardware tools used to assemble

or facilitate the assembly of the Accused Instrumentalities or their components, and software or

hardware tools used to configure or facilitate the configuration of the Accused Instrumentalities or

their components. In offering to sell, selling, distributing, or otherwise providing these

components, SEC has known or has had reason to believe that these components are especially

made or especially adapted for use in an infringement of the Asserted Patents and that these

components are not a staple article or commodity of commerce suitable for substantial non-

                                                 341
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 342 of 347 PageID #:
                                               342



infringing use.

       1374. SEC contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEC has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1375. SEC has notice of the Asserted Patent and Radian’s infringement allegations at least

as of the filing of this Complaint.

       1376. SEC took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1377. SEA induces Samsung’s customers’ infringement by offering for sale, selling,

encouraging the making of, encouraging the use of, instructing on the making of, instructing on

the use of, promoting, and servicing the Accused Instrumentalities in the United States.

                                                342
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24       Page 343 of 347 PageID #:
                                               343



       1378. SEA induces infringement by other Samsung subsidiaries by financing, supporting,

encouraging, directing, controlling, and coordinating the research, design, development, building,

manufacturing, sale, distribution, maintenance, testing, advertising, marketing, and/or operation of

the Accused Instrumentalities in the United States.

       1379. SEA contributes to infringement by Samsung’s customers by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1380. SEA contributes to infringement by other Samsung subsidiaries by offering to sell,

selling, distributing, or otherwise providing, in the United States, components that constitute a

material part of the inventions in the Asserted Patents and components that are used to practice

one or more processes or methods claimed in the Asserted Patents. These components for the

Accused Instrumentalities include memory controllers, NAND flash, firmware, software, APIs and

                                                343
Case 2:24-cv-01073-JRG            Document 1    Filed 12/24/24        Page 344 of 347 PageID #:
                                               344



libraries associated with the firmware or software, software or hardware tools used to install or

facilitate the installation of the Accused Instrumentalities or their components, software or

hardware tools used to assemble or facilitate the assembly of the Accused Instrumentalities or their

components, and software or hardware tools used to configure or facilitate the configuration of the

Accused Instrumentalities or their components. In offering to sell, selling, distributing, or

otherwise providing these components, SEA has known or has had reason to believe that these

components are especially made or especially adapted for use in an infringement of the Asserted

Patents and that these components are not a staple article or commodity of commerce suitable for

substantial non-infringing use.

       1381. SEA has notice of the Asserted Patent and Radian’s infringement allegations at

least as of the filing of this Complaint.

       1382. SEA took the above actions intending to cause infringing acts by others, and/or it

willfully blinded itself as to the existence of the Asserted Patent, the Accused Instrumentalities’

infringement thereof, and the infringing nature of others’ actions.

       1383. The acts that Radian alleges to give rise to infringement liability, as described

above, are continuing.

       1384. The acts that Radian alleges to give rise to infringement liability, as described

above, will continue unless enjoined.

       1385. SEC’s infringement of the Asserted Patent is ongoing.

       1386. SEC will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

       1387. SEC’s ongoing infringement of the Asserted Patent is willful.

       1388. SEC’s ongoing infringement of the Asserted Patent is egregious.

                                                344
Case 2:24-cv-01073-JRG          Document 1     Filed 12/24/24     Page 345 of 347 PageID #:
                                              345



        1389. SEA’s infringement of the Asserted Patent is ongoing.

        1390. SEA will not stop its infringement of the Asserted Patent absent a Court order

restraining it from future infringement.

        1391. SEA’s ongoing infringement of the Asserted Patent is willful.

        1392. SEA’s ongoing infringement of the Asserted Patent is egregious.

        1393. Samsung has no acceptable non-infringing alternatives to the Asserted Patent.

        1394. Hard disk drives (or “HDDs”) are not an acceptable non-infringing alternative to

the Asserted Patent.

        1395. Conventional SSDs with a FTL are not an acceptable non-infringing alternative to

the Asserted Patent.

        1396. Flexible Data Placement (or “FDP”) SSDs are not an acceptable non-infringing

alternative to the Asserted Patent.

        1397. SEC’s actions have caused damage to Radian. Radian is entitled to recover from

SEC the damages sustained by Radian as a result of SEC’s wrongful acts in an amount subject to

proof at trial.

        1398. SEA’s actions have caused damage to Radian. Radian is entitled to recover from

SEA the damages sustained by Radian as a result of SEA’s wrongful acts in an amount subject to

proof at trial.




                                              345
Case 2:24-cv-01073-JRG           Document 1     Filed 12/24/24      Page 346 of 347 PageID #:
                                               346



                                   PRAYER FOR RELIEF


   WHEREFORE, Radian prays for the following relief:

      (a)     A finding that Defendants infringe the patents-in-suit;

      (b)     A finding that Defendants are liable for infringement of the patents-in-suit;

      (c)     A judgment awarding damages against Defendants for their infringement of the

              patents-in-suit;

      (d)     A finding and judgment that the patents-in-suit are valid and enforceable;

      (e)     Preliminary and permanent injunctions enjoining Defendants and Defendants’

              agents, officers, employees, assigns and others acting in concert with them from

              committing any further act of infringement, whether direct or indirect, of the

              patents-in-suit;

      (f)     An award of damages adequate to compensate Plaintiff for any infringement by the

              Defendants or their agents that is not restrained prior to judgment;

      (g)     An award of pre- and post-judgment interest until the judgment is satisfied;

      (h)     A finding that this is an egregious case and an award of enhanced damages and

              other relief provided by 35 U.S.C. § 284;

      (i)     A finding that this is an exceptional case and an award of Plaintiff’s attorneys’ fees

              pursuant and other relief provided by 35 U.S.C. § 285;

      (j)     An award to Plaintiff of its costs; and

      (k)     Any further relief as the Court may deem just and equitable.

                                        JURY DEMAND


      Plaintiff demands a trial by jury on all issues so triable.


                                                346
Case 2:24-cv-01073-JRG      Document 1    Filed 12/24/24    Page 347 of 347 PageID #:
                                         347




 DATED: December 23, 2024                  Respectfully submitted,

                                           /s/ Jason D. Cassady
                                           Jason D. Cassady
                                           Texas State Bar No. 24045625
                                           Email: jcassady@caldwellcc.com
                                           Bradley W. Caldwell
                                           Texas State Bar No. 24040630
                                           Email: bcaldwell@caldwellcc.com
                                           John Austin Curry
                                           Texas State Bar No. 24059636
                                           acurry@caldwellcc.com
                                           Hamad M. Hamad
                                           Texas State Bar No. 24061268
                                           Email: hhamad@caldwellcc.com
                                           Adrienne R. Dellinger
                                           Texas Bar No. 24116275
                                           Email: adellinger@caldwellcc.com
                                           Alexander J. Gras
                                           Texas Bar No. 24125252
                                           Email: agras@caldwellcc.com
                                           CALDWELL CASSADY & CURRY P.C.
                                           2121 N Pearl Street, Suite 1200
                                           Dallas, TX 75201
                                           Telephone: (214) 888-4848

                                           Andrea L. Fair
                                           Texas Bar No. 24078488
                                           Email: andrea@millerfairhenry.com
                                           MILLER FAIR HENRY, PLLC
                                           1507 Bill Owens Parkway
                                           Longview, Texas 75604
                                           Telephone: (903) 757-6400
                                           Facsimile: (903) 757-2323

                                           Attorneys for Radian Memory Systems LLC




                                         347
